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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                       CASE NO. ___________

     EDWIN GARRISON, et al., on behalf of
     themselves and all others similarly situated,

                      Plaintiffs,                        CLASS ACTION COMPLAINT

     v.                                                  JURY DEMAND

     MERCEDES-BENZ GRAND PRIX
     LIMITED (D/B/A MERCEDES-AMG
     PETRONAS FORMULA ONE TEAM),

                      Defendant.
                                                     /

            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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          Plaintiffs, on behalf of themselves and all others similarly situated, sue Mercedes-Benz

  Grand Prix Limited d/b/a Mercedes-AMG Petronas Formula One Team (“Mercedes F1”), for its

  actions, which contributed to the collapse of FTX Trading LTD d/b/a FTX’s (“FTX Trading”),

  West Realm Shires Services Inc. d/b/a FTX US’s (“FTX US”), and Alameda Research, LLC’s

  (“Alameda,” and collectively, the “FTX Group” or “FTX”), including but not limited to 1) aiding

  and abetting and/or actively participating in the FTX Group’s massive, multibillion dollar global

  fraud, and 2) promoting, offering, or selling unregistered securities such as FTX’s yield-bearing

  accounts (“YBA”) and FTX’s native cryptocurrency token (“FTT”), which caused Plaintiffs

  substantial harm. Plaintiffs, on behalf of themselves and all others similarly situated, allege the

  following based upon personal knowledge as to Plaintiffs and Plaintiffs’ own acts, and upon an

  investigation conducted by and through counsel.

                                         INTRODUCTION

          1.      As COVID-19 was causing unprecedented financial turmoil to the sports and

  entertainment industries—possibly forever—Mercedes F1 had a crucial decision to make: (1) does

  it follow organizations like the National Football League and stay away from promoting the

  extremely risky and unknown world of cryptocurrency, or (2) push “all in” and put the great

  resources and prestige of the Mercedes F1 brand behind FTX so they could leap to the front of the

  cryptocurrency world and sell tens of billions of dollars in unregistered and illegal securities to

  consumers? After considering the question and the profits at stake, Mercedes F1 decided to take

  the risks and go all in.

          2.      Unfortunately for Mercedes F1, under binding law, anyone that mass promotes

  products FTX’s can be sued for any and all resulting damages. This law was updated for today’s

  technology so that a promoter like Mercedes F1 can be held liable under securities laws for using

  the Internet and social media for mass solicitations of crypto-related securities, whether for their


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  own or the securities issuer (FTX Group)’s gain. The law now recognizes that the Internet, social

  media, and other new platforms have given promoters an incredible new outlet to aid and

  participate in selling fraudulent investments to investors across the globe. As one expert said, “In

  the old days, brokers would have to call up people to convince them to invest or put on a road

  show. Now it’s normalized with online platforms.” 1 After Mercedes F1 went all in for FTX and

  assisted it in selling unregistered securities to investors worldwide, FTX declared bankruptcy, its

  leaders will be in jail, and losses to the victims now total $11 billion dollars. This case seeks to

  hold Mercedes F1 liable under the law.

         3.      The FTX disaster is among the largest financial frauds in history. Sam Bankman-

  Fried (“SBF”), FTX Group’s 2 founder and former CEO, is on house arrest awaiting his sentencing

  following his conviction for fraud and conspiracy after stealing billions of dollars from FTX

  customers. FTX Group’s new CEO—who helped wind down Enron—concluded the fraud here

  was worse than Enron. Billions of dollars have been stolen from investors across the globe.

         4.      Evidence now reveals that the FTX Group’s fraud was only able to reach such

  heights through the offer and sale of unregistered securities, with the willing help and assistance

  of some of the wealthiest, most powerful, and most recognized organizations and celebrities across

  the globe. Every victim who invested in FTX had to open an FTX YBA, which was itself an




  1
   Bruce Kelly, Sales of Unregistered Securities Are a Growing Problem That’s Harming
  Investors—and the Industry, InvestmentNews (Apr. 13, 2019),
  https://www.investmentnews.com/sales-of-unregistered-securities-are-a-growing-problem-thats-
  harming-investors-and-the-industry-79078.
  2
    FTX Trading Ltd. and its subsidiaries are referred to herein as “FTX Trading” or “FTX Trading
  Ltd.” West Realm Shires Inc. and its subsidiaries, including West Realm Shires Services, Inc.
  (“WRS”), are referred to herein as “FTX US.” FTX Trading Ltd. and FTX US are collectively
  referred to as “FTX” or the “FTX entities.” FTX and Alameda Research, LLC and its subsidiaries
  (“Alameda”) collectively make up the “FTX Group.”


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  unregistered security. The U.S. Securities and Exchange Commission (“SEC”) concluded that

  FTX’s exchange token FTT was promoted as an investment contract and is also a security.

          5.      In Wildes v. BitConnect Int’l PLC, 25 F.4th 1341 (11th Cir. 2022), the Eleventh

  Circuit clearly articulated the standard applicable to mass solicitation of unregistered securities,

  ruling that spokespersons who promoted a crypto Ponzi scheme had engaged in “solicitation” of

  securities by “urg[ing] people to buy [crypto tokens] in online videos,” even if the offering’s

  promoters did not directly target particular purchasers. Id. at 1346. In so ruling, the Court observed

  that the Securities Act does not distinguish between individually targeted sales efforts and broadly

  disseminated pitches, and noted that in early cases applying the Securities Act of 1933, “people

  understood solicitation to include communications made through diffuse, publicly available

  means—at the time, newspaper and radio advertisements.” Id.

          6.      In Pino v. Cardone Capital, LLC, 55 F.4th 1253 (9th Cir. 2022), the Ninth Circuit

  adopted Wildes in its entirety, holding that a real estate management company that promoted real

  estate investment funds through “mass communications to potential sellers” via nontargeted

  internet videos posted on social media could be a statutory seller liable for solicitation based on

  YouTube videos and Instagram posts touting the investments and rates of return. Id. at 1259–60.

  The court noted that, to state a cause of action, a plaintiff “need not have alleged that he specifically

  relied on any of the alleged misstatements identified in the [complaint].” Id.

          7.      In De Ford v. Koutoulas, 6:22-CV-652, 2023 WL 2709816 (M.D. Fla. Mar. 30,

  2023), the court denied a motion to dismiss claims that a spokesperson for “Let’s Go Brandon”

  cryptocurrency (LGBCoin) engaged in the solicitation of unregistered securities. Citing Wildes,

  the court rejected the argument that “mere social media posts cannot make him a seller of

  securities” and held that the plaintiff had sufficiently alleged a claim for selling unregistered




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  securities by alleging (1) the online promotion of LGBCoin through social media channels, and

  (2) that the promotions were done to serve the spokesperson’s own financial interests. Id. at *15.

         8.      Most recently, on September 20, 2023, Judge William H. Orrick of the Northern

  District of California, applying both Pino and Wildes, denied a motion to dismiss by a promoter

  who was sued for participating in a similar FTX scheme to sell unregistered securities in the form

  of cryptocurrency, concluding that the suit alleged that the defendants actively solicited sales of

  the crypto assets, and were not just “mere collateral participants.” Houghton v. Leshner, No. 3:22-

  cv-07781, 2023 WL 6826814, at *3–5 (N.D. Cal. Sept. 20, 2023). In reaching that conclusion,

  Judge Orrick reasoned that “[s]olicitation is broadly construed,” and a promoter “could be a

  statutory seller liable for solicitation based on YouTube videos and Instagram posts touting the

  investments and rates of return.” Id. (emphasis added) (citing Pino, 55 F.4th at 1256; and then

  citing Wildes, 25 F.4th 1341).

         9.      In an official statement accompanying the announcement of the long-term

  partnership between Mercedes F1 and FTX, Toto Wolff (Team Principal and CEO) called FTX

  “one of the world’s leading cryptocurrency exchanges,” whose “innovative spirit and creative

  energy in such a rapidly developing global industry make them a well-matched partner in our own

  relentless pursuit of performance.” 3

         10.     Interestingly, while Mercedes F1 and many others were quick to jump into the

  crypto world with both feet when they saw the potential for fast money, the National Football



  3
    FTX and Mercedes F1 Team Announce Long-Term Partnership, Mercedes F1 (Sept. 23, 2021)
  [hereinafter Website Partnership Announcement],
  https://web.archive.org/web/20210923204923/https:/www.mercedesamgf1.com/en/news/2021/0
  9/ftx-mercedes-f1-team-announce-long-term-partnership/; see also, e.g., Mercedes F1
  (@MercedesAMGF1), Twitter (Sept. 23, 2021, 11:00 AM),
  https://twitter.com/MercedesAMGF1/status/1441054808723496964.


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  League had the foresight to specifically bar its teams from selling sponsorships to cryptocurrency

  trading firms back in September 2021, because it needed the chance to evaluate the cryptocurrency

  industry more closely before it could develop and implement its official strategy. 4

                                    FACTUAL BACKGROUND

         11.     SBF and his FTX Group caused billions of dollars in losses to Plaintiffs, through at

  least two separate schemes, both of which contributed to the downfall of the FTX Group.

         12.     On one hand, SBF and the FTX Group stole customer deposits and used billions of

  dollars in customer funds to support the operations and investments of FTX and Alameda, to fund

  speculative venture investments, to make charitable and political contributions, and to personally

  enrich SBF himself, all while publicly touting the safety of the investment and the segregation of

  customer funds. FTX’s mobile application and/or web-based cryptocurrency investment service

  that placed cryptocurrency trade orders on behalf of users (the “FTX Platform”) maintained by the

  FTX Group was truly a house of cards, a Ponzi scheme where the FTX Group shuffled customer

  funds between their opaque affiliated entities, using new investor funds obtained through

  investments in the FTX Platform, the YBAs, FTT, and/or loans to pay interest and investment

  withdrawals to the old ones and to attempt to maintain the appearance of liquidity.

         13.     On the other hand, the FTX Group offered and sold securities without proper

  registration, thereby depriving Plaintiffs of financial and risk-related disclosures that would have

  impacted their calculus as to whether to invest in the FTX Group. Rather than heed the myriad

  warnings from the SEC dating as far back as 2017, the FTX Group chose instead to skirt US

  regulation through deception.


  4
   Bibhu Pattnaik, Why the NFL Bans Cryptocurrency, NFT Sponsorships for Teams, yahoo!finance
  (Sept.     5,     2021),     https://finance.yahoo.com/news/why-nfl-bans-cryptocurrency-nft-
  164438729.html.


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         14.       This conduct violates numerous laws, including laws related to the sale of

  unregistered securities, consumer protection, professional malpractice, fraud, and conversion.

         15.       As outlined herein, Defendant directly perpetrated, conspired to perpetrate, and/or

  aided and abetted the FTX Group’s multi-billion-dollar frauds for its own financial and

  professional gain.

         16.       Because of these schemes, the FTX Group imploded, and over $30 billion in value

  evaporated almost overnight when the FTX Group filed its emergency Chapter 11 bankruptcy

  petition in Delaware.

         17.       To be sure, both Defendant is responsible for the damages that Class Members have

  sustained. As further detailed herein, Defendant was a necessary player in pushing the FTX fraud

  to the unprecedented extent it reached, and all made exorbitant amounts of money in the process

  of doing so. For instance, Defendant helped create the false narratives about FTX and used

  celebrities to give them instant credibility.

         18.       FTX is and will be involved in federal bankruptcy proceedings for many years and

  there is no guarantee that any of the victims will be able to see any recovery from those

  proceedings. This class action may be the only avenue for any of the victims to recover any of

  their damages.

         19.       What’s more, FTX would not have been successful in perpetrating this fraudulent

  scheme on Plaintiffs and Class Members around the globe without key events that took place in

  and emanated from right here in Miami, Florida, which not only eventually became FTX’s official

  headquarters but was their de facto domestic headquarters for years before FTX’s eventual

  collapse. According to the Declaration of Dan Friedberg, attached as Exhibit A, FTX maintained

  an office in Miami, Florida, since early 2021, long before FTX eventually moved its Domestic




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   headquarters to Brickell in late 2022. Id., ¶ 20. Since early 2021, FTX’s Miami office was run by

   Mr. Avinash Dabir, who was based in Miami and originally worked for Blockfolio as Director of

   Product and Partnership before FTX later acquired Blockfolio in late 2020. 5 Id. Dabir eventually

   became FTX’s Vice President of Business Development. Id. Friedberg met with Mr. Dabir often

   and is very familiar with Mr. Dabir and his activities. Id.

          20.     Mr. Dabir operated from FTX’s Miami office, and he was focused on formulating

   and executing FTX’s important celebrity partnerships. Id., ¶ 21. Mr. Dabir had a lot of prior

   experience working with some of the major sports industries, including the NBA. Id.

          21.     According to Friedberg, Mr. Dabir was very good at his job, and it was his idea to

   expend significant resources on FTX’s sports and celebrity-based partnerships. Id., ¶ 22. Mr. Dabir

   specifically started by suggesting FTX form a Partnership with the Miami Heat and the naming

   rights to the Miami Arena. Id. FTX announced the Partnership in March 2021, and included FTX

   purchasing the naming rights of the Miami Heat stadium for 19 years in a deal worth approximately

   $135 million. Id.

          22.     The naming of the “FTX Arena” served as an important centerpiece for FTX’s

   efforts to reach other FTX partnerships with celebrities and other well-known partners. Id., ¶ 23.

   Mr. Dabir was the senior FTX executive responsible for creating, consummating, and

   implementing deals between FTX and other Partners, such as the Mercedes Formula 1 team, Major

   League Baseball, the MLB Umpire’s Association, TSM, Tom Brady, Stephen Curry, the Golden

   State Warriors, Naomi Osaka, Larry David, and Shohei Ohtani. Id.


   5
    See Zack Voell, FTX Exchange's $150M Deal for Mobile-First Blockfolio Is a Retail Trading
   Play, Coindesk, https://www.coindesk.com/markets/2020/08/25/ftx-exchanges-150m-deal-for-
   mobile-first-blockfolio-is-a-retail-trading-play/ (Sept. 14, 2021, 5:47 AM EDT); see also
   Blockfolio, Crunchbase, https://www.crunchbase.com/organization/blockfolio/people (last visited
   May 10, 2023).


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          23.     Having Larry David agree to conduct a commercial for FTX during the 2022 Super

   Bowl was a very big event for FTX because, according to Friedberg, it was the first time that he

   had ever agreed to serve as a spokesperson for any product. Id., ¶ 24. Mr. Dabir deserves much of

   the credit for creating that idea and concept and collaborating with Mr. David and his team,

   resulting in the award-winning Super Bowl FTX commercial that aired with the Super Bowl in

   2022. Id.

          24.     Released on March 31, 2022, Mr. Dabir appeared on the popular cryptocurrency

   podcast The Joe Pomp Show, where he was interviewed by Mr. Pompliano for over half an hour

   on specifically the efforts he undertook and oversaw from his FTX base of operations in Miami,

   Florida, to create, consummate, and implement, among other things, the FTX arena deal and the

   Larry David Superbowl commercial. A transcript of the podcast is attached as Exhibit B.

          25.     Mr. Dabir begins by introducing himself as “Vice President of Business

   Development at FTX, so I handle a lot of our sports partnerships as well as doing some of the

   interesting things in real estate as well.” Ex. B at 2. He then explains that “the end goal” is really

   how does FTX “acquire more users.” Id.

          26.     After first acknowledging and agreeing with Mr. Pompliano that FTX was at that

   point the “leaders” in the sports partnership category and that “it started with Miami Heat Arena,”

   Mr. Dabir explained that he led the effort to obtain the FTX Arena deal because he “had previously

   worked at the NBA” and that he identified Miami because it had “a great market,” a “multicultural,

   great team,” and the “Crypto Buzz was like growing here in Miami.” Id., at 2–3. Dabir explained

   that a contributing factor to the deal was “the fact that this was during COVID where, you know,

   a decent amount of live event businesses were-were short on revenue,” which “opened up the door

   where we could have that conversation” with Miami-Dade County and the Miami Heat. Id., at 4.




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           27.     Mr. Dabir also explained that it was crucial “to get approval from a local

   government, plus the Heat and the NBA who had their own diligence teams looking into” the FTX

   Arena deal because it “really sort of validated not only just FTX but the cryptocurrency industry

   in general.” Id., at 4.

           28.     In order to close the FTX Arena deal, according to Mr. Dabir, FTX confidentially

   disclosed to Miami-Dade County and the Miami Heat FTX’s balance sheet—which was comprised

   almost entirely of customer funds—and he explained to Mr. Pompliano that “there are ways to

   structure these deals in a way where, you know, you can front load some of the funds, right, to-to

   provide some more comfort.” Id.

           29.     Mr. Dabir explained that there were multiple ways that FTX measured the success

   of their Brand Ambassador program, with the “obvious one [being] straight up conversion,” as in

   “[h]ow many people in Florida download the app or around the Miami area, download the app,

   register, deposit, trade, you know, it’s that standard sort of funnel that’s very easy to track.” Id., at

   6. But the other method, according to Mr. Dabir, is the “intangible element” of “trust” and

   “legitimacy” that comes from “building trust and value through brand association,” like “I’ve

   already heard of FTX because of FTX Arena, or I saw your Super Bowl spot with-with Larry

   David.” Id.

           30.     Mr. Dabir also explains how he oversaw and participated in the creation of Larry

   David’s now infamous 2022 Super Bowl ad, and recounting, “when we saw the script, we were

   like, this script is awesome. And then-then we’re like, ‘We have to get Larry David, right?’ And

   then, you know, the teams went to work to try, and I don’t know if that commercial works, if it’s

   not Larry David, right?” Id., 7.




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          31.     Crucially, all FTX employees or agents who were involved in the Larry David

   Super Bowl commercial ultimately reported to Avi Dabir, who had final approval of all aspects of

   the commercial from his base of operations in Miami.

          32.     Mr. Dabir also went into detail about his dealings with Tom Brady and Giselle

   Bündchen and how the individual FTX Brand Ambassador partnership deals worked. Id., 9.

   Importantly, not only was Mr. Dabir directly involved in negotiating and consummating the

   individual FTX Brand Ambassador partnership deals from his base in Miami, he also explains that

   Defendants Brady and Bündchen were instrumental in bringing other FTX Brand Ambassadors

   into the fold, such as Curry. Id.

          33.     The question of whether the promotion of the FTX Platform, the sale of every YBA

   and/or FTT is (or is not) the sale of “unregistered securities” has practically been answered in the

   affirmative through various regulatory statements, guidance, and actions issued by the Securities

   and Exchange Commission and other regulatory entities. For example, on November 1, 2017, in

   the “SEC Statement Urging Caution Around Celebrity Backed ICOs.” 6

                  In the SEC’s Report of Investigation concerning The DAO, 7 the
          Commission warned that virtual tokens or coins sold in ICOs may be securities,
          and those who offer and sell securities in the United States must comply with the
          federal securities laws. Any celebrity or other individual who promotes a virtual
          token or coin that is a security must disclose the nature, scope, and amount of
          compensation received in exchange for the promotion. A failure to disclose this
          information is a violation of the anti-touting provisions of the federal securities
          laws. Persons making these endorsements may also be liable for potential
          violations of the anti-fraud provisions of the federal securities laws, for
          participating in an unregistered offer and sale of securities, and for acting as


   6
    SEC Statement Urging Caution Around Celebrity Backed ICOs, SEC (Nov. 1, 2017),
   https://www.sec.gov/news/public-statement/statement-potentially-unlawful-promotion-icos.
   7
     SEC, Release No. 81207, Report of Investigation Pursuant to Section 21(a) of the Securities
   Exchange       Act        of        1934:       The       DAO    (July       25,      2017),
   https://www.sec.gov/files/litigation/investreport/34-81207.pdf.


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          unregistered brokers. The SEC will continue to focus on these types of promotions
          to protect investors and to ensure compliance with the securities laws.

          34.     The SEC and state securities regulators over the past 5 years, have already found

   liable numerous celebrities, cryptocurrency brokers and exchanges just like FTX for offering this

   exact same type of interest-bearing account and native token, finding that exchanges such as

   BlockFi, 8 Voyager, 9 and Celsius 10 all offered these same products as unregistered securities.

          35.     A second narrow issue that is common to the entire Proposed Class, whose focus is

   also solely objective, is whether the Defendant violated state consumer laws by failing to abide by

   any of the FTC’s long-established rules and regulations, specifically on what is required for a

   celebrity endorsement of cryptocurrency.

          36.     We all need to be clear. This is not a case where Plaintiffs made a “risky”

   investment in stock or cryptocurrency, or that they lost money speculating on various

   cryptocurrency projects. Plaintiffs’ claims arise simply from the purchase of and investment in the

   FTX Platform, FTT, and/or a YBA, a savings type of account with FTX that every customer who

   signed up for the FTX app received by default, and which, as explained below, was guaranteed to

   generate returns on their significant holdings in the accounts, regardless of whether those assets

   were held as USD, legal tender or cryptocurrency, and regardless of whether any trades were made

   with the assets held on the FTX Platform or in the YBA. In other words, the FTX Platform and

   YBAs were portrayed to be like a bank account, something that was “very safe” and “protected.”


   8
    Press Release, BlockFi Agrees to Pay $100 Million in Penalties and Pursue Registration of its
   Crypto Lending Product, SEC (Feb. 14, 2022), https://www.sec.gov/news/press-release/2022-26.
   9
    Steve Kaaru, 6 US Regulators Crackdown on Voyager Digital over Interest-Bearing Accounts,
   CoinGeek (April 1, 2022), https://coingeek.com/6-us-regulators-crackdown-on-voyager-digital-
   over-interest-bearing-accounts/.
   10
      Celsius   Network,     LLC      (N.J.    Bureau     of    Secs.     Sept.    17,     2021),
   https://www.nj.gov/oag/newsreleases21/Celsius-Order-9.17.21.pdf (cease and desist order).


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   That is the narrative that Defendant pushed in promoting the FTX Platform and the offer and sale

   of YBAs and/or FTT, all of which are unregistered securities. For that, Defendant is liable for

   Plaintiffs’ losses, jointly and severally and to the same extent as if they were themselves the FTX

   Group.

            37.    Literally overnight, Plaintiffs’ assets, including FTT, 11 held on the FTX Platform

   and/or in their YBAs were robbed from them as FTX imploded and former-CEO, Sam Bankman-

   Fried, filed a Chapter 11 bankruptcy petition in Delaware on an emergency basis. This happened

   because, as explained by the new CEO of the failed FTX Group:

                    I have over 40 years of legal and restructuring experience. I have been the
            Chief Restructuring Officer or Chief Executive Officer in several of the largest
            corporate failures in history. I have supervised situations involving allegations of
            criminal activity and malfeasance (Enron). I have supervised situations involving
            novel financial structures (Enron and Residential Capital) and cross-border asset
            recovery and maximization (Nortel and Overseas Shipholding). Nearly every
            situation in which I have been involved has been characterized by defects of some



   11
      Although the FTX Group purported to maintain a separation between the US and International
   platform—in large part because it knew its products offered on the international exchange were
   securities required to be registered with securities regulators—the separation was merely a farce
   and was easily circumvented (which was something that the FTX Group encouraged) through the
   use of, for instance, a VPN. See Can You Use FTX Exchange in the USA? (Revealed), Blockduo,
   https://blockduo.com/ftx-usa/ (last visited Nov. 24, 2023) (“FTX, like other crypto exchanges, uses
   something called geo-blocking to stop users from restricted countries from using the exchange.
   They do this by seeing where your IP address is, and if it is from one of the banned countries, they
   will block you from the site. . . . With the now wide availability of VPNs, this can be
   bypassed . . . .”). The use of VPNs to circumvent geo-blocking for cryptocurrency exchanges is a
   well-known and widely used method encouraged by the exchanges to rake in as many new U.S.-
   based customers as possible to keep new funds loading onto their platform. See Complaint ¶ 6,
   CFTC v. Changpeng Zhao, et al., No. 1:23-cv-01887, (N.D. Ill. Mar. 27, 2023), ECF No. 1 (CFTC
   enforcement action brought because “Binance and its officers, employees, and agents have
   instructed U.S. customers to use virtual private networks (‘VPNs’) to obscure their location;
   allowed customers that had not submitted proof of their identity and location to continue to trade
   on the platform long after announcing such conduct was prohibited; and directed VIP customers
   with ultimate beneficial owners, key employees who control trading decisions, trading algorithms,
   and other assets all located in the United States to open Binance accounts under the name of newly
   incorporated shell companies to evade Binance’s compliance controls.”).


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          sort in internal controls, regulatory compliance, human resources and systems
          integrity.

                  Never in my career have I seen such a complete failure of corporate controls
          and such a complete absence of trustworthy financial information as occurred
          here. From compromised systems integrity and faulty regulatory oversight abroad,
          to the concentration of control in the hands of a very small group of inexperienced,
          unsophisticated and potentially compromised individuals, this situation is
          unprecedented.

   See In re: FTX Trading Ltd, et al., No. 22-11068 (JTD), ECF No. 24, ¶¶ 4–5 (D. Del. Nov. 17,

   2022) (emphasis added).

          38.     The Cryptocurrency National Disaster is growing by the billions almost every day.

   More crypto companies are filing new federal bankruptcy petitions each day, all running for

   protection from the billions of dollars of losses they directly caused to thousands of investors here

   in Florida and across the globe. This is by far the largest securities national disaster, greatly

   surpassing the Madoff Ponzi Scheme, and could very likely become a complex international

   litigation disaster, similar to how the hundreds of thousands of asbestos cases swamped all courts

   across the globe. Unless a workable, coordinated, and organized structure is established now, at

   the very onset of these proceedings, here in Miami, which served as the epicenter for the crypto

   fraud, the FTX victims will continue to suffer and the only people to benefit will be the

   professionals in the bankruptcy and civil courts.

          39.     The deceptive and failed FTX Platform all emanated from here in Miami, Florida,

   FTX’s domestic headquarters and the host of the largest and most famous International World

   Cryptocurrency Conventions. FTX’s fraudulent scheme was designed to take advantage of

   unsophisticated investors from across the globe, who utilize mobile apps to make their

   investments. As a result, consumers around the globe collectively sustained billions of dollars in

   damages. FTX organized and emanated its fraudulent plan from its worldwide headquarters




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   located here in Miami, Florida. Miami became the “hot spot” for crypto companies, hosting the

   most investments in crypto startups as well as the annual Bitcoin Miami 2022 Global Forum.

   Several crypto companies, including crypto exchange Blockchain.com, Ripple and FTX.US,

   moved their headquarters to Miami. Others, including fellow exchange eToro, expanded their U.S.

   presence with offices in Miami. FTX was already very familiar with Miami, signing a deal worth

   more than $135 million dollars for the naming rights of the waterfront arena, where 3-time NBA

   Champions the Miami Heat play.

          40.     Plaintiffs bring this action against Mercedes F1, who actively promoted FTX and

   its yield-bearing-accounts (“YBAs”) to millions of people. Though FTX paid Defendant

   handsomely to push its brand, Defendant did not conduct adequate (if any) due diligence. Given

   Defendant’s prominence and vast resources, it knew or should have known about FTX’s financial

   fragility, as well as the concerns about FTX selling unregistered crypto securities.

          41.     With the rise to prominence of the internet and social media, a new multi-billion-

   dollar cottage industry of “Influencers” has been created. Influencers played a major role in the

   FTX disaster and in fact, FTX could not have risen to such great heights without the massive

   impact of these Influencers, who hyped the FTX Platform for undisclosed payments ranging from

   tens of thousands of dollars to multimillion-dollar bribes. 12 Indeed, the most searched companies

   on the internet today are cryptocurrency brands. According to the NBA 2021–2022 Marketing &

   Partnerships Annual Report by Sponsor United, the cryptocurrency industry had a higher search

   volume during that year than the entire Alcohol & Beverages industry.




   12
     For example, the company Coinbound touts, “We help crypto brands go viral using Web3’s top
   influencers.” Coinbound, https://coinbound.io/influencers/ (last visited Nov. 22, 2023).


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          42.     It is paramount to understand that the Florida state law claims asserted in this action

   do not require “reliance” or “deceit.” The law merely requires the named Plaintiffs (and

   eventually the certified class) to have suffered damages as a result of: (a) purchasing an

   “unregistered security,” and (b) that was promoted by Defendant for its financial benefit and/or

   the financial benefit of FTX.

          43.     The reality is that anyone around the world with a computer can now be a promoter.

   Many of these paid FTX promoters have since asked for forgiveness, because many of these

   Influencers rely mainly on their alleged independence and impartiality in attracting people to join

   their fanbase. 13 This Action is brought to hold liable a promoter who specifically violated the law

   under these acts and will serve as precedent to warn and guide other promoters in the future.

          44.     State and federal regulators have been required to quickly modify and adjust to all

   the changing sources of promoters and marketers. Starting with sponsors on radio, then television

   and motion pictures and today, to the wild west of the internet, the number of companies that

   specialize in promoting on social media have sky-rocketed. According to studies, those aged 18 to

   34 are more likely to build an interest in an investment specifically from social media, instead of

   traditional news websites. 14

                                               PARTIES

          45.     Plaintiff Brandon Orr is a citizen and resident of the State of Arizona. He is a

   natural person over the age of 21 and is otherwise sui juris. Plaintiff Orr purchased or held legal


   13
      Amanda Perelli, Finance influencers are apologizing to fans after making money promoting
   FTX—and some say they'll make changes, Bus. Insider (Nov. 14, 2022, 9:30 AM EST),
   https://www.businessinsider.com/influencers-sponsored-by-ftx-say-sorry-to-fans-2022-11.
   14
     Shane Kickey, As ‘finfluencers’ spread through social media, beware the pitfalls, The Guardian
   (Aug. 22, 2021, 4:00 EDT), https://www.theguardian.com/money/2021/aug/22/as-finfluencers-
   spread-through-social-media-beware-the-pitfalls.


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   title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through an

   FTX Platform. As a result of Mercedes F1’s wrongdoing and the specific allegations set forth

   herein, Plaintiff Orr has sustained damages for which Mercedes F1 is liable.

          46.     Plaintiff Leandro Cabo is a citizen and resident of the State of California. He is a

   natural person over the age of 21 and is otherwise sui juris. Plaintiff Cabo purchased or held legal

   title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through an

   FTX Platform. As a result of Mercedes F1’s wrongdoing and the specific allegations set forth

   herein, Plaintiff Cabo has sustained damages for which Mercedes F1 is liable.

          47.     Plaintiff Ryan Henderson is a citizen and resident of the State of California. He

   is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Henderson purchased or

   held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested

   through an FTX Platform. As a result of Mercedes F1’s wrongdoing and the specific allegations

   set forth herein, Plaintiff Henderson has sustained damages for which Mercedes F1 is liable.

          48.     Plaintiff Michael Livieratos is a citizen and resident of the State of Connecticut.

   He is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Livieratos purchased

   or held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested

   through an FTX Platform. As a result of Mercedes F1’s wrongdoing and the specific allegations

   set forth herein, Plaintiff Livieratos has sustained damages for which Mercedes F1 is liable.

          49.     Plaintiff Alexander Chernyavsky is a citizen and resident of the State of Florida.

   He is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Chernyavsky purchased

   or held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested

   through an FTX Platform. As a result of Mercedes F1’s wrongdoing and the specific allegations

   set forth herein, Plaintiff Chernyavsky has sustained damages for which Mercedes F1 is liable.




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          50.     Plaintiff Gregg Podalsky is a citizen and resident of the State of Florida. He is a

   natural person over the age of 21 and is otherwise sui juris. Plaintiff Podalsky purchased or held

   legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through

   an FTX Platform. As a result of Mercedes F1’s wrongdoing and the specific allegations set forth

   herein, Plaintiff Podalsky has sustained damages for which Mercedes F1 is liable.

          51.     Plaintiff Vijeth Shetty is a citizen and resident of the State of Florida. He is a

   natural person over the age of 21 and is otherwise sui juris. Plaintiff Shetty purchased or held legal

   title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through an

   FTX Platform. As a result of Mercedes F1’s wrongdoing and the specific allegations set forth

   herein, Plaintiff Shetty has sustained damages for which Mercedes F1 is liable.

          52.     Plaintiff Chukwudozie Ezeokoli is a citizen and resident of the State of Illinois.

   He is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Ezeokoli purchased

   or held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested

   through an FTX Platform. As a result of Mercedes F1’s wrongdoing and the specific allegations

   set forth herein, Plaintiff Ezeokoli has sustained damages for which Mercedes F1 is liable.

          53.     Plaintiff Michael Norris is a citizen and resident of the State of New Jersey. He is

   a natural person over the age of 21 and is otherwise sui juris. Plaintiff Norris purchased or held

   legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through

   an FTX Platform. As a result of Mercedes F1’s wrongdoing and the specific allegations set forth

   herein, Plaintiff Norris has sustained damages for which Mercedes F1 is liable.

          54.     Plaintiff Edwin Garrison is a citizen and resident of the State of Oklahoma. He is

   a natural person over the age of 21 and is otherwise sui juris. Plaintiff Garrison purchased or held

   legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through




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   an FTX Platform. As a result of Mercedes F1’s wrongdoing and the specific allegations set forth

   herein, Plaintiff Garrison has sustained damages for which Mercedes F1 is liable.

             55.   Plaintiff Shengyun Huang is a citizen and resident of the State of Virginia. He is

   a natural person over the age of 21 and is otherwise sui juris. Plaintiff Huang purchased or held

   legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested through

   an FTX Platform. As a result of Mercedes F1’s wrongdoing and the specific allegations set forth

   herein, Plaintiff Huang has sustained damages for which Mercedes F1 is liable.

             56.   Plaintiff Vitor Vozza is a citizen and resident of the Federal Republic of Brazil.

   He is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Vozza purchased or

   held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested

   through an FTX Platform. As a result of Mercedes F1’s wrongdoing and the specific allegations

   set forth herein, Plaintiff Vozza has sustained damages for which Mercedes F1 is liable.

             57.   Plaintiff Kyle Rupprecht is a citizen and resident of the Dominion of Canada. He

   is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Rupprecht purchased or

   held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or invested

   through an FTX Platform. As a result of Mercedes F1’s wrongdoing and the specific allegations

   set forth herein, Plaintiff Rupprecht has sustained damages for which Mercedes F1 is liable.

             58.   Plaintiff Warren Winter is a citizen and resident of the Federal Republic of

   Germany. He is a natural person over the age of 21 and is otherwise sui juris. Plaintiff Winter

   purchased or held legal title to and/or beneficial interest in any fiat or cryptocurrency deposited or

   invested through an FTX Platform. As a result of Mercedes F1’s wrongdoing and the specific

   allegations set forth herein, Plaintiff Winter has sustained damages for which Mercedes F1 is

   liable.




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          59.     Plaintiff Sunil Kavuri is a citizen and resident of the United Kingdom of Great

   Britain and Northern Ireland. He is a natural person over the age of 21 and is otherwise sui juris.

   Plaintiff Kavuri purchased or held legal title to and/or beneficial interest in any fiat or

   cryptocurrency deposited or invested through an FTX Platform. As a result of Mercedes F1’s

   wrongdoing and the specific allegations set forth herein, Plaintiff Kavuri has sustained damages

   for which Mercedes F1 is liable.

          60.     Defendant Mercedes-Benz Grand Prix Limited d/b/a Mercedes-AMG

   Petronas Formula One Team (“Mercedes F1”), entered into a sponsorship agreement with FTX

   to promote it and its products. Mercedes F1 is a UK company located in Brackley, UK, with UK

   registration number 787446. Mercedes F1 (1) admittedly advertised and promoted the sale of the

   FTX Platform, YBAs and/or FTT, and; (2) failed to disclose, in any of its marketing campaigns

   and/or advertisements, that it was paid substantial sums by FTX and profited from the sale of

   cryptocurrency, the FTX Platform, YBAs and/or FTT , in clear violation of SEC, FTC and various

   federal and state regulations.

                                    JURISDICTION AND VENUE

          61.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

   § 1332(d)(2)(A) because this is a class action for a sum exceeding $1,000,000,000.00 (one billion

   dollars), exclusive of interest and costs, and in which at least one class member is a citizen of a

   state different than the Defendant.

          62.     This Court has personal jurisdiction against Defendant because it conduct

   substantial and not isolated business in Florida, and/or has otherwise intentionally availed

   themselves of the Florida consumer market through the promotion, marketing, and sale of FTX’s

   Deceptive FTX Platform, YBAs and/or FTT in Florida, which constitutes committing a tortious



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   act within the state of Florida. Defendant has also marketed and participated and/or assisted in the

   sale of FTX’s unregistered securities to consumers in Florida. Further, Defendant has engaged in

   a conspiracy in which some of the co-conspirators—including some who are defendants in the

   FTX MDL—committed overt acts in furtherance of the conspiracy in the State of Florida. This

   purposeful availment renders the exercise of jurisdiction by this Court over Defendant permissible

   under traditional notions of fair play and substantial justice.

          63.     Venue is proper in this District under 28 U.S.C. § 1391 because thousands of Class

   Members either reside in this District; Defendant engaged in business in this District; a substantial

   part of the events or omissions giving rise to the claims at issue occurred in this District; and

   because Defendant entered into transactions and/or received substantial profits from Class

   Members who reside in this District.

          64.     All conditions precedent to the institution and maintenance of this action have been

   performed, excused, waived, or have otherwise occurred.

                                      FACTUAL ALLEGATIONS

   A.     The Rise of FTX

          65.     In May 2019, SBF and his co-founders, Gary Wang and Nishad Singh, launched

   FTX, which, along with various subsidiaries, affiliates and related entities, operated the FTX

   Platform, which FTX purported to be a centralized digital asset exchange aimed at “the mass

   market and first-time users” of cryptocurrencies.

          66.     FTX portrayed itself as a trustworthy and law-abiding member of the

   cryptocurrency industry, focused not only on profits, but also on investor and client protection. In

   public statements, including in testimony before the United States Senate, SBF stated that FTX

   had adopted “principles for ensuring investor protections on digital asset-platforms” including



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   “avoiding or managing conflicts of interest,” and that “[a]s a general principle[,] FTX segregate[s]

   customer assets from its own assets across our platforms.” SBF spent millions on advertisements

   to portray FTX as the “safest and easiest way to buy and sell crypto” and “the most trusted way to

   buy and sell” digital assets. 15

           67.     All the while, however, FTX was doing none of these things. Instead of managing

   conflicts, the FTX Group actively embraced them, using FTX Trading, FTX.US, and Alameda

   funds interchangeably to prop up the enterprise. Contrary to SBF’s statements, FTX had no focus

   on investor protection and did not segregate customer funds. Rather, FTX used customer assets as

   an interest-free source of capital for Alameda’s and SBF’s private ventures.

           68.     FTX was conceived in Northern California before transitioning its headquarters to

   Chicago, Illinois, and ultimately landing its domestic operations in Miami, Florida, where FTX

   US was headquartered and where, in early 2021, FTX purchased the naming rights to the Miami

   Heat’s waterfront arena for more than $135 million, one of many sports venues on which FTX

   paid to have its name emblazoned and one of many extravagant purchases made with Class

   Members’ funds.

           69.     Beginning no later than early 2019, for FTX Trading, and no later than May 22,

   2020, for FTX US, Class Members could open “yield-bearing accounts” (“YBAs”) and/or other

   accounts, and deposit a wide assortment of cryptocurrencies, as well fiat currency, including U.S.

   dollars, into the accounts (“Class Member funds”) through the FTX website or through FTX’s

   mobile app.




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     See Superseding Indictment ¶ 2, United States of America v. Samuel Bankman-Fried, No. S5
   Cr. 673 (March 28, 2023), ECF No. 115.


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          70.     FTX lured Class Members to make such deposits with promises of guaranteed 8%

   annual percent yield on assets equivalent up to $10,000 USD and guaranteed 5% annual percent

   yield on amounts between $10,000 USD and $100,000 USD, each of which compounded hourly

   upon a Class Member’s deposit of funds. At no time did FTX register the YBAs pursuant to any

   federal or state securities law, as discussed more fully below.

          71.     By structuring the rates of returns in this way, FTX targeted nascent investors—

   i.e., those under the age of 30 and/or new to trading, both inexperienced and unsophisticated—by

   tying higher rates of return to lower deposit amounts with “no fees and no minimum balances.”

          72.     Unlike a traditional brokerage, FTX took custody of Class Members’ assets, which

   FTX promised to safeguard. In its terms of service, FTX represented to Class Members that “[a]ll

   cryptocurrency or dollars (or other supported currencies) that are held in your account are held by

   FTX.US for your benefit;” that “[t]itle to cryptocurrency represented in your FTX.US Account

   shall at all times remain with you and shall not transfer to FTX.US.;” and that “FTX.US does not

   represent or treat assets in your FTX.US Account as belonging to FTX.US.” FTX Trading’s terms

   of service similarly represented that no customer funds were “the property of, or shall be loaned

   to, FTX Trading,” and that FTX Trading “does not represent or treat Digital Assets in User’s

   Accounts as belonging to FTX Trading.”

          73.     FTX assured Class Members that their assets were safe and could be withdrawn at

   any time, claiming on its website that “FTX does back the principal generating the yield with its

   own funds and equity.” SBF further promised, on Twitter in August 2021, “[FTX] will always

   allow withdrawals (except in cases of suspected money laundering/theft/etc.).”

          74.     FTX also promised to protect against the risk that any customer would engage in

   self-dealing on the exchange or otherwise try to manipulate the market. For example, FTX claimed




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   to offer “wash trading protection,” representing that it implemented “exchange controls that

   actively prevent a party trading with themselves.” Additionally, FTX represented, in its terms of

   service, that “FTX.US does not permit self-trades in order to manipulate markets, reported

   statistics, or cause liquidations.”

           75.     FTX also purported to protect against the risk that any customer would become

   overleveraged or undercollateralized on the platform. For this, FTX touted its “risk-engine,” an

   automated monitoring system that required FTX customers to pledge additional collateral to their

   accounts as trades went bad and, if the customer failed to do so, liquidated that customer’s assets.

   FTX detailed its auto-liquidating “risk engine” and other purported risk management procedures

   in a public proposal to the U.S. Commodity Futures Trading Commission (“CFTC”), in which

   FTX sought permission to trade non-intermediated margin products (i.e., without any intermediary

   to hold customer funds):

           A participant’s margin level is recalculated every 30 seconds as positions are
           marked to market, and if the collateral on deposit falls below maintenance margin
           level, FTX’s automated system will begin to liquidate the portfolio. The automated
           system will liquidate 10 percent of a portfolio at a time by placing offsetting orders
           on the central limit order book. Once the liquidation process results in collateral on
           deposit that exceeds the margin requirement, the liquidation will stop. Because the
           liquidation is done automatically and positions are marked to market every 30
           seconds, these liquidations can occur at any time, on a “24-7” basis.
           76.     FTX claimed that this and other risk management procedures distinguished it from

   other cryptocurrency exchanges and ensured that Class Member funds were protected from losses

   by other users. For example, on May 11, 2022, SBF tweeted that “the margin mode is safe and

   conservative: real time risk engines mean you neither have to preemptively liquidate days early,

   nor risk positions going underwater for days.” The next day, SBF testified before the U.S. House

   of Representatives Committee on Agriculture that:

           In our risk model the collateral is held directly at the clearinghouses, the collateral


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          for all the positions. There is CFTC oversight of that collateral, and it is guaranteed
          to be there to not be used for anything else, to be segregated, and that is a difference
          with traditional models. It provides an extra guarantee of the assets backing these
          positions. (emphasis added).
   At that hearing, in response to Chairwoman Jahana Hayes’ concern that FTX’s risk monitoring

   system “could create an opening for fraud and abuse, particularly towards new customers that are

   entering the digital asset market for the first time,” SBF assured that in FTX’s model, “there is a

   lot of capital which is held directly with CFTC oversight [and] segregated accounts for margin

   for the customers’ positions, which also provides a capital backstop . . . .” (emphasis added).

          77.     More generally, in television commercials, in print advertising, through interviews

   and spokespeople, on Twitter, Facebook, TikTok, Instagram, and LinkedIn, and in other

   publications, FTX repeatedly peddled itself as “the safest and easiest way to buy and sell crypto,”

   and SBF repeatedly promised that “our users’ funds and safety come first.” In highlighting FTX’s

   purported safety, SBF and other FTX executives falsely represented that FTX was insured by the

   Federal Deposit Insurance Corporation (“FDIC”)—including in a tweet by FTX US President Brett

   Harrison that “direct deposits from employers to FTX US are stored in individually FDIC-insured

   bank accounts in the users’ names,” and “stocks are held in FDIC-insured . . . accounts”—until the

   FDIC ordered that FTX cease and desist in a letter dated August 18, 2022.

          78.     SBF’s carefully curated public persona complemented FTX’s veneer of safety and

   was critical to FTX’s meteoric rise. SBF came to be “the best-known proponent of the ‘effective

   altruism’ social movement which believes in prioritizing donations to projects that will have the

   largest impact on the most people.” In touting his commitment to the movement, SBF explained

   on YouTube and to journalists that “I wanted to get rich, not because I like money but because I

   wanted to give that money to charity,” and that “I pretty quickly run out of really effective ways

   to make yourself happier by spending money . . . I don’t want a yacht.”



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          79.     But in truth, SBF did want a yacht, and he wanted Formula One teams, BMWs,

   beachfront condos, and cocaine-fueled parties. And he got those things—with Class Member

   funds. SBF’s association with altruism and charity, and his public denouncements of greed and

   excess, generated a false trustworthiness among the public and provided necessary goodwill for

   FTX, each critical to hide his lavish spending of Class Member funds.

          80.     On the basis of these reassurances, along with other representations described

   herein, FTX grew to become one of the largest cryptocurrency exchanges in the world—at its peak,

   the exchange’s trading volumes reached approximately $21 billion per day and its valuation topped

   $32 billion within three years of its founding.

   B.     FTX’s Key Players

          I.      Defendant Sam Bankman-Fried

          81.     The FTX Group was founded in 2019 and began as an exchange or marketplace for

   the trading of crypto assets. FTX was established by Samuel Bankman-Fried, Gary (Zixiao) Wang

   and Nishad Singh, with operations commencing in May 2019. FTX was purportedly established

   to build a digital asset trading platform and exchange for the purpose of a better user experience,

   customer protection, and innovative products. FTX built the FTX.com exchange to develop a

   platform robust enough for professional trading firms and intuitive enough for first-time users.

          82.     Prior to that, the Silicon Valley-born, MIT-educated Bankman-Fried, also known

   as SBF, launched his quantitative crypto trading firm, Alameda, in November 2017, 16 after stints




   16
      Lakshmi Varanasi, Sarah Jackson, Britney Nguyen & Sindhu Sundar, The Rise and Fall of
   FTX’s Sam Bankman-Fried, the Onetime Crypto Billionaire Prosecutors Now Want Jailed After
   They Say He Interfered With Witnesses in His Criminal Case, Bus. Insider,
   https://www.businessinsider.com/ftx-crypto-king-sam-bankman-fried-rise-and-fall-2022-11 (July
   26, 2023, 5:12 PM EDT).


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   in the charity world and at trading firm Jane Street. 17 Quantitative trading consists of trading

   strategies based on quantitative analysis, which rely on mathematical computations and number

   crunching to identify trading opportunities.

          83.     On January 3, 2023, Bankman-Fried pled not guilty to eight criminal charges during

   a hearing before the U.S. District Court for the Southern District of California in USA v. SBF,

   1:22-cr-00673-LAK-1. On February 23, 2023, a superseding indictment was unsealed. It added

   four more charges, including charges for conspiracy to commit bank fraud and unlicensed money

   transmitting business, and money laundering. Id., Doc. 80. Bankman-Fried was convicted by a

   jury on November 2, 2023, of all seven charges tried in October 2023. He now faces over 100

   years in prison for crimes predicated on his lying to investors and stealing billions of dollars of his

   customers’ money.

          II.     Defendant Caroline Ellison

          84.     By 2018, Defendant Bankman-Fried had persuaded Defendant Ellison to join him

   at Alameda. Defendant Ellison described the recruitment as follows: “This was very much like,

   ‘oh, yeah, we don’t really know what we’re doing,’” Ellison told Forbes magazine in an interview

   regarding her initial impressions of Alameda.

          85.     In late 2018, the headquarters of Alameda was relocated to Hong Kong. The team

   at Alameda included Defendant Bankman-Fried’s close friends (and later co-founders for FTX)

   Nishad Singh and Gary Wang. Defendant Caroline Ellison was also part of the group and, upon

   moving to Hong Kong, the group lived like college students and fiercely traded crypto.



   17
      Avery Hartmans, The Collapse of Crypto Firm FTX and Its Superstar Founder Explained for
   Those Who Know Nothing About Crypto, Bus. Insider (Nov. 12, 2022, 6:45 AM EST)
   https://www.businessinsider.com/ftx-sbf-crypto-saga-explained-what-happened-what-it-means-
   2022-11?inline-endstory-related-recommendations=.


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          86.      After Defendant Bankman-Fried established FTX in 2019, Defendant Ellison began

   taking more responsibility at Alameda.

          87.      In October 2021, Ellison was appointed as co-CEO of Alameda with Sam Trabucco

   after Bankman-Fried resigned from the firm in an effort to give the appearance of putting distance

   between the exchange and trading shop he founded. As co-CEO, Ellison helped oversee Alameda’s

   expansion beyond its initial market-neutral, but relatively low-profit business as a market maker

   for low-volume cryptocurrencies into riskier trading strategies, according to a Twitter thread

   detailing that shift. For instance, Alameda traders began exploring yield farming in decentralized

   finance (DeFi). Ellison became sole CEO in August 2022, following Trabucco’s sudden and

   unexpected departure from the firm, when he shifted his role from Co-CEO to adviser of the

   company. 18

          88.      Leading up to the collapse of FTX, Ellison lived with nine other FTX or Alameda

   colleagues in Bankman-Fried’s $30 million penthouse in the Bahamas. She reportedly paid SBF

   rent, and was occasionally in a romantic relationship with him. In 2021, Ellison tweeted about

   recreational stimulant use. Upon information and belief, Ellison left the Bahamas and moved back

   to Hong Kong.

          89.      “Young people tend to be too risk averse,” Ellison said in a more recent Alameda

   podcast episode. 19




   18
      Nelson Wang, Co-CEO of Crypto Trading Firm Alameda Research Sam Trabucco Steps Down,
   CoinDesk         https://www.coindesk.com/business/2022/08/24/co-ceo-of-crypto-trading-firm-
   alameda-research-sam-trabucco-steps-down/ (May 11, 2023, 1:43 PM EDT).
   19
      FTX Official, FTX Podcast #36: Defi Summer Crypto Trading Strategy, Youtube (Jan 22, 2021),
   https://web.archive.org/web/20221108225900/https://www.youtube.com/watch?v=zfcb9JAgWB
   s.


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          90.     In December 2022, Ellison pled guilty to criminal charges stemming from FTX’s

   collapse, including conspiracy to commit wire fraud, conspiracy to commit commodities fraud,

   conspiracy to commit securities fraud, and conspiracy to commit money laundering.

          III.    Defendant Gary Wang

          91.     Wang is not like his co-founder Sam Bankman-Fried, who loves fame and putting

   himself at the center of public attention. In fact, there’s little public information about Wang, who

   has been described as a shady but critical player in the rise and fall of FTX.

          92.     Wang met Bankman-Fried at a math camp in high school. Later, they became

   college roommates at the Massachusetts Institute of Technology, where Wang got degrees in

   mathematics and computer science and Bankman-Fried received a bachelor’s in physics. 20

          93.     Before co-founding Alameda (and later FTX), Wang worked at Google. He claims

   to have built a system to aggregate prices across public flight data, according to an introduction on

   the Future Fund’s website. 21 When Bankman-Fried left the Jane Street Hedge Fund to start

   Alameda in 2017, Wang left the tech giant.

          94.     The startup has its beginnings in a three-bedroom Berkeley apartment – the

   downstairs served as its office. The firm shifted to Hong Kong, in part to take advantage of

   arbitrage opportunities in Asian bitcoin markets – including the price discrepancy between BTC

   in Japan and BTC everywhere else.



   20
      Raising the Bar, FTX Blog,
   https://web.archive.org/web/20221109182910/https://blog.ftx.com/blog/raising-the-bar/           (last
   visited Nov. 9, 2022).
   21
      Who We Are, FTX Future Fund,
   https://web.archive.org/web/20221109222441/https://ftxfuturefund.org/about/ (last visited Nov.
   9, 2022).


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          95.     It’s there that Wang and Bankman-Fried funneled funds from Alameda to build its

   bespoke derivatives exchange. Bankman-Fried told Insider that he is not a good coder: “I don’t

   code. I’m trash. I have not written any of FTX’s code base. That’s all a lot of other really

   impressive people at FTX. That’s not me at all.” 22

          96.     At the age of 28, Wang topped Forbes’ 2022 list of the world’s billionaires under

   30 with a net worth of $5.9 billion in April. SBF sent his congratulations to Wang in public,

   tweeting that “I couldn’t be prouder” when the list came out. 23

          97.     In December 2022, Wang pled guilty to criminal charges stemming from FTX’s

   collapse, including conspiracy to commit wire fraud, conspiracy to commit commodities fraud,

   and conspiracy to commit securities fraud.

          IV.     Defendant Nishad Singh

          98.     Nishad Singh joined Alameda in the early days, when the five-person trading firm

   was based in a Berkeley, California, apartment. He went from finding and exploiting arbitrage

   opportunities in crypto markets to being appointed director of engineering at FTX.

          99.     Singh is and was a close confidant of Bankman-Fried, having shared multiple

   apartments with the FTX founder over the years, including most recently a 10-person luxury

   penthouse in Nassau, the Bahamas.




   22
      Keri McMahon & Vicky Ge Huang, Here Are 10 of the Most Surprising Little-known Facts We
   Learned About the 29-Year-Old Crypto Billionaire Sam Bankman-Fried After Months Speaking to
   His Closest Friends, Family, and Colleagues, Bus. Insider (Dec. 28, 2021, 4:00 AM CST),
   https://www.businessinsider.com/crypto-trading-billionaire-sam-bankman-fried-ftx-alameda-
   surprising-facts-2021-12#5-people-often-think-hes-a-programmer-but-hes-not-5.
   23
      Sam      Bankman-Fried   (@SBF_FTX),      Twitter (Apr.          5,    2022,      8:45   AM),
   https://twitter.com/SBF_FTX/status/1511324242612297738.


                                                   32
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          100.    He is rumored to be just one of three people who controlled the keys to the

   exchange’s matching engine, and admittedly was informed of a plan to backstop losses at Alameda

   with FTX customer funds. 24

          101.    Although Singh’s LinkedIn profile is down and his Twitter account is locked, the

   University of California, Berkeley graduate talked about why he left his dream job at Facebook to

   join Alameda in a FTX podcast. 25

          102.    “I spent maybe about a month doing weekends and nights at Alameda,” he said,

   discussing a period of time when his “day job” was as a software engineer working on applied

   machine learning at Facebook. “At some point, it became obvious that was kind of stupid … so I

   took some time off and really gave my 100% working at Alameda,” Singh said.

          103.    Singh visited Alameda in the first month of its existence, where he witnessed

   Bankman-Fried execute a sequence of trades that he described as “super profitable, easy to

   understand and there were lots available.” Feeling inspired, he took a job.

          104.    After spending one and a half years as a core Alameda engineer, Singh took a role

   as the head of engineering at the then-newly launched FTX derivative exchange in 2019, where he

   was allowed to code with “minimal supervision.” He has provided code to a number of Bankman-

   Fried-related projects, including the decentralized exchange Serum on Solana.




   24
     Dave Michaels, Elaine Yu & Caitlin Ostroff, Alameda, FTX Executives Are Said to Have Known
   FTX Was Using Customer Funds, Wall St. J., https://www.wsj.com/articles/alameda-ftx-
   executives-are-said-to-have-known-ftx-was-using-customer-funds-11668264238 (Nov. 12, 2:42
   PM ET).
   25
      FTX Official, FTX Podcast: Crypto Engineer’s Responsibilities, YouTube (Dec. 23, 2020),
   https://web.archive.org/web/20221123034805/https://www.youtube.com/watch?app=desktop&v
   =rl0Rq2cUSIQ.


                                                   33
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          105.    “Nishad was one of my brother’s best friends in high school. He’s shown the fastest

   and most sustained professional growth I’ve ever witnessed,” Bankman-Fried wrote in a company

   blog. 26 Singh also assisted Wang in building most of FTX’s “technological infrastructure” and

   managed the development team.

          106.    Although pitched as a community-run and- organized exchange, people familiar

   with the matter told CoinDesk the true power over Serum rested with FTX Group, which then held

   the program’s access keys. 27 A similar relationship may be in place at FTX’s core properties. 28

          107.    On February 28, 2023, Nishad Singh, who was one of SBF’s best friends, a core

   Alameda engineer, and head of FTX’s engineering, also pled guilty to criminal counts for

   conspiracy to commit fraud and conspiracy to commit money laundering. He agreed to cooperate

   with prosecutors’ investigation into Bankman-Fried and apologized for his role in FTX’s scheme.

          108.    November 12, 2022, The Wall Street Journal reported that Bankman-Fried, Ellison,

   Wang, and Singh were aware that FTX had used customer assets to cover Alameda’s trading losses

   and repay its outstanding debts.




   26
      Raising the Bar, FTX Blog,
   https://web.archive.org/web/20221109182910/https://blog.ftx.com/blog/raising-the-bar/          (last
   visited Nov. 9, 2022).
   27
     Danny Nelson, FTX Hack Sparks Revolution at Serum DEX as Solana Devs Plot Alameda's
   Ouster, CoinDesk, https://www.coindesk.com/business/2022/11/12/ftx-hack-spooks-solana-defi-
   community-igniting-revolution-at-alameda-controlled-serum-dex/ (May 9, 2023, 12:02 AM
   EDT).
   28
     Dave Michaels, Elaine Yu & Caitlin Ostroff, Alameda, FTX Executives Are Said to Have Known
   FTX Was Using Customer Funds, Wall St. J., https://www.wsj.com/articles/alameda-ftx-
   executives-are-said-to-have-known-ftx-was-using-customer-funds-11668264238 (Nov. 12, 2:42
   PM ET).


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   C.     The Basics of a Cryptocurrency Exchange

          109.    In many ways, centralized cryptocurrency exchanges, including FTX, are

   analogous to banks albeit for the cryptocurrency industry. There is a big difference, however, in

   regards to the way a cryptocurrency exchange and a bank are and should be authorized to utilize

   customer assets.

          110.    More specifically, cryptocurrency exchanges accept deposits of cryptocurrency,

   and often fiat currency on behalf of their customers. Once that cryptocurrency is received by the

   exchange then it has dominion and control over those assets.

          111.    The exchange then credits the applicable customer account with the appropriate

   amount of cryptocurrency or fiat assets the exchange received. This credit can be regarded as a

   liability of the exchange to its customer.

          112.    If, for example, cryptocurrency was deposited to the customer’s exchange account,

   the customer could then take that credit received from the exchange, and:

              a) Trade it for another cryptocurrency

              b) Trade it for fiat currency

              c) Leave it as a balance on the exchange account (leaving an open liability of the
                 exchange to the customer)

              d) Withdraw it (withdrawal could be done prior to or after a trade or conversion)

   These things could be done in whole or in part. Ledger entries would (and should) be made

   internally by the exchange to account for changes in positions and applicable balances.

          113.    The exchange accounts should very much be regarded as being custodial in nature.

   This means that the customer does not control access to the assets ‘in’ their account. The customer

   needs to make a request to the exchange to be able to access and send those balances. The exchange




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   then debits the user account and sends the assets. Whether or not such requests are processed are

   dependent on the willingness, ability, and approval of the exchange.

          114.    One major factor the affects the exchange’s ability to process such requests is

   whether or not they have the assets and/or capital necessary to do so.

          115.    For any non-yield-bearing account, this shouldn’t be a problem, since exchanges

   should have enough assets in custody for the benefit of their customers to cover their liabilities to

   their customers, and on a 1:1 basis. FTX’s terms of service seems to guarantee this, although FTX

   clearly violated their own terms of service:

                  “Title to your Digital Assets shall at all times remain with you and shall not
                  transfer to FTX Trading. As the owner of Digital Assets in your Account,
                  you shall bear all risk of loss of such Digital Assets. FTX Trading shall have
                  no liability for fluctuations in the fiat currency value of Digital Assets held
                  in your Account.”

                  “None of the Digital Assets in your Account are the property of, or shall or
                  may be loaned to, FTX Trading; FTX Trading does not represent or treat
                  Digital Assets in User’s Accounts as belonging to FTX Trading.”

                  “You control the Digital Assets held in your Account. At any time, subject
                  to outages, downtime, and other applicable policies (including the Terms),
                  you may withdraw your Digital Assets by sending them to a different
                  blockchain address controlled by you or a third party.” 29

          116.    While FTX violated their own terms of service, it would also have been true that

   some of these claims would have been demonstrably false to begin with even if there was

   hypothetically no wrongdoing on the part of FTX. This is because FTX exchange accounts (or any

   exchange account with any centralized custodial exchange, including Coinbase for example) are



   29
      FTX Terms of Service (May 13, 2022),
   https://web.archive.org/web/20221108192005/https://help.ftx.com/hc/article_attachments/97196
   19779348/FTX_Terms_of_Service.pdf.


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   custodial in nature. Id. This means that the customer does not control access to the assets ‘in’ their

   account. The customer needs to make a request to the exchange to be able to access and send those

   balances. It is very much the exchange that controls the assets, not their customer. However, it

   should also be noted that the digital assets aren’t technically ‘in’ the account at all. At a technical

   level, an exchange account cannot hold or store cryptocurrency. The account stores a record of a

   liability or an IOU to the exchange’s customer. When a user purchases cryptocurrency on an

   exchange, they aren’t technically purchasing that cryptocurrency; they are purchasing an IOU for

   that cryptocurrency. Because this concept of buying and storage can be difficult to understand, it’s

   somewhat common for newcomers to associate such IOUs as being the same as storing

   cryptocurrency assets ‘on’ their account, even though it’s not technically true.

           117.    With any yield-bearing account, it could generally be expected for an exchange to

   take those customers and leverage, loan or invest them in some way, and hopefully receive enough

   assets back to be able to pay out their customers back their principal, in addition to yield or interest

   earned, when applicable customers attempt to redeem or withdraw those funds.

           118.    While the existence of such loans associated with assets deposited to yield-bearing

   accounts was known, the substantial risks associated with such loans, and by extension the yield-

   bearing accounts in general was not adequately represented.

           119.    The main functional differences between banks and cryptocurrency exchanges is

   such that exchanges are largely unregulated, and that exchanges (and by extension exchange

   accounts and the users who use them) are subject to a lot of additional risks compared to that of a

   bank account.

           120.    Banks are, of course, subject to a variety of capital control requirements to ensure

   protection of consumer assets. Banks are regulated with regards to the type of assets that they can



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   invest customer assets in. Banks are subject to regular financial audits. Banks have regulatory

   oversight to ensure the protection of consumer assets. And of course, bank accounts have FDIC

   insurance so that bank account holders have coverage in case a bank, despite such measures,

   becomes insolvent. Id.

          121.    Exchanges, on the other hand, are not subject to capital control requirements. While

   almost all exchanges will indicate that they ‘securely’ store all customer assets 1:1 in ‘cold

   storage,’ there is no regulatory requirement in most jurisdictions (including the US) for exchanges

   to do so, nor is there any requirement for exchanges to offer any transparency regarding their

   solvency or use of customer assets to regulators or to the general public.

          122.    Other than by an exchange’s own terms of service (which wasn’t adhered to in this

   case), exchanges are not prevented from whether they invest customer assets elsewhere, and if so,

   what types of investments they enter into, or loans they provide, regardless of the inherent level of

   risk. And exchanges have no requirement to have any type of insurance equivalent to FDIC

   insurance. While some exchanges will sometimes claim they have ‘insurance,’ the terms and

   conditions associated with that insurance are typically completely unknown to investors, and often

   this insurance will bear little to no resemblance to FDIC insurance; in essence the term ‘insurance’

   is used as a marketing ploy to help instill customer confidence in the exchange, even when such

   confidence may not be warranted.

          123.    Due to the aforementioned reasons and risks surrounding the lack of regulation, as

   well as various types of cybersecurity-related risks that aren’t applicable to banks but are critically

   important for exchanges, cryptocurrency exchanges are generally not and should not be considered

   a ‘safe’ place to store assets, whether cryptocurrency assets or fiat assets.




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          124.    The inherent riskiness associated with storing assets on a cryptocurrency exchange

   is well-known to the vast majority of well-educated and knowledgeable cryptocurrency users. This

   is evidenced by the frequent expression ‘not your keys, not your coins,’ essentially meaning that

   if you don’t control the cryptocurrency in your account, it’s not really yours. ‘Your’

   cryptocurrency belongs to the exchange if you elect to store it ‘on’ the exchange, and if they renege

   or are unable to fulfill their liability to you, you as the beneficial cryptocurrency owner of the

   cryptocurrency, have effectively lost your money.

          125.    This is further referenced by the extensive track record of the many cryptocurrency

   exchanges that have shut down and ultimately failed, 30 often in spectacular fashion. The most

   common reasons for an exchange’s failure include:

              a) The exchange borrowing against customer assets (either to fund business operations
                 or lending them out in an effort to generate a profit) leading to insolvency;

              b) The exchange trading or leveraging customer assets in an effort to generate a profit,
                 leading to insolvency;

              c) A hack or theft by an external actor;

              d) Embezzlement, or theft by an internal actor, typically founder(s) of the exchange;
                 or

              e) Disappeared suddenly, for no apparent reason (typically taking customer assets
                 with them).

          126.    When exchanges do shut down (and this happens relatively frequently) it rarely

   happens in an organized and orderly fashion, and it’s incredibly rare for customers that had assets

   on the exchange to get all their assets back; in many cases, they end up getting nothing back.




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      See Exchange Graveyard, Crypto Wisser, https://www.cryptowisser.com/exchange-graveyard/
   (last visited Nov. 22, 2023).


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           127.   Suffice to say cryptocurrency exchanges are generally not a safe place to store

   assets, even amongst exchanges that don’t offer a yield-bearing program. When exchanges have a

   yield-bearing program, or otherwise elect to leverage or loan our customer assets (with or without

   customer consent), it significantly increases the risk of the exchange failing and becoming

   insolvent. Cryptocurrency exchanges can do a variety of things to minimize such risks and improve

   safety. However, what an exchange says, and what they actually do are two different things

   entirely. It is common for CEOs and executives of exchanges that have failed or in the process of

   failing to describe their exchange as ‘safe,’ ‘secure,’ ‘well-regulated,’ ‘compliant,’ ‘transparent,’

   or in a good financial position even when the exact opposite is true. Id. FTX was not an exception

   to this trend. One should not assume or believe that an exchange is any of these things just because

   they say it.

           128.   This is not to suggest that exchanges cannot be a much safer place to store assets.

   They can be with appropriate regulation and oversight. In fact, it appears that for FTX Japan 31

   specifically, those investors will be made whole or almost whole due to sensible regulations that

   were put in place in light of the lessons learned from the failures of Mt. Gox and Coincheck

   exchanges in Japan.

   D.      The Mechanics of the Fraudulent Scheme

           129.   The FTX fraud was straightforward, albeit thoroughly concealed from unsuspecting

   Class Members.

           130.   With the promise of higher-than-average returns and leading-edge safeguards, and

   by way of FTX’s material omissions further detailed herein, FTX lured Class Members to deposit


   31
      JP Koning, Opinion, Japan Was the Safest Place to Be an FTX Customer, Coindesk,
   https://www.coindesk.com/consensus-magazine/2022/12/13/japan-was-the-safest-place-to-be-an-
   ftx-customer/ (Sept. 28, 2023, 10:22 AM EDT).


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   U.S. dollars and crypto-based assets into speculative investments, including YBAs, on the FTX

   exchange.

          131.    Contrary to FTX’s representations to its customers that “FTX.US does not represent

   or treat assets in your FTX.US Account as belonging to FTX.US,” and unlike many of its

   competitors, including Coinbase Global, the largest U.S.-based exchange, FTX did not segregate

   customer funds or designate them for the customer’s benefit, instead commingling those funds in

   several “omnibus” accounts held by FTX.

          132.    Under the cloak of this wide-ranging con game, FTX insiders including SBF

   facilitated the routing of billions of dollars in purported profits of FTX, which were in reality Class

   Member funds, to the insiders, and their families, friends, and other acquaintances through

   purported personal “loans,” bonuses, “investments,” and all other means of transfer, including real

   estate purchases and hundreds of millions of dollars in charitable and political contributions. Class

   Member funds were also used to fuel uncapped spending on illicit drugs, naming rights to sports

   arenas, concert sponsorships, luxury cars, and private jets.

          133.    Frequently, SBF routed his fraudulent scheme through Alameda LLC (“Alameda”),

   a cryptocurrency hedge fund that he independently owned. SBF and Mr. Wang formed Alameda

   two years before launching FTX and split ownership of Alameda 90% and 10%, respectively. SBF

   led Alameda as CEO until October 2021, from which time he continued to control the company

   and maintained ultimate authority over its trading, borrowing/lending, and investment activity.

          134.    Until his scheme collapsed, SBF, along with a number of his lieutenants, publicly

   maintained that Alameda and FTX were “wholly separate entitit[ies] . . . at arm’s length,” and,

   despite their overlapping ownership by SBF, the companies were kept “separate in terms of day-




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   to-day operations” by way of “a Chinese wall . . . to ensure that [Alameda wouldn’t get] any sort

   of special treatment from FTX.”

          135.    Contrary to these representations, SBF operated FTX and Alameda as a common

   enterprise. The two companies shared offices for some time, as well as key personnel and other

   resources critical to the companies’ operations.

          136.    SBF routinely funneled Class Member funds through Alameda and/or other entities

   that SBF separately owned, sometimes as bogus “related party transactions.” For example,

   financial statements for FTX Trading, now available to the public for the first time, disclose “a

   related party receivable” valued at $1.2 billion (equivalent to 44% of the company’s assets); a $362

   million “related party payable”; $250 million in payments (equivalent to 25% of the company’s

   revenues) to a related party for “software royalties;” and a series of related party transactions

   described only as “currency management” activities. The same financial statements identify that

   these transactions were for the benefit of SBF, noting that the “primary shareholder [i.e., SBF] is

   also the primary shareholder of several related entities which do business with the company.”

          137.    Other times, SBF misappropriated Class Member funds as “loans, including for

   example, a $1 billion ‘loan’ to himself; a $543 million ‘loan’ to Mr. Singh; and a $55 million ‘loan’

   to Ryan Salame, another FTX executive.” SBF and other insiders received billions in dollars in

   purported “loans” from Alameda. None of these “loans” have ever been repaid, nor was there any

   reason to believe at the time the “loans” were made that they would or could be repaid. The FTX

   insiders effectively looted the company. Even during the crypto boom, the FTX insiders could not

   reasonably have repaid these loans, and no reasonable lender would have loaned such large

   amounts. In fact, none of these loans were ever repaid, nor upon information and belief was any

   interest ever paid on the loans.




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          138.    More often, SBF looted Class Member funds directly, without the cover of sham

   related party transactions or insider loans. For many years, SBF directed that FTX customer funds

   be wired to bank accounts held by North Dimension, a wholly owned subsidiary of Alameda.

   North Dimension was a fake electronics retailer created by SBF to disguise its ties to FTX. North

   Dimension shared an address with FTX US in Berkeley, California, and published a website

   through which customers often “had trouble actually purchasing products” and was “rife with

   misspellings and bizarre product prices,” including “sale prices that were hundreds of dollars

   above a regular price.” For example, North Dimension advertised a $410.00 “Ipad 11 ‘ich Cell

   Phone” for the sale price of $899.00:




   Once wired to North Dimension’s accounts, Class Member funds were commingled with

   Alameda’s and misappropriated by SBF. SBF has admitted to looting Class Member funds in

   this way, explaining to reporters after the fraud was revealed that “people wired $8b to Alameda

   and . . . it was never delivered to FTX.”

          139.    SBF found diverse ends for which to misappropriate Class Members funds,

   including to pay for Alameda’s leveraged trades and investments, which had grown riskier over

   time. Initially, Alameda primarily traded in high-risk arbitrage, purchasing cryptocurrencies on

   one exchange and quickly selling them on other exchanges for higher prices. Later, Alameda



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   pivoted to “yield farming,” investing in cryptocurrencies that paid interest-like returns. Alameda’s

   entrée into yield farming was not without internal controversy—in early 2021, Caroline Ellison,

   Alameda’s CEO, expressed concerns about the riskiness of Alameda’s yield farming investment

   strategy to no avail. Ms. Ellison was correct to observe that Alameda’s bets had grown dodgier.

   At the time, Sam Trabucco, another Alameda executive, tweeted that Alameda’s investing

   strategies increasingly relied on “intuition” and other unconventional measures, including “Elon

   Musk’s social media posts.” As noted above, Ms. Ellison has since pleaded guilty to

   misappropriating FTX customer assets to fund Alameda’s risky bets and to cover Alameda’s

   colossal losses.

          140.    SBF used Class Member funds to underwrite Alameda’s risky operations in other

   ways. Though SBF publicly claimed that Alameda was a “regular user” of FTX, contrary to that

   representation, FTX exempted Alameda from the automated “risk engine” described above,

   allowing Alameda to avoid liquidation under the monitoring system. Compounding FTX’s—and,

   though they did not know it, Class Members’—exposure to Alameda, SBF allowed Alameda to

   maintain a negative balance in its FTX accounts and steadily increased Alameda’s negative

   balance cap over time. Through these cheats, Alameda was not only able to evade collateralizing

   its position on the exchange; Alameda also was able to maintain a negative balance on the

   exchange and utilize the exchange to trade and withdraw assets without limit, giving it an estimated

   “line of credit” of $65 billion, collateralized by the customer deposits on the exchange. Alameda

   lacked any ability to repay this line of credit, having spent the money on insider transfers and

   purported “loans,” gifts, and questionable investments.

          141.    With these exemptions—exemptions offered to no other customers on the

   exchange—FTX extended Alameda a de facto limitless line of credit, which Alameda used to




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   invest $8 billion in risky startups and esoteric cryptocurrencies—highly illiquid investments

   purchased on credit from FTX, funded with Class Member assets. SBF also misappropriated Class

   Member funds to inflate the balance sheets of Alameda, which were largely backed by FTT, a

   cryptocurrency that FTX contrived from thin air and issued to Alameda at no cost. FTX represented

   that, as “the backbone of the FTX ecosystem,” FTT was widely distributed, but contrary to that

   representation, most FTT tokens issued were held by FTX and/or Alameda. As of June 30, 2022,

   Alameda’s largest assets were tied to FTT, including “unlocked FTT” totaling $3.66 billion, and

   “FTT collateral” totaling $2.16 billion. Using Class Member funds and to the benefit of Alameda,

   SBF manipulated the value of FTT by implementing a “rolling program of buying back and

   burning [FTT] tokens,” a process which consumed a third of FTX’s revenue. By artificially

   increasing the value of FTT in this way, SBF increased the value of collateral available to Alameda,

   with which SBF was able to borrow billions of dollars from third party lenders in furtherance of

   his fraudulent scheme.

          142.    Upon information and belief, SBF also employed Alameda to funnel Class Member

   funds from FTX US to his other companies. Just days before FTX filed for bankruptcy protection,

   Alameda withdrew over $200 million from FTX US; Alameda then transferred $142.4 million of

   those funds to FTX Trading’s international accounts, exhibiting, according to industry experts,

   that Alameda had been serving as a “bridge between FTX US and FTX [Trading]” for some time.

          143.    The improper relationship between Alameda and FTX was well known to the

   companies’ insiders, and completely concealed from Class Members. As Ellison, former co-CEO

   of Alameda, told a federal judge in Manhattan when entering her guilty plea:

          From approximately March 2018 through November 2022, I worked at Alameda
          Research, a cryptocurrency trading firm principally owned by Sam Bankman-Fried.




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         From 2019 through 2022, I was aware that Alameda was provided access to a
         borrowing facility on FTX.com, the cryptocurrency exchange run by Mr.
         Bankman-Fried. I understood that FTX executives had implemented special
         settings on Alameda’s FTX.com account that permitted Alameda to maintain
         negative balances in various fiat currencies and crypto currencies. In practical
         terms, this arrangement permitted Alameda access to an unlimited line of credit
         without being required to post collateral, without having to pay interest on negative
         balances and without being subject to margin calls or FTX.com’s liquidation
         protocols. I understood that if Alameda’s FTX accounts had significant negative
         balances in any particular currency, it meant that Alameda was borrowing funds
         that FTX’s customers had deposited onto the exchange.

         While I was co-CEO and then CEO, I understood that Alameda had made numerous
         large illiquid venture investments and had lent money to Mr. Bankman-Fried and
         other FTX executives. I also understood that Alameda had financed these
         investments with short-term and open-term loans worth several billion dollars from
         external lenders in the cryptocurrency industry. When many of those loans were
         recalled by Alameda’s lenders in and around June 2022, I agreed with others to
         borrow several billion dollars from FTX to repay those loans. I understood that
         FTX would need to use customer funds to finance its loans to Alameda. I also
         understood that many FTX customers invested in crypto derivatives and that most
         FTX customers did not expect that FTX would lend out their digital asset holdings
         and fiat currency deposits to Alameda in this fashion. From in and around July 2022
         through at least October 2022, I agreed with Mr. Bankman-Fried and others to
         provide materially misleading financial statements to Alameda’s lenders. In
         furtherance of this agreement, for example, we prepared certain quarterly balance
         sheets that concealed the extent of Alameda's borrowing and the billions of dollars
         in loans that Alameda had made to FTX executives and to related parties. I also
         understood that FTX had not disclosed to FTX’s equity investors that Alameda
         could borrow a potentially unlimited amount from FTX, thereby putting customer
         assets at risk. I agreed with Mr. Bankman-Fried and others not to publicly disclose
         the true nature of the relationship between Alameda and FTX, including Alameda’s
         credit arrangement.

         I also understood that Mr. Bankman-Fried and others funded certain investments in
         amounts more than $10,000 with customer funds that FTX had lent to Alameda.
         The investments were done in the name of Alameda instead of FTX in order to
         conceal the source and nature of those funds. I am truly sorry for what I did. I knew
         that it was wrong. And I want to apologize for my actions to the affected customers
         of FTX, lenders to Alameda and investors in FTX. Since FTX and Alameda
         collapsed in November 2022, I have worked hard to assist with the recovery of
         assets for the benefit of customers and to cooperate with the government’s




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           investigation. I am here today to accept responsibility for my actions by pleading
           guilty. 32

           144.     The Wall Street Journal recently reported that Ellison told Alameda staffers in a

   video call that she was one of four people (along with Sam Bankman-Fried, Gary Wang, and

   Nishad Singh) who were aware of the decision to send FTX customer funds to Alameda, to help

   the fund meet its liabilities. 33

           145.     Similarly, Nishad Singh, head of FTX’s engineering and one of SBF’s best friends,

   has admitted that he knew by mid-2022 that Alameda was borrowing FTX customer funds and

   that customers were not aware. 34

           146.     FTX co-founder Gary Wang likewise explained his knowledge of the companies’

   interconnectedness in his guilty plea:

           Between 2019 and 2022, as part of my employment at FTX, I was directed to and
           agreed to make certain changes to the platform’s code. I executed those changes,
           which I knew would Alameda Research special privileges on the FTX platform. I
           did so knowing that others were representing to investors and customers that
           Alameda had no such special privileges and people were likely investing in and
           using FTX based in part on those misrepresentations. I knew what I was doing was
           wrong. I also knew that the misrepresentations were being made by telephone and
           internet, among other means, and that assets traded on FTX included some assets
           that the U.S. regulators regard as securities and commodities.




   32
     Transcript of Guilty Plea at 26–29, United States v. Ellison, No. 22-cr-673 (S.D.N.Y. Dec. 19,
   2022), https://www.johnreedstark.com/wp-content/uploads/sites/180/2022/12/Ellison-Hearing-
   Transcript.pdf.
   33
     Dave Michaels, Elaine Yu & Caitlin Ostroff, Alameda, FTX Executives Are Said to Have Known
   FTX Was Using Customer Funds, Wall St. J., https://www.wsj.com/articles/alameda-ftx-
   executives-are-said-to-have-known-ftx-was-using-customer-funds-11668264238 (Nov. 12, 2:42
   PM ET).
   34
     Jody Godoy & Luc Cohen, FTX’s Singh Pleads Guilty As Pressure Mounts on Bankman-Fried,
   Reuters (Feb. 28, 2023, 4:42 PM EST), https://www.reuters.com/legal/ftxs-singh-agrees-plead-
   guilty-us-criminal-charges-lawyer-says-2023-02-28/.


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          147.    FTX had a handful of insiders and employees with virtually limitless power to

   direct transfers of fiat currency and crypto assets and to hire and fire employees, with no effective

   oversight, internal controls, or checks on the exercise of these powers. FTX failed to establish or

   maintain any semblance of fundamental financial and accounting controls. This is particularly

   shocking given that at its peak, FTX operated in hundreds of jurisdictions, controlled billions of

   dollars of assets, engaged in as many as 26 million transactions per day, and had millions of users.

   Board oversight was effectively non-existent. With few exceptions, FTX lacked independent or

   experienced finance, accounting, human resources, information security, and cybersecurity

   personnel or leadership. Nor was there any effective internal audit function. Some FTX entities

   did not produce any financial statements. Some were deemed impossible to audit.

          148.    FTX insiders paid out millions of dollars in hush money to keep whistleblowers

   from exposing the fraud, money laundering, and price manipulation. FTX even hired the attorneys

   of these whistleblowers to help keep these complaints from the public.

          149.    At no time did FTX disclose the foregoing to Class Members, including that:

          I.     SBF was siphoning Class Member funds to his friends and family members or for
          his own personal use;

          II.   FTX was not segregating Class Member funds, instead commingling those funds
          in FTX’s omnibus accounts and treating those funds as FTX’s own;

          III.   FTX directed that Class Member funds be wired directly into accounts held by
          North Dimension, a subsidiary of Alameda;

          IV.   FTX and Alameda were not, in fact, “wholly separate entities at arm’s length,”
          and were instead operated as a common enterprise;

          V.      SBF was looting Class Member funds under the guise of non-arm’s length
          “related party transactions” and “loans” often by way of Alameda;

          VI.    SBF routinely transferred Class Member funds out of accounts held by FTX to
          those held by Alameda;




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          VII. SBF was using Class Member funds to underwrite his speculative personal
          investments at Alameda, and his charitable and political contributions;

          VIII. Alameda was exempt from the “risk engine” and other FTX protocols in place to
          prevent a user from becoming undercollateralized or overleveraged on the exchange;

          IX.    With the foregoing exemption, Alameda engaged in margin trading on the FTX
          platform, exposing Class Members to the risk of Alameda’s loss;

          X.     FTX used Class Member funds to manipulate the price of FTT, which was not
          “widely distributed,” but instead concentrated in the hands of FTX and Alameda; and

          XI.    FTX did not have in place fundamental internal controls, including an
          independent board of director or a CFO.

          150.    Had Class Members known of these material omissions, they would not have

   deposited funds into accounts on the FTX exchange and SBF’s fraud would not have succeeded.

   In late 2022, the fraud finally collapsed, and the misconduct was revealed.

   E.     The Fraud’s Collapse

          151.    The FTX.com exchange was extremely successful since its launch in May 2019. In

   2022, around $15 billion of assets were traded daily on the platform, which represented

   approximately 10% of global volume for crypto trading. The FTX Group’s team grew to over 300

   employees globally. Although the FTX Group’s primary international headquarters is in the

   Bahamas, its domestic US base of operations is located in Miami, Florida. 35

          152.    FTX quickly became one of the most utilized avenues for nascent investors to

   purchase cryptocurrency. By the time FTX filed for bankruptcy protection, customers had

   entrusted billions of dollars to it, with estimates ranging from $10-to-$50 billion dollars.




   35
     Cheyenne Ligon, Crypto Exchange FTX Is Moving Its US Headquarters from Chicago to Miami,
   CoinDesk (Sept. 27, 2022, 2:52 PM EDT),
   https://www.coindesk.com/business/2022/09/27/crypto-exchange-ftx-is-moving-its-us-
   headquarters-from-chicago-to-miami/.


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          153.    Bankman-Fried got rich off FTX and Alameda, with the two companies netting

   $350 million and $1 billion in profit, respectively, in 2020 alone, according to Bloomberg.

          154.    At his peak, Bankman-Fried was worth $26 billion. At 30, he had become a major

   political donor, gotten celebrities like the defendants in the FTX MDL to vociferously promote

   FTX, and secured the naming rights to the arena where the NBA’s Miami Heat play. 36

          155.    Beginning in mid-2022, the value of cryptocurrencies rapidly declined, and SBF

   began to bail out troubled crypto firms that, if they were to fail, would bring down FTX with them

   and reveal SBF’s fraud. For example, in the summer of 2022, FTX extended a $400 million

   revolving credit facility to BlockFi, a crypto lender. At the time, BlockFi held as collateral for

   loans hundreds of millions of dollars in FTT, the cryptocurrency that FTX had engineered to prop

   up Alameda. If BlockFi failed, the liquidation of those tokens would crash FTT, and in turn,

   Alameda, whose assets were primarily backed by the token. FTX’s $400 million loan kept BlockFi

   temporarily afloat, and FTX engaged in a number of similar transactions, propping up failing

   crypto companies in order to keep the fraud alive, as 2022 progressed.

          156.    Despite SBF’s attempts to keep troubled crypto firms afloat, the value of digital

   currencies continued to decline throughout 2022, and FTX’s liquidity crunch tightened. By the end

   of summer 2022, SBF needed another $1 billion to keep his fraudulent scheme running. He looked

   to Silicon Valley and to sovereign wealth funds in the Middle East, but he was unable to

   successfully close any further investments in FTX, despite many solicitations. Without this influx




   36
      Avery Hartmans, The Collapse of Crypto Firm FTX and Its Superstar Founder Explained for
   Those Who Know Nothing About Crypto, Bus. Insider (Nov. 12, 2022, 6:45 AM EST),
   https://www.businessinsider.com/ftx-sbf-crypto-saga-explained-what-happened-what-it-means-
   2022-11?inline-endstory-related-recommendations=.


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   of capital, FTX’s exposure to margin calls heightened and, in November 2022, SBF’s house of

   cards finally collapsed.

              157.   In early November 2022, crypto publication CoinDesk released a bombshell report

   that called into question just how stable Bankman-Fried’s empire really was. 37 On November 2,

   2022, news broke that Alameda’s balance sheet was propped up by the FTX-manipulated FTT,

   revealing the close ties between FTX and Alameda to the public for the first time. FTX had lent

   billions, including most of its cryptocurrency reserves, to Alameda, first as capital for trading, and

   eventually to cover Alameda’s massive losses.

              158.   Prior to the collapse of the FTX Group, Bankman-Fried’s cryptocurrency empire

   was publicly ostensibly broken into two main parts: FTX (his exchange) and Alameda (his trading

   firm), both giants in their respective industries. But even though they are two separate businesses,

   the division breaks down in a key place: on Alameda’s balance sheet, which was full of FTX –

   specifically, the FTT token issued by the exchange that grants holders a discount on trading fees

   on its marketplace. It shows Bankman-Fried’s trading giant Alameda rests on a foundation largely

   made up of a coin that a sister company invented, not an independent asset like a fiat currency or

   another crypto. The situation adds to evidence that the ties between FTX and Alameda are

   unusually close. 38

              159.   Days later, on November 6, 2022, Changpeng Zhao, CEO of Binance, the world’s

   largest cryptocurrency exchange and FTX’s most powerful competitor, tweeted that he intended




   37
        Id.
   38
      Ian Allison, Divisions in Sam Bankman-Fried’s Crypto Empire Blur on His Trading Titan
   Alameda’s     Balance     Sheet,    CoinDesk    (Aug.     16, 2023,  5:56     PM     EDT),
   https://www.coindesk.com/business/2022/11/02/divisions-in-sam-bankman-frieds-crypto-
   empire-blur-on-his-trading-titan-alamedas-balance-sheet/.


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   to sell Binance’s $580 million holding of FTT, which threatened to crash the price of FTX’s token

   and, in turn, Alameda’s balance sheet. Mr. Zhao’s announcement triggered demand for $5 billion

   in customer withdrawals, which FTX promptly halted due to a lack of funds. The value of FTT

   plunged 32%, but rallied once again with Bankman-Fried’s surprise announcement on Tuesday,

   November 8, that Binance would buy FTX, effectively bailing it out. 39

          160.   But, after a 24-hour diligence period, Binance backed out of the deal, denying a

   critical capital injection to SBF. Mr. Zhao explained his reasons for the about-face: “Sam, I’m

   sorry. We won’t be able to continue this deal. Way too many issues. CZ.” Binance cited findings

   during due diligence, as well as reports of mishandled customer funds and the possibility of a

   federal investigation. 40 In truth, there were always too many issues—issues with the

   interconnectedness between Alameda and FTX, issues with FTX’s total lack of internal controls,

   issues with SBF’s looting of Class Member funds, the news of which sent FTT plunging even

   further — Bankman-Fried saw 94% of his net worth wiped out in a single day. 41 This triggered

   panic selling of FTT and a run on FTX, thereby ensuring the firm’s swift demise.




   39
      Zahra Tayeb, FTX Was Reportedly Hit with $6 Billion in Withdrawals in Just 72 Hours, Bus.
   Insider:     Markets        Insider    (Nov.       9,      2022,       5:05     AM       EST),
   https://markets.businessinsider.com/news/currencies/ftx-6-billion-withdrawals-72-hours-sam-
   bankman-fried-binance-2022-11.
   40
      Brian Evans, FTX Faces Federal Probes on Handling of Client Funds as Asset Shortfall Could
   Top $6 Billion, Report Says, Bus. Insider: Markets Insider (Nov. 9, 2022, 1:56 PM EST),
   https://markets.businessinsider.com/news/currencies/ftx-crash-sec-cftc-probes-asset-liability-
   shortfall-6-billion-2022-11.
   41
      Samantha Delouya, Thirty-Year Old Crypto Tycoon Sam Bankman-Fried Was Worth $16
   Billion. 94% of That Was Wiped Out in Just One Day, Bus. Insider: Markets Insider (Nov. 8, 2022,
   8:04 PM EST), https://www.businessinsider.com/ftx-ceo-crypto-binance-sam-bankman-fried-
   wealth-wiped-out-2022-11.


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         161.   Bankman-Fried issued a 22-tweet-long explanation of where he believed he and the

   FTX Group went wrong: 42




   42
        Sam Bankman-Fried (@SBF_FTX), Twitter (Nov. 10, 2022, 9:13                        AM),
   https://twitter.com/SBF_FTX/status/1590709189370081280 (last of linked tweets).


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   F.        FTX Files for Bankruptcy

             162.   On November 11th, unable to obtain a bailout, and facing an insurmountable

   liquidity crisis, the FTX Group filed for Chapter 11 bankruptcy and Bankman-Fried resigned as

   CEO. 43

             163.   At or around the same time as Bankman-Fried’s mea culpa tweets and discussions

   with reporters, an FTX balance sheet was leaked which shows that FTX held approximately $900

   million in liquid assets against $8.9 billion of liabilities, with a negative $8 billion entry described

   as a “hidden, poorly internally labeled fiat@ account.” 44

             164.   Later, The Wall Street Journal reported that in a video meeting with Alameda

   employees on November 9, 2022 (the day prior to Bankman-Fried’s November 10, 2022 litany of

   tweets), Alameda CEO Caroline Ellison said that she, Bankman-Fried, and two other FTX

   executives, Singh and Wang, were aware of the decision to send customer funds directly to

   Alameda. Ellison even admitted that “FTX used customer money to help Alameda meet its



   43
      Phil Rosen, FTX Files for Bankruptcy and Sam Bankman-Fried Steps Down as CEO After
   Crypto Exchange Fails to Secure Bailout, Bus. Insider (Nov. 11, 2022),
   https://markets.businessinsider.com/news/currencies/ftx-bankruptcy-sam-bankman-fried-ceo-
   crypto-binance-alameda-markets-2022-11.
   44
     Matt Levine, Opinion, FTX’s Balance Sheet Was Bad, Bloomberg (Nov. 14, 2022, 1:09 PM
   EST),        https://www.bloomberg.com/opinion/articles/2022-11-14/ftx-s-balance-sheet-was-
   bad#xj4y7vzkg.


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   liabilities.” 45 Ellison elaborated on these statements on the record when pleading guilty to eight

   counts of conspiracy to commit wire fraud, securities fraud, and money laundering, among other

   conspiracies. 46

              165.    The same source explained that FTX’s biggest customer was Alameda, which,

   instead of holding money, was borrowing billions from FTX users using FTX’s in-house

   cryptocurrency, FTT token, as collateral, then trading it. When the price of the FTT nosedived

   75% in a day, making the collateral insufficient to cover the trade, both FTX and Alameda suffered

   massive liquidity crises. Id.

              166.    On December 13, 2022, the SEC filed a civil action against Bankman-Fried for

   securities fraud in the United States District Court for the Southern District of New York. SEC v.

   SBF, 1:22-cv-10501, Doc. 1 (S.D.N.Y.) In that complaint, the SEC alleged:


               When prices of crypto assets plummeted in May 2022,
               Alameda’s lenders demanded repayment on billions of dollars of loans. Despite
               the fact that Alameda had, by this point, already taken billions of Bankman-Fried
               of FTX customer assets, it was unable to satisfy its loan obligations. Bankman-
               Fried directed FTX to divert billions more in customer assets to Alameda to
               ensure that Alameda maintained its lending relationships, and that money could
               continue to flow in from lenders and other investors. Id. ¶ 4
               Through     the   summer     of   2022,    he   directed   hundreds   of
               millions more in FTX customer funds to Alameda, which he then used for
               additional venture investments and for “loans” to himself and other FTX
               executives.
              167.    The SEC alleged that “Bankman-Fried diverted FTX customer funds to Alameda

   in essentially two ways: (1) by directing FTX customers to deposit fiat currency (e.g., U.S. Dollars)



   45
     Dave Michaels, Elaine Yu & Caitlin Ostroff, Alameda, FTX Executives Are Said to Have Known
   FTX Was Using Customer Funds, Wall St. J., https://www.wsj.com/articles/alameda-ftx-
   executives-are-said-to-have-known-ftx-was-using-customer-funds-11668264238 (Nov. 12, 2022,
   2:42 PM ET).
   46
        Id.


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   into bank accounts controlled by Alameda; and (2) by enabling Alameda to draw from a virtually

   limitless “line of credit” at FTX, which was funded by FTX customer accounts.” Id. ¶ 32.

          168.    The bankruptcy court appointed John J. Ray III, a 40-year industry veteran who

   oversaw the liquidation of Enron, to replace SBF as FTX’s CEO. Mr. Ray quickly uncovered

   fundamental deficiencies in basic accounting, corporate governance, and other controls by FTX.

   These deficiencies were so startling that Mr. Ray remarked he had never “seen such a complete

   failure of corporate controls and such a complete absence of trustworthy financial information as

   occurred here.” Moreover, Mr. Ray uncovered that:

          First, customer assets from FTX.com were commingled with assets from the Alameda
          trading platform.

          Second, Alameda used client funds to engage in margin trading which exposed customer
          funds to massive losses.

          Third, the FTX Group went on a spending binge in late 2021 through 2022, during which
          approximately $5 billion was spent buying a myriad of businesses and investments, many
          of which may be worth only a fraction of what was paid for them.

          Fourth, loans and other payments were made to insiders in excess of $1 billion.

          Fifth, Alameda’s business model as a market maker required deploying funds to various
          third-party exchanges which were inherently unsafe, and further exacerbated by the limited
          protection offered in certain foreign jurisdictions.

          169.    On April 9, 2023, Mr. Ray filed in the FTX Bankruptcy his First Interim Report to

   the Independent Directors on Control Failures at the FTX Exchanges. See In re: FTX Trading Ltd.,

   No. 1:22-bk-11068-JTD, ECF No. 1242-1 (Bankr. Dist. Del. Apr. 9, 2023), attached as Exhibit C

   (the “First Interim Rpt.”).

          170.    Defining the “FTX Group” as a de facto singular entity comprised of FTX Trading,

   FTX.US, and Alameda, collectively, Mr. Ray begins by explaining that:

          the Debtors have had to overcome unusual obstacles due to the FTX Group’s lack
          of appropriate record keeping and controls in critical areas, including, among


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          others, management and governance, finance and accounting, as well as digital
          asset management, information security and cybersecurity. Normally, in a
          bankruptcy involving a business of the size and complexity of the FTX Group,
          particularly a business that handles customer and investor funds, there are readily
          identifiable records, data sources, and processes that can be used to identify and
          safeguard assets of the estate. Not so with the FTX Group.

          Upon assuming control, the Debtors found a pervasive lack of records and other
          evidence at the FTX Group of where or how fiat currency and digital assets could
          be found or accessed, and extensive commingling of assets. This required the
          Debtors to start from scratch, in many cases, simply to identify the assets and
          liabilities of the estate, much less to protect and recover the assets to maximize the
          estate’s value. This challenge was magnified by the fact that the Debtors took over
          amidst a massive cyberattack, itself a product of the FTX Group’s lack of controls,
          that drained approximately $432 million worth of assets on [November 11, 2022,]
          the date of the bankruptcy petition (the “November 2022 Breach”), and threatened
          far larger losses absent measures the Debtors immediately implemented to secure
          the computing environment.

          Despite the public image it sought to create of a responsible business, the FTX
          Group was tightly controlled by a small group of individuals who showed little
          interest in instituting an appropriate oversight or control framework. These
          individuals stifled dissent, commingled and misused corporate and customer funds,
          lied to third parties about their business, joked internally about their tendency to
          lose track of millions of dollars in assets, and thereby caused the FTX Group to
          collapse as swiftly as it had grown. In this regard, while the FTX Group’s failure is
          novel in the unprecedented scale of harm it caused in a nascent industry, many of
          its root causes are familiar: hubris, incompetence, and greed.

   First Interim Rpt., 2-3.

          171.    After summarizing the history of the three main FTX Group entities, the current

   efforts to retain advisors to assist in investigating the FTX Group’s available financial records and

   interview witnesses, Mr. Ray provides a comprehensive review of the FTX Group’s control

   failures that led to its eventual collapse, including (1) lack of management and governance

   controls; (2) lack of financial and accounting controls; and (3) lack of digital asset management,

   information security and cybersecurity controls. Id. at 11–37.

          172.    According to Mr. Ray, “[t]he FTX Group lacked appropriate management,

   governance, and organizational structure," and the “management and governance of the FTX



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   Group was largely limited to Bankman-Fried, Singh, and Wang. Among them, Bankman-Fried

   was viewed as having the final voice in all significant decisions.” Id., 11. The trio “controlled

   nearly every significant aspect of the FTX Group,” despite being “not long out of college and with

   no experience in risk management or running a business,” and “[b]oard oversight, moreover, was

   effectively non-existent.” Id.

          173.    The FTX Group also “lacked an appropriate organizational structure. Rather than

   having an ultimate parent company able to serve as a central point for decision-making that could

   also direct and control its subsidiaries, the FTX Group was organized as a web of parallel corporate

   chains with various owners and interest, all under the ultimate control of Bankman-Fried.” Id. at

   8. The FTX Group dd not even have a comprehensive organizational chart until the end of 2021,

   lacked any tracking of intercompany relationships and ownership of particular entities, and “did

   not even have current and complete lists of who its employees were.” Id. at 8–9.

          174.    The FTX Group also suffered from a near complete failure to observe corporate

   formalities, especially when it came to managing the finances of the FTX Group, for instance:

              a) Failure to maintain “personnel who were experienced and knowledgeable enough

                  to account accurately for assets and liabilities, understand and hedge against risk,

                  or compile and validate financial reports,” Id. at 11;

              b) Failure to maintain adequate “policies and procedures relating to accounting,

                  financial reporting, treasury management, and risk management,” Id.;

              c) Failure to maintain an accurate and appropriate accounting system, in that 56 FTX

                  Group entities did not produce financial statements of any kind, 35 used

                  QuickBooks in conjunction with Google documents, Slack communications, shared

                  drives, and Excel spreadsheets, Id. at 12–13;




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           d) Recordkeeping was so poor that Bankman-Fried described Alameda as “hilariously

              beyond any threshold of any auditor being able to even get partially through an

              audit,” adding:

              Alameda is unauditable. I don’t mean this in the sense of “a major
              accounting firm will have reservations about auditing it”; I mean this in the
              sense of “we are only able to ballpark what its balances are, let alone
              something like a comprehensive transaction history.” We sometimes find
              $50m of assets lying around that we lost track of; such is life.

              Id. at 14;
           e) “Key accounting reports necessary to understand the FTX Group’s assets and

              liabilities, such as statements of cash flows, statements of equity, intercompany and

              related party transaction matrices, and schedules of customer entitlements, did not

              exist or were not prepared regularly,” Id. at 14–15;

           f) “Copies of key documentation – including executed loan agreements, intercompany

              agreements, acquisition and investment documents, bank and brokerage account

              statements, and contract and account information of all types – were incomplete,

              inaccurate, contradictory, or missing entirely.” Id. at 15;

           g) the FTX Group "did not maintain reliable lists of bank or trading accounts,

              cryptocurrency wallets, or authorized signatories,” and let “[t]housands of deposit

              checks . . . collect[] like junk mail,” Id. at 15;

           h) “Although the FTX Group consisted of many, separate entities, transfers of funds

              among those entities were not properly documented, rendering tracing of funds

              extremely challenging,” including using Slack, Signal, and Telegram with

              “disappearing messages” enabled, and often approving expenses and invoices on

              Slack by “emoji,” Id.;




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           i) “The FTX Group did not observe any discernable corporate formalities when it

              came to intercompany transactions. Assets and liabilities were routinely shuffled

              among the FTX Group entities and insiders without proper process or

              documentation. Alameda routinely provided funding for corporate expenditures

              (e.g., paying salaries and other business expenses) whether for Alameda, for various

              other Debtors, or for FTX DM, and for venture investments or acquisitions whether

              for Alameda or for various other Debtors. Alameda also transferred funds to

              insiders to fund personal investments, political contributions, and other

              expenditures—some of which were nominally ‘papered’ as personal loans with

              below-market interest rates and a balloon payment due years in the future.” Id. at

              17;

           j) Often times, intercompany and insider transfers were recorded in a manner “that

              was inconsistent with the apparent purpose of the transfers,” for instance, tens of

              millions of dollars being transferred from Alameda to Bankman-Fried, personally,

              but recorded in the general ledger as “Investment in Subsidiaries: Investments-

              Cryptocurrency,” often times recorded in a way that intercompany transactions did

              not balance across relevant entities, nor were they recorded with specificity

              regarding which digital assets were involved in the transfer and their value when

              transferred, Id.;

           k) On both FTX International and US exchanges, Alameda was a customer that traded

              “for its own account as well as engaging in market-making activities, and, in that

              capacity, it was granted extraordinary privileges by the FTX Group,” such as

              granting Alameda “an effectively limitless ability to trade and withdraw assets from




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                  the exchange regardless of the size of Alameda’s account balance, and to exempt

                  Alameda from the auto-liquidation process that applied to other customers,”

                  effectively allowing it to borrow and/or withdraw up to $65 billion from the FTX

                  Platform, Id. at 18–22; and finally

              l) There were “extensive deficiencies in the FTX Group’s controls with respect to

                  digital asset management, information security, and cybersecurity,” which was

                  “particularly surprising given that the FTX Group’s business and reputation

                  depended on safeguarding crypto assets,” and “[a]s a result of these control

                  failures,” which included (i) maintaining the majority of customer assets in “hot”

                  wallets that are easily hacked, (ii) failing to safeguard private keys but storing them

                  in an Amazon Web Services account, (iii) failing to employ multi-signature

                  capabilities or Multi-Party Computation, (iv) failing to restrict FTX Group

                  employee user access to sensitive infrastructure, such as omnibus wallets holding

                  billions of dollars in assets, and (v) failing to enforce multi-factor authentication

                  for employees and other commonsense safeguards to protect customer assets and

                  sensitive data—all of which leads to the irrefutable conclusion that “the FTX Group

                  exposed crypto assets under its control to a grave risk of loss, misuse, and

                  compromise, and lacked a reasonable ability to prevent, detect, respond to, or

                  recover from a significant cybersecurity incident, including the November 2022

                  Breach.” Id. at 22–37.

          175.    Mr. Ray concludes that “[t]he FTX Group’s profound control failures placed its

   crypto assets and funds at risk from the outset.” Id. at 39.




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   G.      Crypto Sector a Hotbed for Illicit Activity and Fraudulent Conduct

           176.   From its inception, cryptocurrency has been fueled by illicit activity and the crypto

   sector continues to be rife with frauds and scams. For a detailed breakdown on the illicit use of

   cryptocurrency, see the U.S. Department of Justice’s report from September 2022 titled: “The Role

   of Law Enforcement In Detecting, Investigation, And Prosecuting Criminal Activity Related to

   Digital Assets.” The report was issued pursuant to the March 9, 2022 Executive Order on Ensuring

   Responsible Development of Digital Assets and is the latest report on cryptocurrency released by

   DoJ 47 dating back to 2018, all of which detail the dire harms caused by cryptocurrency. DoJ notes

   that “[t]he rise of the Bitcoin network paralleled the development of Silk Road, AlphaBay, and

   other illegal online marketplaces…” and the department classified digital asset crime into three

   categories: “(1) cryptocurrency as a means of payment for, or manner of facilitating, criminal

   activity; (2) the use of digital assets as a means of concealing illicit financial activity; and (3)

   crimes involving or affecting the digital assets ecosystem.” The September report details several

   high-profile cases involving the illicit use of cryptocurrency. One case is the darknet marketplace

   Silk Road, which accepted payment only in Bitcoin, and was shut down by the FBI in 2013 after

   having facilitated sales revenue totaling over 9.5 million Bitcoin, equivalent to roughly $1.2 billion

   at the time.

           177.   Cryptocurrency is increasingly being used by organized crime syndicates and

   nation states for illicit purposes. In January 2022, the Government Accountability Office (GAO)

   issued a report finding that “[v]irtual currency is increasingly used illicitly to facilitate human and




   47
      Press Release, Justice Department Announces Report on Digital Assets and Launches
   Nationwide Network, Dep’t of Just. (Sept. 16, 2022), https://www.justice.gov/opa/pr/justice-
   department-announces-report-digital-assets-and-launches-nationwide-network.


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   drug trafficking.” 48 Cryptocurrency is also being used by Iran, Russia, and North Korea to bypass

   U.S. economic and financial sanctions. 49 According to the United Nations, “money raised by North

   Korea’s criminal cyber operations are helping to fund the country’s illicit ballistic missile and

   nuclear programs.” 50 North Korea’s brazenness was revealed to the public earlier this year when

   a well-known “Web 3” video game, Axie Infinity, was hacked and $620 million in the

   cryptocurrency ether was stolen. “Chainalysis estimates that North Korea stole approximately $1

   billion in the first nine months of 2022 from decentralized crypto exchanges alone,” one of the

   reasons why Anne Neuberger, US deputy national security adviser for cyber security, said in July

   2022 that North Korea “uses cyber to gain …. up to a third of their funds for their missile

   program.” 51

              178.   Cryptocurrency has also fueled a surge in ransomware that has victimized

   American businesses, health care systems, and state and local governments. In May of 2022, the

   majority staff on the Homeland Security & Governmental Affairs Committee released a startling




   48
     Virtual Currencies: Additional Information Could Improve Federal Agency Efforts to Counter
   Human and Drug Trafficking [Reissued with Revisions Feb. 7, 2022], U.S. Gov’t Accountability
   Off., https://www.gao.gov/products/gao-22-105462.
   49
      Emily Flitter & David Yaffe-Bellany, Russia Could Use Cryptocurrency to Blunt the Force of
   U.S.           Sanctions,        N.Y.         Times          (Feb.        24,           2022),
   https://www.nytimes.com/2022/02/23/business/russia-sanctions-cryptocurrency.html, Kyle Barr,
   Iran Plans to Use Crypto to Pay for Imports to Help Get Around Sanctions, Gizmodo (Aug. 9,
   2022), https://gizmodo.com/iran-crypto-imports-sanctions-1849389297, Mike Orcutt, This is How
   North Korea Uses Cutting-Edge Crypto Money Laundering to Steal Millions, MIT Tech. Rev.
   (Mar. 5, 2020), https://www.technologyreview.com/2020/03/05/916688/north-korean-hackers-
   cryptocurrency-money-laundering/.
   50
     Christian Davies & Scott Chipolina, Fin. Times, It’s Not Juche if You Have to Steal—How North
   Korea Became a Mastermind of Crypto Cybercrime, Ars Technica (Nov. 14, 2022, 11:15 AM),
   https://arstechnica.com/information-technology/2022/11/how-north-korea-became-a-
   mastermind-of-crypto-cyber-crime/.
   51
        Id.


                                                  68
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   report on ransomware. 52 The report notes that in 2021, “ransomware attacks impacted at least

   2,323 local governments, schools, and healthcare providers in the United States” and that the FBI

   “received 3,729 ransomware complaints with adjusted losses of more than $49.2 million.” The

   report acknowledges that these numbers underestimate the true scale of the problem because many

   ransomware victims do not report to authorities. As evidence, they cite data from blockchain

   analytics company Chainalysis that found “malign actors received at least $692 million in

   cryptocurrency extorted as part of ransomware attacks” in 2020. The report notes that

   “cryptocurrency, typically Bitcoin, has become a near universal form of ransom payment in

   ransomware attacks, in part, because cryptocurrency enables criminals to extort huge sums of

   money from victims across diverse sectors with incredible speed.” The link between

   cryptocurrency and ransomware became clear to the public in the wake of the Colonial Pipeline

   hack in May 2021, which disrupted gasoline supplies in the southeastern U.S. In the wake of that

   breach, several commentators argued for a ban, or heavy regulation, of cryptocurrency. 53

          179.    Everyday consumers have also fallen victim to various cryptocurrency-related

   scams. The Consumer Financial Protection Bureau (CFPB) published 2,404 cryptocurrency related

   consumer complaints in its Consumer Complaint Database during 2021, and more than 1,000




   52
      U.S. Senate Comm. on Homeland Sec. & Governmental Affs., Use of Cryptocurrency in
   Ransomware Attacks, Available Data, and National Security Concerns (May 25, 2022),
   https://www.hsgac.senate.gov/wp-
   content/uploads/imo/media/doc/HSGAC%20Majority%20Cryptocurrency%20Ransomware%20
   Report.pdf.
   53
     Lee Reiners, Opinion, Ban Cryptocurrency to Fight Ransomware, Wall St. J. (May 25, 2021,
   1:13   PM       ET)     https://www.wsj.com/articles/ban-cryptocurrency-to-fight-ransomware-
   11621962831.


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   cryptocurrency-related complaints during 2022 year-to-date. 54 According to the September DoJ

   report: “The CFPB has also received hundreds of servicemember complaints involving

   cryptocurrency assets or exchanges in the last 12 months, approximately one-third of which

   concerned frauds or scams.” 55 In June 2022, the Federal Trade Commission issued a report finding

   that “since the start of 2021 more than 46,000 people have reported losing over $1 billion in crypto

   to scams – that’s about one out of every four dollars reported lost, more than any other payment

   method.” 56 The median individual loss was a staggering $2,600.

              180.   Another September 2022 report from the Treasury Department, issued pursuant to

   the Executive Order, also called out the risks and harms to consumers from cryptocurrency:

              “Consumers and investors are exposed to improper conduct in the crypto-asset
              ecosystem for a variety of reasons, including a lack of transparency as well as the
              fact that crypto-assets have relatively novel and rapidly developing applications.
              This leads to frequent instances of operational failures, market manipulation,
              frauds, thefts, and scams. While the data for populations vulnerable to disparate
              impacts remains limited, available evidence suggests that crypto-asset products
              may present heightened risks to these groups, and the potential financial inclusion
              benefits of crypto-assets largely have yet to materialize.” 57

              181.   There is also a long history of consumer losses associated with centralized

   exchanges, FTX being the latest. One of the first cryptocurrency exchange failures was Japan-

   based Mt. Gox in 2014. Mt. Gox was handling over 70% of bitcoin transactions worldwide by the


   54
      Press Release, Justice Department Announces Report on Digital Assets and Launches
   Nationwide Network, Dep’t of Just.: Off. of Pub. Affairs (Sept. 16, 2022)
   https://www.justice.gov/opa/pr/justice-department-announces-report-digital-assets-and-launches-
   nationwide-network.
   55
        Id.
   56
      Emma Fletcher, Reports Show Scammers Cashing in on Crypto Craze, FTC (June 3, 2022),
   https://www.ftc.gov/news-events/data-visualizations/data-spotlight/2022/06/reports-show-
   scammers-cashing-crypto-craze.
   57
     U.S. Dep’t of the Treasury, Crypto-Assets: Implications for Consumers, Investors, and
   Businesses (Sept. 2022), https://home.treasury.gov/system/files/136/CryptoAsset_EO5.pdf.


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   time it ceased operations after the exchange was hacked and the majority of cryptocurrency held

   by the exchange on behalf of customers was stolen. Creditors to Mt. Gox are still waiting for their

   funds, a sign that does not bode well for FTX creditors, to the extent they seek recovery directly

   from the FTX Group through the bankruptcy proceedings. 58

          182.    All of the above-mentioned problems with cryptocurrency are well known and one

   of the big reasons why consumers are hesitant to purchase or use cryptocurrency. According to

   Pew Research, 16% of Americans have invested in cryptocurrency while another 71% are not

   invested although they have heard at least a little about cryptocurrency. 59 For those in the latter

   group, concerns around fraud and scams are likely playing a role in their resistance to crypto

   investing.

          183.    For those who choose to invest in cryptocurrency, the damages can be

   overwhelming, as with the FTX fraud. The losses sustained by SBF’s victims are staggering. FTX

   stole more than $8 billion in Class Member funds, the bulk of which has now vanished. Many

   Class Members came of working age in the recession and, later, the COVID-19 pandemic, and as

   a result have spent their lives working long hours for low wages, often across multiple jobs or in

   the gig economy. Unlike Defendant, these Class Members do not have money to burn. They are

   not “crypto-bros.” They are financially vulnerable, and SBF, with the help of his co-conspirators,




   58
     Becky Yerak, What to Watch in the FTX Bankruptcy as Details Remain Scarce, Wall St. J.
   (Nov. 14, 2022, 8:33 PM ET), https://www.wsj.com/articles/what-to-watch-in-the-ftx-
   bankruptcy-as-details-remain-scarce-11668475992?page=1.
   59
      Michelle Faverio & Navid Massarat, 46% of Americans who have invested in cryptocurrency
   say it’s done worse than expected, Pew Rsch. Ctr. (Aug. 23, 2022),
   https://www.pewresearch.org/short-reads/2022/08/23/46-of-americans-who-have-invested-in-
   cryptocurrency-say-its-done-worse-than-expected/.


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   exploited their vulnerability for tremendous financial gain. Now, Bankman-Fried is going to jail

   and his victims are left with nothing.

   H.     The SEC’s Approach to Cryptocurrency.

                  I.        Overview

          184.    Despite the crypto industry’s cries for “regulatory clarity,” the SEC’s stance on

   cryptocurrency has been clear and consistent from the beginning. Critics of the SEC’s stance

   toward cryptocurrency overlook an important aspect of U.S. securities law – securities regulation

   is not meant to be precise but is instead intentionally drafted to be broad and all-encompassing;

   clarity is not just uncommon; it is deliberately avoided. This is why the definitions of “security”

   in Section 2(a)(1) of the Securities Act of 1933 (Securities Act), 15 U.S.C. 77b(a)(1), and Section

   3(a)(10) of the Securities Exchange Act of 1934 (Exchange Act), 15 U.S.C. 78c(a)(10), include

   not only conventional securities, such as “stock[s]” and “bond[s],” but also the more general term

   “investment contract.”

          185.    Along these lines, in Reves v. Ernst & Young, the Supreme Court stated that:

                       The fundamental purpose undergirding the Securities Acts is “to
                       eliminate serious abuses in a largely unregulated securities market.”
                       In defining the scope of the market that it wished to
                       regulate, Congress painted with a broad brush. It recognized the
                       virtually limitless scope of human ingenuity, especially in the
                       creation of “countless and variable schemes devised by those who
                       seek the use of the money of others on the promise of profits,” and
                       determined that the best way to achieve its goal of protecting
                       investors was “to define ‘the term “security” in sufficiently broad
                       and general terms so as to include within that definition the many
                       types of instruments that in our commercial world fall within the
                       ordinary concept of a security.’” Congress therefore did not attempt
                       precisely to cabin the scope of the Securities Acts . . . Rather, it




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                         enacted a definition of “security” sufficiently broad to encompass
                         virtually any instrument that might be sold as an investment.” 60

              186.   Crafted to contemplate not only known securities arrangements at the time, but also

   any prospective instruments created by those who seek the use of others’ money on the promise

   of profits, the definition of “security” is broad, sweeping, and designed to be flexible to capture

   new instruments that share the common characteristics of stocks and bonds. As Supreme Court

   Justice (and former SEC Commissioner (1935) and Chair (1936-37)) William O. Douglas opined

   in Superintendent of Insurance v. Bankers Life and Casualty Co.:

              “We believe that section 10(b) and Rule 10b-5 prohibit all fraudulent schemes in
              connection with the purchase or sale of securities, whether the artifices employed
              involve a garden type variety fraud, or present a unique form of deception. Novel
              or atypical methods should not provide immunity from the securities laws.”

              187.   Federal courts have already confirmed the SEC’s jurisdiction in numerous crypto-

   related emergency asset freeze hearings where the issue is always considered and affirmed, same

   as it has been by hundreds of federal courts across the country since the Howey Decision, which

   the Supreme Court adopted over 75 years ago. 61 That decision resulted in the Howey Test, which

   is used to determine the presence of an investment contract. The Howey Test stipulates that an

   investment contract exists if there is an “investment of money in a common enterprise with a

   reasonable expectation of profits to be derived from the efforts of others.” 62 The Howey Test is the

   principal method used by the SEC to determine if a given cryptocurrency is a security.

              188.   The SEC has used multiple distribution channels to share its message and concerns

   regarding crypto, digital trading platforms, initial coin offerings, and other digital asset products



   60
        Reves v. Ernst & Young, 494 U.S. 56, 60–61 (1990) (emphasis added) (citations omitted).
   61
        SEC v. Howey Co., 328 U.S. 293 (1946).
   62
        Id.


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   and services over the past decade. The SEC first made investors aware of the dangers of investing

   in cryptocurrency in 2013 when the Office of Investor Education and Advocacy issued an Investor

   Alert on “Ponzi Schemes Using Virtual Currencies.” 63

             189.     A year later, the same office issued an Investor Alert on “Bitcoin and Other Virtual

   Currency-Related Investments.” 64 In 2017, the Commission took the rare step of releasing a

   Section 21(a) Report of Investigation that looked at the facts and circumstances of The DAO,

   which offered and sold approximately 1.15 billion DAO Tokens in exchange for a total of

   approximately 12 million Ether (“ETH”) over a one-month period in 2016. 65 The SEC applied the

   Howey Test to the DAO tokens and concluded they were securities under the Securities Act of

   1933 (“Securities Act”) and the Securities Exchange Act of 1934 (“Exchange Act”). While The

   DAO, and DAO tokens, were no longer operational at the time due to a high-profile hack that

   resulted in the theft of most DAO tokens, the Commission chose to release the report so as “to

   advise those who would use a Decentralized Autonomous Organization (“DAO Entity”), or other

   distributed ledger or blockchain-enabled means for capital raising, to take appropriate steps to

   ensure compliance with the U.S. federal securities laws.” 66




   63
      SEC, Pub. No. 153, Investor Alert: Ponzi Schemes Using Virtual Currencies (July 2013),
   https://www.sec.gov/investor/alerts/ia_virtualcurrencies.pdf.
   64
      SEC, Investor Alert: Bitcoin and Other Virtual Currency-Related Investments, Investor.gov
   (May 7, 2014), https://www.investor.gov/introduction-investing/general-resources/news-
   alerts/alerts-bulletins/investor-alerts/investor-39.
   65
      SEC, Release No. 81207, Report of Investigation Pursuant to Section 21(a) of the Securities
   Exchange       Act        of        1934:       The       DAO     (July      25,       2017),
   https://www.sec.gov/files/litigation/investreport/34-81207.pdf.
   66
        Id. at 1–2.


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          190.    In 2019, the SEC released a “Framework for “Investment Contract” Analysis of

   Digital Assets” which provided additional details on when a digital asset has the characteristics of

   an investment contract and “whether offers and sales of a digital asset are securities transactions.”67

          191.    In addition, the SEC has publicized its position on cryptocurrency in

   countless enforcement      actions, 68   multiple speeches, 69 Congressional      testimony,70     and

   several official SEC statements 71 and proclamations. 72 Current SEC Chairman, Gary Gensler, has

   spoken frequently about the perils and illegality of crypto lending platforms and decentralized

   finance, 73 warning that their failure to register with the SEC may violate U.S. securities laws. 74 In

   one interview, Gensler said:

          “The law is clear, it’s not about waving a wand. Congress spoke about this in 1934 . . .
          When a [digital] platform has securities on it, it is an exchange, and it’s a question of


   67
      Framework for “Investment Contract” Analysis of Digital Assets, SEC (Mar. 8, 2023),
   https://www.sec.gov/corpfin/framework-investment-contract-analysis-digital-assets.
   68
        Crypto Assets and Cyber Enforcement Actions, SEC                           (Nov.    21,     2023),
   https://www.sec.gov/spotlight/cybersecurity-enforcement-actions.
   69
      Gary Gensler, Chair, SEC, Remarks Before the Aspen Security Forum, SEC (Aug. 3, 2021),
   https://www.sec.gov/news/speech/gensler-aspen-security-forum-2021-08-03.
   70
      Gary Gensler, Chair, SEC, Testimony Before the Subcommittee on Financial Services and
   General Government, U.S. House Appropriations Committee, SEC (May 26, 2021),
   https://www.sec.gov/news/testimony/gensler-2021-05-26.
   71
     Jay Clayton, Chairman, SEC, Statement on Cryptocurrencies and Initial Coin Offerings, SEC
   (Dec. 11, 2017), https://www.sec.gov/news/public-statement/statement-clayton-2017-12-11.
   72
      Divisions of Enforcement and Trading and Markets, Statement on Potentially Unlawful Online
   Platforms for Trading Digital Assets, SEC (Mar. 7, 2018), https://www.sec.gov/news/public-
   statement/enforcement-tm-statement-potentially-unlawful-online-platforms-trading.
   73
      Michael McSweeney, Gensler sets SEC sights on DeFi, crypto lending and more in expansive
   speech    on    regulation,    The   Block     (Aug.     3,    2021,    1:08 PM      EDT),
   https://www.theblock.co/post/113416/gensler-speech-crypto-defi-lending-sec.
   74
     Ben Werschkul, Crypto Platforms that Don’t Register With the SEC Do Business ‘Outside the
   Law’: Gensler, Yahoo! Finance (Mar. 4, 2022), https://ca.finance.yahoo.com/news/crypto-
   platforms-dont-register-with-sec-outside-the-law-gensler-164215740.html.


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              whether they’re registered or they’re operating outside of the law and I’ll leave it at
              that.” 75

              192.   On September 8, 2022, Chair Gensler gave a speech reflecting on the flexibility of

   the securities laws and the SEC’s consistency in applying these laws to cryptocurrency. 76 Gensler

   noted that of the 10,000 different cryptocurrencies in the market, “the vast majority are securities,”

   a position that was also held by his predecessor, Jay Clayton. 77 Gensler went on to note that the

   SEC has spoken with a “pretty clear voice” when it comes to cryptocurrency “through the DAO

   Report, the Munchee Order, and dozens of Enforcement actions, all voted on by the Commission”

   and that “[n]ot liking the message isn’t the same thing as not receiving it.” 78

              193.   The judicial record supports Chair Gensler’s assertions. The SEC has taken over

   100 crypto-related enforcement actions and has not lost a single case. 79

              194.   What follows are summaries of seven cases that will help inform this litigation.




   75
      Michael McSweeney, Gensler sets SEC sights on DeFi, crypto lending and more in expansive
   speech    on    regulation,    The   Block     (Aug.     3,    2021,    1:08 PM      EDT),
   https://www.theblock.co/post/113416/gensler-speech-crypto-defi-lending-sec.
   76
        Gary Gensler, Chair, SEC, Kennedy and Crypto,                          SEC     (Sept.   8,      2022)
   https://www.sec.gov/news/speech/gensler-sec-speaks-090822.
   77
        Id.
   78
        Id.
   79
      See Simona Mola, Cornerstone Research, SEC Cryptocurrency Enforcement: 2021 Update,
   https://www.cornerstone.com/wp-content/uploads/2023/01/SEC-Cryptocurrency-Enforcement-
   2021-Update.pdf.


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                  II.     SEC v. KIK

          195.    In Kik 80, the SEC’s complaint 81, filed in the U.S. District Court for the Southern

   District of New York on June 4, 2019, alleged that Kik sold digital asset securities to U.S. investors

   without registering their offer and sale as required by the U.S. securities laws. Kik argued that the

   SEC’s lawsuit against it should be considered “void for vagueness.” 82

          196.    The court granted the SEC’s motion for summary judgment on September 30, 2020,

   finding that undisputed facts established that Kik’s sales of “Kin” tokens were sales of investment

   contracts (and therefore of securities) and that Kik violated the federal securities laws when it

   conducted an unregistered offering of securities that did not qualify for any exemption from

   registration requirements. The court further found that Kik’s private and public token sales were a

   single integrated offering.

                  III.    SEC v. Telegram

          197.    In Telegram, 83 the SEC filed a complaint 84 on October 11, 2019, alleging that the

   company had raised capital to finance its business by selling approximately 2.9 billion “Grams” to

   171 initial purchasers worldwide. The SEC sought to preliminarily enjoin Telegram from



   80
     Press Release, SEC Obtains Final Judgment Against Kik Interactive For Unregistered Offering,
   SEC (Oct. 21, 2020), https://www.sec.gov/news/press-release/2020-262.
   81
     Press Release, SEC Charges Issuer With Conducting $100 Million Unregistered ICO, SEC (June
   4, 2019), https://www.sec.gov/news/press-release/2019-87.
   82
      Aziz Abdel-Qader, SEC Seeks to Block Kik Subpoenas, Refutes “Void for Vagueness” Claim,
   Fin.          Magnates          (Oct.       29,        2019,          22:35         GMT),
   https://www.financemagnates.com/cryptocurrency/news/sec-seeks-to-block-kik-subpoenas-
   refutes-void-for-vagueness-claim/.
   83
     Press Release, Telegram to Return $1.2 Billion to Investors and Pay $18.5 Million Penalty to
   Settle SEC Charges, SEC (June 26, 2020), https://www.sec.gov/news/press-release/2020-146.
   84
     Press Release, SEC Halts Alleged $1.7 Billion Unregistered Digital Token Offering, SEC (Oct.
   11, 2019), https://www.sec.gov/news/press-release/2019-212.


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   delivering the Grams it sold, which the SEC alleged were securities that had been offered and sold

   in violation of the registration requirements of the federal securities laws.

           198.    Telegram argued 85 that the SEC has “engaged in improper ‘regulation by

   enforcement’ in this nascent area of the law, failed to provide clear guidance and fair notice of its

   views as to what conduct constitutes a violation of the federal securities laws, and has now adopted

   an ad hoc legal position that is contrary to judicial precedent and the publicly expressed views of

   its own high-ranking officials.”

           199.    On March 24, 2020, the U.S. District Court for the Southern District of New York

   issued a preliminary injunction 86 barring the delivery of Grams and finding that the SEC had

   shown a substantial likelihood of proving that Telegram’s sales were part of a larger scheme to

   distribute the Grams to the secondary public market unlawfully.

           200.    Without admitting or denying the allegations in the SEC’s complaint, the

   defendants consented to the entry of a final judgment enjoining them from violating the registration

   provisions of Sections 5(a) and 5(c) of the Securities Act of 1933. The judgment ordered the

   defendants to disgorge, on a joint and several basis, $1,224,000,000.00 in ill-gotten gains from the

   sale of Grams, with credit for the amounts Telegram pays back to initial purchasers of Grams. It

   also ordered Telegram Group Inc. to pay a civil penalty of $18,500,000. For the next three years,

   Telegram is further required to give notice to the SEC staff before participating in the issuance of

   any digital assets.



   85
      Rachel McIntosh, SEC vs. Telegram: Will Gram Tokens Ever Be Distributed?, Fin. Magnates
   (Oct. 10, 2019, 7:11 GMT), https://www.financemagnates.com/cryptocurrency/news/sec-vs-
   telegram-will-gram-tokens-ever-be-distributed/.
   86
     SEC v. Telegram: A Groundbreaking Decision in Cryptocurrency Enforcement?, Greenberg
   Traurig (Apr. 1, 2020), https://www.gtlaw.com/en/insights/2020/4/sec-v-telegram--a-
   groundbreaking-decision-in-cryptocurrency-enforcement.


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                   IV.     SEC v. BlockFi

           201.    In BlockFi Lending LLC, the first SEC case ever involving a crypto-lending

   program, on February 14, 2022, the SEC charged BlockFi 87with failing to register the offers and

   sales of its retail crypto-lending product and also charged BlockFi with violating the registration

   provisions of the Investment Company Act of 1940.

           202.    BlockFi argued for “increased regulatory clarity” but lost. 88

           203.    To settle the SEC’s charges, BlockFi agreed to pay a $50 million penalty, cease its

   unregistered offers and sales of the lending product, BlockFi Interest Accounts (BIAs), and bring

   its business within the provisions of the Investment Company Act within 60 days. BlockFi’s parent

   company also announced that it intends to register under the Securities Act of 1933 the offer and

   sale of a new lending product. In parallel actions, BlockFi agreed to pay an additional $50 million

   in fines to 32 states to settle similar charges.

                   SEC Wells Notice to Coinbase
           204.    In 2021, Coinbase began marketing a cryptocurrency lending product called Lend.

   The Lend program purported to allow some Coinbase customers to ”earn interest on select assets

   on Coinbase, starting with 4% APY on USD Coin (USDC).” 89 According to Coinbase, its lawyers

   reached out to the SEC to discuss its Lend product, at which point SEC staff instead served

   Coinbase with a Wells Notice, informing Coinbase of their intention to seek approval from the


   87
     Press Release, BlockFi Agrees to Pay $100 Million in Penalties and Pursue Registration of its
   Crypto Lending Product, SEC (Feb. 14, 2022), https://www.sec.gov/news/press-release/2022-26.
   88
     A Letter from Our Founders: Pioneering a Path Forward to Regulatory Clarity, BlockFi (Feb.
   14,     2022),      https://web.archive.org/web/20221111035031/https://blockfi.com/pioneering-
   regulatory-clarity.
   89
     Paul Grewal, The SEC Has Told Us It Wants to Sue Us Over Lend. We Don’t Know Why.,
   Coinbase (Sept. 7, 2021), https://www.coinbase.com/blog/the-sec-has-told-us-it-wants-to-sue-us-
   over-lend-we-have-no-idea-why.


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   SEC Commissioners to file a civil enforcement action against Coinbase for violating the federal

   securities laws.

              205.   According to Coinbase, the SEC issued the Wells Notice because of Coinbase’s

   failure to file a registration statement with the SEC for the offering of its Lend product, which the

   SEC believed was a security. 90

              206.   The two cases that Coinbase claims the SEC cites as support for its Wells Notice

   are SEC v. Howey and Reves v. Ernst & Young. Reves addressed the question of whether a product

   is a “note” and hence a security (applying the so-called “Familial Resemblance Test”).

              207.   Under the Lend program, Coinbase customers were clearly investing “money” at

   Coinbase and placing their faith in Coinbase to generate a profit for them. Lend investors would

   have no say in how Coinbase runs the Lend program and Coinbase was not going to permit Lend

   investors to participant in Lend-related decisions. Given these facts, Lend was clearly an

   investment contract.

              208.   Under Reves, Lend may have also been a “note” and hence a security. Although the

   term “note” is included in the statutory definition of a security, case law has determined that not

   every “note” is a security. The definition specifically excludes notes with a term of less than nine

   months and courts have carved out a range of exemptions over the years for commercial paper

   type notes such as purchase money loans and privately negotiated bank loans. To reconcile these

   varying cases, the U.S. Supreme Court in Reves established the “family resemblance test,” to

   determine whether a note is a security.

              209.   Per the “family resemblance test,” a presumption that a note is a security can only

   be rebutted if the note bears a resemblance to one of the enumerated categories on a judicially


   90
        Id.


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   developed list of exceptions, as follows: 1) a note delivered in consumer financing; 2) a note

   secured by a mortgage on a home; 3) a short-term note secured by a lien on a small business or

   some of its assets; 4) a note evidencing a character loan to a bank customer; 5) a short-term note

   secured by an assignment of accounts receivable; and 6) a note which simply formalizes an open-

   account debt incurred in the ordinary course of business (such as a trade payable for office

   supplies); and vii) a note evidencing loans by commercial banks for current operations.

            210.   The “family resemblance” analysis requires:

        •   A consideration of the motivation of the seller and buyer (e.g. is the seller looking for

            investment and the buyer looking for profit?);

        •   The plan of distribution of the note (e.g. is the product being marketed as an investment?);

        •   The expectation of the creditor/investor (e.g. would the investing public reasonably expect

            the application of the securities laws to the product); and

        •   The presence of an alternative regulation (e.g. will the product be registered as a banking

            product and the offered registered as a bank?).

            211.   Applying the family resemblance test to Lend reveals the presence of a note. First,

   Coinbase likened the Lend program to that of a savings account, where the Lend customer is

   looking for a profitable investment and Coinbase is looking for investors. Second, Coinbase

   marketed the Lend program as an investment. Third, investors would expect that securities

   regulation applies. Fourth, Coinbase is not a bank, so their so-called savings account falls under

   no other regulatory jurisdiction and protection.

            212.   Given the clear facts of the case, Coinbase decided to cancel the Lend program. 91


   91
     See Mitchell Clark, Coinbase Cancels Lend Program Launch After SEC Fight / The Company
   Says It’s Still Looking for “Regulatory Clarity”, Verge (Sept. 20, 2021, 2:38 PM EDT),



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                  SEC v. Binance
          213.    In Binance, the SEC filed a complaint 92 on June 5, 2023, in the United States

   District Court for the District of Columbia against several of the Binance entities including

   Binance.com, U.S.-based affiliates, and the founder Changpeng Zhao. The SEC alleges that

   Binance.com and the other defendants violated thirteen securities laws, including selling various

   unregistered securities and a staking-as-a-service program; operating an unregistered exchange,

   broker-dealer, and clearing agency across interstate lines; covertly controlling Binance.US to

   evade U.S. securities laws; secretly allowing U.S. high-value traders to remain on the international

   platform; and commingling billions of U.S. assets with Zhao-owned entities. The SEC seeks a

   preliminary injunction to, among other relief, freeze and repatriate defendants’ U.S. assets. The

   SEC also seeks to permanently enjoin defendants from directly or indirectly violating the

   Exchange and Securities Acts, disgorge illegal gains, and award civil damages.

                  SEC v. Coinbase
          214.    In Coinbase, the SEC filed a complaint 93 on June 6, 2023, in the United States

   District Court for the Southern District of New York against Coinbase and Coinbase Global. The

   SEC alleges that the Coinbase entities have violated multiple securities laws, including making

   billions of dollars from selling various unregistered securities and a staking-as-a-service program;

   and operating an unregistered exchange, broker-dealer, and clearing agency across interstate lines.

   The SEC seeks to permanently enjoin defendants from directly or indirectly violating the Exchange



   https://www.theverge.com/2021/9/20/22684169/coinbase-crypto-lend-feature-discontinued-sec-
   lawsuit-threats.
   92
      Complaint, SEC v. Binance Holdings Ltd., No. 1:23-cv-01599 (D.D.C. June 5, 2023), ECF No.
   1, https://www.sec.gov/files/litigation/complaints/2023/comp-pr2023-101.pdf.
   93
      Complaint, SEC v. Coinbase, Inc., No. 1:23-cv-04738 (S.D.N.Y. June 6, 2023), ECF No. 1,
   https://www.sec.gov/litigation/complaints/2023/comp-pr2023-102.pdf.


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   and Securities Acts, disgorge illegal gains, and award civil damages. “Coinbase was fully aware

   of the applicability of the federal securities laws to its business activities, but deliberately refused

   to follow them,” stated Gurbir S. Grewal, Director of the SEC’s Division of Enforcement. 94

                   SEC v. Terraform Labs Pte. Ltd.

           215.    In one of the most recent developments in the crypto space, on July 31, 2023, Judge

   Jed Rakoff in the Southern District of New York entered an order denying a motion to dismiss

   claims that defendants, a crypto-assets company and its founder, were responsible for a

   multibillion-dollar fraud that involved the development, marketing, offer and sale of crypto-assets

   that the SEC alleged were unregistered securities. SEC v. Terraform Labs Pte. Ltd., No. 23-CV-

   1346, 2023 WL 4858299 (S.D.N.Y. July 31, 2023).

           216.    This is a significant ruling for several reasons.

           217.    First, it supports the fact that YBAs and FTT are unregistered securities.

           218.    Second, Judge Rakoff explicitly rejects a key component of his colleague, Judge

   Analisa Torres’ reasoning in her order on cross-motions for summary judgment in SEC v. Ripple

   Labs, Inc., No. 20 CIV. 10832, 2023 WL 4507900 (S.D.N.Y. July 13, 2023), motion to certify

   appeal denied, No. 20 CIV. 10832, 2023 WL 6445969 (S.D.N.Y. Oct. 3, 2023), which drew a

   distinction between crypto-assets sold directly by the issuer and on the secondary market.

           219.    Third, Judge Jed Rakoff is a highly regarded jurist who is considered an expert in

   securities law and business law. In fact, Todd Baker, an attorney and Senior Fellow at the Richman

   Center for Business, Law & Public Policy at Columbia Business and Law Schools called Judge




   94
     Press Release, SEC Charges Coinbase for Operating as an Unregistered Securities Exchange,
   Broker, and Clearing Agency, SEC (June 6, 2023), https://www.sec.gov/news/press-release/2023-
   102.


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   Rakoff, in a Financial Times article, the “[T]he most respected securities authority in the federal

   judiciary.” 95

           220.     The relevant points of comparison in Judge Rakoff’s decision to the FTX MDL are

   his analysis around the Luna token and UST stablecoin, which bear similarities to the FTT token

   and YBAs, respectively.

           221.     With respect to the Luna token, Judge Rakoff found that a common enterprise and

   expectation of profit existed because Terraform labs used proceeds from LUNA coin sales to

   develop the Terraform blockchain and represented that that these improvements would increase

   the value of the Luna tokens. This is similar to the FTT token, which was an exchange token.

   Given FTT’s features, it was clearly designed to go up in value as the FTX platform grew and

   became more popular with crypto traders. In fact, in their complaint alleging, amongst other things,

   that FTT is an unregistered security, the SEC states:

           FTX used the pooled proceeds from FTT sales to fund the development, marketing,
           business operations, and growth of FTX, depending on the success of FTX and its
           management team in developing, operating, and marketing the trading platform. If
           demand for trading on the FTX platform increased, demand for the FTT token could
           increase, such that any price increase in FTT would benefit holders of FTT equally
           and in direct proportion to their FTT holdings. The large allocation of tokens to
           FTX incentivized the FTX management team to take steps to attract more users
           onto the trading platform and, therefore, increase demand for, and increase the
           trading price of, the FTT token. 96
           The SEC makes a similar allegation with respect to Luna in the Terraform Labs action and

   Judge Rakoff sides with the SEC. From his decision:

           The SEC’s theory for horizontal commonality as to these other coins, however,
           rests on a different but equally plausible theory. As to the LUNA tokens, for


   95
         Todd     Baker,   Crypto    Got    Rakoff’d,  Fin.    Times            (Aug.     3,    2023),
   https://www.ft.com/content/5e5a3c4a-7508-4db8-ab23-1ff17c87c880.
   96
      Complaint ¶ 79, SEC v. Ellison, No. 1:22-cv-10794 (S.D.N.Y. Dec. 21, 2022), ECF No. 1,
   https://www.sec.gov/files/litigation/complaints/2022/comp-pr2022-234.pdf.


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             instance, the SEC has demonstrated horizontal commonality by alleging that the
             defendants’ used proceeds from LUNA coin sales to develop the Terraform
             blockchain and represented that these improvements would increase the value of
             the LUNA tokens themselves. See Amended Complaint ¶¶ 46-47, 49-51. In other
             words, by alleging that the defendants “pooled” the proceeds of LUNA purchases
             together and promised that further investment through these purchases would
             benefit all LUNA holders, the SEC has adequately pled that the defendants and the
             investors were joined in a common, profit-seeking enterprise. 97

             Also, of relevance to the FTX MDL and to this case is Judge Rakoff’s conclusion that the

   algorithmic stablecoin, UST, also met the Howey standard for investment contracts. Note that this

   is the first time the SEC has alleged that a stablecoin is an investment contract, and the SEC’s

   reasons for making this allegation also support the assertion that YBAs are securities.

             While UST, like most stablecoins, was supposed to be tied one-for-one to the US dollar,

   Terraform and Kwon marketed “UST coins as profitable investment opportunities—as opposed to

   just stable stores of value—in meetings with U.S. investors, investment conferences in major U.S.

   cities, and on social media platforms.” 98

             Then, in 2021, Terraform launched the “Anchor Protocol” which was an “investment pool

   into which owners of UST coins could deposit their coins and earn a share of whatever profits the

   pool generated.”

             Judge Rakoff found that “the fact that most of the UST coins were deposited in the Anchor

   Protocol independently rendered these tokens investment contracts, indeed investments that were

   touted as being capable of being able to generate future profits of as much as 20%.” 99 Judge Rakoff

   goes on to say:



   97
     SEC v. Terraform Labs Pte. Ltd., No. 23-CV-1346, 2023 WL 4858299, at *13 (S.D.N.Y. July
   31, 2023).
   98
        Id. at *2.
   99
        Id. at *12.


                                                    85
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               In essence, the UST tokens were allegedly “pooled” together in the Anchor Protocol
               and, through the managerial efforts of the defendants, were expected to generate
               profits that would then be re-distributed to all those who deposited their coins into
               the Anchor Protocol—in other words, on a pro-rata basis.” 100

               This closely resembles the facts surrounding YBAs and Judge Rakoff’s finding that UST

   met the requirements for an investment contract supports the conclusion that YBAs are also

   unregistered securities.

               Judge Rakoff also explicitly rejects a key element of Judge Torres’ analysis in the Ripple

   decision, stating:

               It may also be mentioned that the Court declines to draw a distinction between these
               coins based on their manner of sale, such that coins sold directly to institutional
               investors are considered securities and those sold through secondary market
               transactions to retail investors are not. In doing so, the Court rejects the approach
               recently adopted by another judge of this District in a similar case, SEC v. Ripple
               Labs Inc., 2023 WL 4507900 (S.D.N.Y. July 13, 2023). 101

               Judge Rakoff goes on to explain that Howey and its progeny never made such a distinction,

   nor does it matter, for purposes of Howey analysis, whether a purchaser “bought the coins directly

   from the defendants or, instead, in a secondary resale transaction.” 102

               While noting that “in theory, the tokens, if taken by themselves, might not qualify as

   investment contracts,” Judge Rakoff evaluated—“as the Supreme Court did in Howey—whether

   the crypto-assets and the ‘full set of contracts, expectations, and understandings centered on the

   sales and distribution of [these tokens]’ amounted to an ‘investment contract’ under federal

   securities laws.” 103




   100
         Id. at *13.
   101
         Id. at *15.
   102
         Id.
   103
         Id. at *12.


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           Judge Rakoff’s rejection of the Ripple decision’s secondary market distinction and fulsome

   Howey analysis support Plaintiffs’ assertion that FTT and YBAs are unregistered securities. FTT

   purchasers, on the FTX Platform or elsewhere, did not necessarily know who the seller was. But,

   as Judge Rakoff explains, knowledge of the seller’s identity is not necessary to prove that

   purchasers expected profits based on the efforts of FTX, who is the issuer of these assets, and not

   simply a platform where the assets traded.

   I.      FTX’s offer and sale of YBAs, which are unregistered securities.

           222.    Beginning in 2019, the FTX Group began offering the YBAs to public investors

   through its Earn program. Plaintiff and other similarly situated individuals invested in FTX’s

   YBAs.

           223.   The details of the Earn program are still listed on the FTX website, 104 and additional

   information on Earn is described in a declaration submitted in the Voyager Chapter 11 proceedings

   by Joseph Rotunda, Director of Enforcement of the Texas State Securities Board, on October 14,

   2022. 105

           224.   Under the section titled “How can I earn yield on my FTX deposits?” on the FTX

   website, the company describes the Earn program thusly:

           “You can now earn yield on your crypto purchases and deposits, as well as your
           fiat balances, in your FTX app! By opting in and participating in staking your



   104
            FTX      Crypto     Derivatives   Exchange,        FTX      App             Earn,      FTX,
   https://web.archive.org/web/20221127164753/https://help.ftx.com/hc/en-
   us/articles/10573545824532-FTX-App-Earn.
   105
       Supplemental Declaration to the Texas State Securities Board’s and the Texas Department of
   Banking’s Limited Objection to the Debtors’ Motion for Entry of an Order (I) Authorizing Entry
   into the Asset Purchase Agreement and (II) Granting Related Relief, In re Voyager Digital
   Holdings, Inc., No. 22-10943 (Bankr. S.D.N.Y. Oct. 14, 2022), ECF No. 536,
   https://cases.stretto.com/public/x193/11753/PLEADINGS/1175310142280000000134.pdf.


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               supported assets in your FTX account, you’ll be eligible to earn up to 8% APY on
               your assets.” 106

               225.   On the same webpage, the company also states:

               The first $10,000 USD value in your deposit wallets will earn 8% APY. Amounts
               held above $10,000 up to $100,000 USD in value (subject to market fluctuations)
               will earn 5% APY. 107

               226.   Nowhere on the website does FTX describe how this yield will be generated;

   readers are given the impression that the yield will come from “staking your supported assets in

   your FTX account” although nowhere does the company describe what staking actually is.

               227.   Staking is a technical concept that applies to the blockchain consensus mechanism

   called Proof of Stake, which some cryptocurrencies utilize. 108 Staking serves a similar function to

   cryptocurrency mining, in that it is the process by which a network participant gets selected to add

   the latest batch of transactions to the blockchain and earn some crypto in exchange. While the

   exact mechanism will vary from project to project, in general, users will put their token on the line

   (i.e., “stake”) for a chance to add a new block onto the blockchain in exchange for a reward. Their

   staked tokens act as a guarantee of the legitimacy of any new transaction they add to the

   blockchain. The network chooses validators based on the size of their stake and the length of time

   they’ve held it. Thus, the most invested participants are rewarded. If transactions in a new block




   106
            FTX      Crypto     Derivatives   Exchange,        FTX      App            Earn,      FTX,
   https://web.archive.org/web/20221127164753/https://help.ftx.com/hc/en-
   us/articles/10573545824532-FTX-App-Earn.
   107
         Id.
   108
         For example, Ethereum, Tezos, Cosmos, Solana, and Cardano all use Proof of Stake.


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   are discovered to be invalid, users can have a certain amount of their stake burned by the network,

   in what is known as a slashing event. 109

               228.   Some within the crypto community argue that staking is not a security because it is

   simply part of the code by which specific cryptocurrencies operate. In other words, some argue

   that staking programs are different from lending programs because user assets are not actually

   being “lent” out to third parties. But in September 2022, SEC Chairman Gary Gensler told

   reporters that “cryptocurrencies and intermediaries that allow holders to ‘stake’ their coins might

   pass” the Howey Test. 110 According to Gensler, “From the coin’s perspective…that’s another

   indicia that under the Howey test, the investing public is anticipating profits based on the efforts

   of others.” The Wall Street Journal noted that if an intermediary such as a crypto exchange offers

   staking services to its customers, Mr. Gensler said, it “looks very similar—with some changes of

   labeling—to lending.” 111

               229.   Based upon information – included and not included – on the FTX website, it does

   not appear that the company is adhering to the technical, commonly understood, definition of

   staking. See Ex. A ¶¶ 36–42. The most telling indicator is that the company permits any

   cryptocurrency listed on their platform to be eligible for staking, even coins that do not use Proof

   of Stake. Id. ¶ 39. The FTX website specifically states that Bitcoin and Dogecoin can generate



   109
      See, e.g., What is Staking?, Coinbase, https://www.coinbase.com/learn/crypto-basics/what-is-
   staking (last visited Nov. 22, 2023); Mensholong Lepcha, Slashing, Techopedia (Nov. 2, 2023),
   https://www.techopedia.com/definition/slashing; Blocknative, A Staker's Guide to Ethereum
   Slashing & Other Penalties, Blocknative (Oct. 1, 2022), https://www.blocknative.com/blog/an-
   ethereum-stakers-guide-to-slashing-other-penalties.
   110
     Paul Kiernan & Vicky Ge Huang, Ether’s New ‘Staking’ Model Could Draw SEC Attention,
   Wall St. J. (Sept. 15, 2022, 6:07 PM ET), https://www.wsj.com/articles/ethers-new-staking-
   model-could-draw-sec-attention-11663266224.
   111
         Id.


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   yield under the Earn program, even though these coins use the Proof of Work consensus

   mechanism (meaning you CANNOT technically stake Bitcoin or Dogecoin). Therefore, it is not

   at all clear where the promised yield is coming from.

          230.    Applying Howey to the FTX Earn program reveals that Earn is an investment

   contract. An investment contract is present because users are clearly entrusting their funds to FTX.

   Users have to “opt-in” so that FTX may take possession over user assets and deploy them in a

   manner that will generate yield. As noted above, it is not clear how that yield is generated, but it

   is clear that FTX is deploying customer assets in a discretionary manner. Therefore, the efforts of

   FTX are instrumental in generating the users’ yield and of course users have an expectation of

   profit because FTX is advertising yields of up to 8% APY:

                  From a securities perspective, the Howey Test defines an investment contract as:
                     a. An investment of money
                           i.    Cryptocurrency is a medium of exchange and way of transferring
                                 value in a measurable and quantifiable way. It is increasingly used
                                 as a means of payment, although it is more commonly used as a
                                 speculative investment at this point in time. Whether or not
                                 cryptocurrency can be defined as ‘money’ is in part a matter of
                                 semantics that can vary based on considers the fundamental features
                                 of money to be, and what criteria needs to be achieved in order for
                                 something to be considered money. Suffice to say, when examining
                                 aspects such as fungibility, durability, portability, divisibility,
                                 scarcity, transferability, acting as a medium of exchange, acting as
                                 a unit of account, and acting as a store of value, it could be argued
                                 that some cryptocurrencies fulfill many of these criterion as good as
                                 or even better than fiat currencies.
                     b. In a common enterprise
                           i. FTX customer assets are almost always consolidated in wallets
                                 operated an controlled by FTX at least initially. These wallets are
                                 typically referred to as ‘hot wallets’ or ‘consolidation wallets.’ From
                                 these wallets, cryptocurrency can be move to other FTX-controlled
                                 wallets, or it can be used to pay back other customers performing
                                 withdrawals, but FTX can and did send (and loan) out such assets to
                                 other entities, including Alameda ‘Alameda.’ The blockchains data
                                 contains an immutable and verifiable record of data that shows that


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                                   FTX customer deposits went into accounts operated by a common
                                   enterprise, namely, FTX.
                         c. With the expectation of profit
                              i. FTX customers are promised yield when they participate in the Earn
                                   program. And at up to 8% yield, that is a considerable amount that
                                   would be considerably in excess to that of a savings account at a
                                   bank. But it was also far riskier than investing money in a savings
                                   account at a bank. FTX goes out of their way to advertise this yield,
                                   and indicate that such earnings are to be calculated on the
                                   “investment portfolio” that is stored ‘in’ the FTX app. 112
                         d. To be derived from the efforts of others
                              i.   The FTX Yield-bearing account was portrayed as passive income
                                   stream. A customer needs to do nothing more than ensure they are
                                   subscribed to the yield program, and that they have deposited assets
                                   (of crypto or even fiat) in order to earn the 5% or 8% yield, which
                                   they clearly indicate is counted hourly. There is no further work or
                                   action needed on the part of the user.
                             ii. The work that ‘others’ (namely FTX) would need to do would
                                   including, at a baseline, sending transactions. But it would also
                                   require FTX to make an effort by leveraging and investing the
                                   money elsewhere which could theoretically come about either via
                                   giving out loans, employing trading strategies, ‘staking,’ making
                                   other investments, or giving out loans to entities (such as Alameda)
                                   that would employ such strategies.

               231.   The FTX Earn program was most likely a note per Reves as well. First, FTX offered

   Earn to obtain crypto assets for the general use of its business, namely, to run its activities to pay

   interest to Earn investors, and users purchased YBAs and were automatically opted-in to Earn to

   receive interest on their crypto assets. Second, Earn was offered and sold to a broad segment of

   the general public. Third, FTX promoted Earn as an investment; on their website, FTX notes that

   Earn users will receive “yield earnings” on their “investment portfolio.” 113 Fourth, no alternative




   112
            FTX      Crypto     Derivatives   Exchange,        FTX      App             Earn,      FTX,
   https://web.archive.org/web/20221127164753/https://help.ftx.com/hc/en-
   us/articles/10573545824532-FTX-App-Earn.
   113
         Id.


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   regulatory scheme or other risk reducing factors exist with respect to Earn. Note that the above

   analysis mirrors that provided by the SEC in their BlockFi order. 114

          232.    FTX maintains that it does not offer for sale any product that constitutes a

   “security” under federal or state law. Under federal securities laws as construed by the United

   States Supreme Court in its decision SEC v. W.J. Howey Co., 328 U.S. 293 (1946) and by the SEC,

   an investment contract is a form of security under United States securities laws when (1) the

   purchaser makes an investment of money or exchanges another item of value (2) in a common

   enterprise (3) with the reasonable expectation of profits to be derived from the efforts of others.

          233.    The YBAs were “securities” as defined by the United States securities laws and as

   interpreted by the Supreme Court, the federal courts, and the SEC. The FTX Group offered variable

   interest rewards on crypto assets held in the YBAs on the FTX Platform, which rates were

   determined by the FTX Group in their sole discretion. In order to generate revenue to fund the

   promised interest, the FTX Group pooled the YBA assets to engage in lending and staking

   activities from which they derived revenue to pay interest on the YBAs. These activities make the

   YBAs a “security” under state and federal law.

          234.    On October 14, 2022, Director of Enforcement of the Texas State Securities Board,

   Joseph Rotunda, filed a declaration in the Chapter 11 bankruptcy proceedings pending in

   connection with the collapse of the Voyager Digital cryptocurrency exchange, In re: Voyager

   Digital Holdings, Inc., et al., Case No. 22-10943 (MEW), ECF No. 536 (Bankr. S.D.N.Y. Oct. 14,

   2022), in which he explained how the YBAs are in fact “an offering of unregistered securities in




   114
     Press Release, BlockFi Agrees to Pay $100 Million in Penalties and Pursue Registration of its
   Crypto Lending Product, SEC (Feb. 14, 2022), https://www.sec.gov/news/press-release/2022-26.


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   the form of yield-bearing accounts to the residents of the United States.” Id., at 6. In his declaration,

   the pertinent portions of which are reproduced in full for ease of reference, Rotunda explains:

                   I am also familiar with FTX Trading LTD (“FTX Trading”) dba FTX as described
           herein. As more fully explained throughout this declaration, I am aware that FTX Trading,
           along with West Realm Shires Services Inc. dba FTX US (“FTX US”), may be offering
           unregistered securities in the form of yield-bearing accounts to residents of the United
           States. These products appear similar to the yield-bearing depository accounts offered by
           Voyager Digital LTD et al., and the Enforcement Division is now investigating FTX
           Trading, FTX US, and their principals, including Sam Bankman-Fried.

                   I understand that FTX Trading is incorporated in Antigua and Barbuda and
           headquartered in the Bahamas. It was organized and founded in part by Mr. Bankman-
           Fried, and FTX Trading appears to be restricting operations in the United States. For
           example, domestic users accessing the webpage for FTX Trading at ftx.com are presented
           with a pop-up window that contains a disclaimer that reads in part as follows:

                 Did you mean to go to FTX US? FTX US is a US licensed cryptocurrency
           exchange that welcomes American users.
                 You’re accessing FTX from the United States. You won’t be able to use any of
           FTX.com’s services, though you’re welcome to look around the site.

                   FTX US claims to be regulated as a Money Services Business with FinCEN (No.
           31000195443783) and as a money transmitter, a seller of payment instruments and in other
           non-securities capacities in many different states. It is not, however, registered as a money
           transmitter or in any other capacity with the Texas Department of Banking and it is not
           registered as a securities dealer with the Texas State Securities Board.

                   FTX US owns 75 percent or more of the outstanding equity of FTX Capital Markets
           (CRD No. 158816) (“FTX Capital”), a firm registered as a broker-dealer with the United
           States Securities and Exchange Commission, the Financial Industry Regulatory Authority
           Inc., and 53 state and territorial securities regulators. FTX Capital’s registration as a dealer
           in Texas became effective on May 7, 2012, and the registration continues to remain in force
           and effect.




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                 FTX US maintains a website at https://ftx.us that contains a webpage for
          smartphone applications for FTX (formerly Blockfolio)115 (the “FTX Trading App”) and
          FTX US Pro. Users appear able to click a link in this webpage to download the FTX
          Trading App even when they reside in the United States.

                 On October 14, 2022, I downloaded and installed the FTX Trading App on my
          smartphone. I created an account with FTX Trading through the FTX Trading App and
          linked the FTX account to an existing personal bank account. During the process, I
          provided my full first and last name and entered my residential address in Austin, Texas. I
          also accessed hyperlinks in the FTX Trading App that redirected to the Privacy Policy and
          Terms of Service. Although I was from the United States and was using the application
          tied to FTX Trading, the Privacy Policy and Terms of Service were from FTX US - not
          FTX Trading.

                 I thereafter used the FTX Trading App to initiate the transfer of $50.00 from my
          bank account to the FTX account and then transferred .1 ETH from a 3.0 wallet to the FTX
          account. The transfer of funds from my bank account to the FTX account will take up to
          six days to complete but the transfer of ETH was processed within a few minutes.

                 The FTX Trading App showed that I was eligible to earn a yield on my deposits. It
          also explained the “Earn program is provided by FTX.US” – not FTX Trading. It also
          represented that “FTX Earn rewards are available for US users on a promotional basis.”

                 I recall the FTX Trading App’s default settings were automatically configured to
          enable the earning of yield. The application also contained a link for additional information
          about yield. I accessed the link and was redirected to a recent article published by
          “Blockfolio Rebecca” under help.blockfolio.com. The article began as follows:

                 You can now earn yield on your crypto purchases and deposits, as well as
                 your fiat balances, in your FTX Trading App! By opting in and participating
   115
      Based upon information and belief, FTX Trading acquired Blockfolio LLC (“Blockfolio”) in
   or around August 2020. At the time, Blockfolio managed a cryptocurrency application. FTX
   Trading appears to have thereafter rebranded Blockfolio and its smartphone application as FTX.
   Now, users can download the FTX Trading App from Apple’s App Store or Google’s Google Play
   Store. Although FTX rebranded Blockfolio, the application listing in Apple’s App Store still
   showed the application as developed by Blockfolio.


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                in staking your supported assets in your FTX account, you’ll be eligible to
                earn up to 8% APY on your staked assets. THIS APY IS ESTIMATED
                AND NOT GUARANTEED AS DESCRIBED BELOW.

                The article also described the payment of yield. It contained a section titled How
         do you calculate APY? Does my balance compound daily? that read, in part, as follows:

                        FTX will deposit yield earnings from the staked coins, calculated
                hourly, on the investment portfolio that is stored in your FTX Trading App.
                Yield will be compounded on principal and yield you have already earned.
                Any cryptocurrency that you have deposited on FTX as well as any fiat
                balance you may have on your account, will earn yield immediately after
                you have opted into the program.

                        The first $10,000 USD value in your deposit wallets will earn 8%
                APY. Amounts held above $10,000 up to $10MM USD in value (subject to
                market fluctuations) will earn 5% APY. In this scenario, your yield earned
                on the coins will look something like the examples below the table.

                The article also contained a section titled Is this available in my country? This
         section explained that “FTX Trading App Earn is available to FTX Trading App customers
         that are in one of the FTX permitted jurisdictions.” It contained a hyperlink to an article
         titled Location Restrictions published by FTX Crypto Derivatives Exchange under
         help.ftx.com. This article described various restrictions on operations in certain countries
         and locations and read in part as follows:

                FTX does not onboard or provide services to corporate accounts of entities
         located in, established in, or a resident of the United States of America, Cuba,
         Crimea and Sevastopol, Luhansk People’s Republic, Donetsk People’s Republic,
         Iran, Afghanistan, Syria, or North Korea. FTX also does not onboard corporate
         accounts located in or a resident of Antigua or Barbuda. FTX also does not onboard
         any users from Ontario, and FTX does not permit non-professional investors from
         Hong Kong purchasing certain products.

                 FTX does not onboard or provide services to personal accounts of current
         residents of the United States of America, Cuba, Crimea and Sevastopol, Luhansk
         People’s Republic, Donetsk People’s Republic, Iran, Afghanistan, Syria, North
         Korea, or Antigua and Barbuda. There may be partial restrictions in other
         jurisdictions, potentially including Hong Kong, Thailand, Malaysia, India and
         Canada. In addition, FTX does not onboard any users from Ontario, does not permit
         non-professional investors from Hong Kong purchasing certain products, and does
         not offer derivatives products to users from Brazil.

                FTX serves all Japanese residents via FTX Japan.


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                (emphasis in original)

                Despite the fact I identified myself by name and address, the FTX Trading App
         now shows that I am earning yield on the ETH. The yield is valued at 8 percent APR.

                Based upon my earning of yield and an ongoing investigation by the Enforcement
         Division of the Texas State Securities Board, the yield program appears to be an investment
         contract, evidence of indebtedness and note, and as such appears to be regulated as a
         security in Texas as provided by Section 4001.068 of the Texas Securities Act. At all times
         material to the opening of this FTX account, FTX Trading and FTX US have not been
         registered to offer or sell securities in Texas. FTX Trading and FTX US may therefore be
         violating Section 4004.051 of the Texas Securities Act. Moreover, the yield program
         described herein has not been registered or permitted for sale in Texas as generally required
         by Section 4003.001 of the Securities Act, and as such FTX Trading and FTX US may be
         violation Section 4003.001 by offering unregistered or unpermitted securities for sale in
         Texas. Finally, FTX Trading and FTX US may not be fully disclosing all known material
         facts to clients prior to opening accounts and earning yield, thereby possibly engaging in
         fraud and/or making offers containing statements that are materially misleading or
         otherwise likely to deceive the public. Certain principals of FTX Trading and FTX US may
         also be violating these statutes and disclosure requirements. Further investigation is
         necessary to conclude whether FTX Trading, FTX US and others are violating the
         Securities Act through the acts and practices described in this declaration.

                The Enforcement Division of the Texas State Securities Board understands that
         FTX US placed the highest bid for assets of Voyager Digital LTD et al., a family of
         companies variously accused of misconduct in connection with the sale of securities similar
         to the yield program promoted by FTX Trading and FTX US. FTX US is managed by Sam
         Bankman-Fried (CEO and Founder), Gary Wang (CTO and Founder) and Nishad Singh
         (Head of Engineering). The same principals hold the same positions at FTX Trading, and
         I was able to access the yield-earning product after following a link to the FTX Trading
         App from FTX US’s website. The FTX Trading App also indicated the Earn program is
         provided by FTX US. As such, FTX US should not be permitted to purchase the assets of
         the debtor unless or until the Securities Commissioner has an opportunity to determine



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          whether FTX US is complying with the law and related and/or affiliated companies,
          including companies commonly controlled by the same management, are complying with
          the law.

                  I hereby authorize the Texas Attorney General’s Office and any of its
          representatives to use this declaration in this bankruptcy proceeding.

                  I declare under penalty of perjury that the foregoing is true and correct.
                  Executed on October 14, 2022 in Austin, Texas.
                                                                /s Joseph Jason Rotunda
                                                                By: Joseph Jason Rotunda

   J.     FTX’s Offer and Sale of FTT Tokens, Which Are Unregistered Securities.

          235.    The FTT token that contributed to FTX’s demise is also an investment contract per

   the Howey Test. FTT is an exchange token created by FTX that entitles holders to benefits on the

   FTX exchange. According to crypto news site CoinDesk, “such benefits often include trading fee

   discounts, rebates and early access to token sales held on the platform . . . .” 116 Exchange tokens

   can be very profitable for their issuers because the exchanges that issue them tend to keep a

   significant number of tokens for themselves, which they can pump in price through speeches,

   social media posts, and other announcements. Economically, exchange tokes are akin to equity,

   although the holders of exchange tokens have no legal rights or interests in the issuer. As the

   exchange issuer grows in size and prominence, and trading volume increases on the exchange, the

   value of the exchange token will likely increase. Thus, the value of FTT increased as the FTX

   exchange became more well-known and utilized. 117




   116
       Robert Stevens, What Is an Exchange Token?, Coindesk (Nov. 9, 2022, 12:19 PM EST)
   https://www.coindesk.com/learn/what-is-an-exchange-token/.
   117
      See FTX Token FTT, CoinMarketCap, https://coinmarketcap.com/currencies/ftx-token/ (last
   accessed Nov. 21, 2023) (showing FTT price history).


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          236.    FTT passes the Howey Test because the token was controlled by FTX (the company

   could create or destroy it at will) and because its value was based upon the success of FTX, which

   was dependant on the “efforts” of others besides the investors. It is also clear that investors bought

   FTT because they thought it would go up in price; this is the same reason why most, if not all,

   investors buy any given cryptocurrency. In fact, Binance CEO Changpeng “CZ” Zhao agreed to

   accept FTT tokens as part of FTX’s buyout of Binance’s equity stake in FTX. 118

   K.     Using the FTX Platform Itself Necessarily Required Transacting in Unregistered

          Securities.

          237.    Another avenue through which FTX users may have been exposed to a securities

   transaction was through the basic structure of the FTX Platform.

          238.    Despite cryptocurrency and blockchain’s foundational premise being the ability to

   transmit value peer-to-peer using a trustless and decentralized database that cannot be censured by

   any third party, cryptocurrency exchanges operate more like traditional banks.

          239.    When you buy Bitcoin through a centralized cryptocurrency exchange, there is no

   corresponding transaction to the Bitcoin blockchain. Rather, the exchange simply maintains its

   own database that indicates which cryptocurrencies it owes to its customers. This is similar to how

   banks operate. Money deposited in a checking account is not actually “ours.” The money becomes

   the bank’s and we are owed a debt by the bank which is governed by the terms and conditions of

   the account.

          240.    Cryptocurrency exchanges should then be in custody of enough cryptocurrency on

   the blockchain to cover what it owes customers. Custody can be done using hot or cold digital


   118
      Harrison Miller, Binance Passes on FTX Takeover, Bitcoin Rebounds on CPI Data, Investor’s
   Business Daily (Nov. 10, 2022), https://www.investors.com/news/binance-to-buy-ftx-
   international-operations-as-liquidity-crunch-sparks-crypto-selloff/.


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   wallets (hot wallets are connected to the internet, cold wallets are not), with best practice being for

   exchanges to hold the majority of cryptocurrency they are holding on behalf of customers in

   multiple cold wallets. Best practices would also dictate that exchanges hold customer assets in

   separate wallets from exchange assets, and that each customer’s assets would be held in a distinct

   wallet.

             241.   According to the first day declaration by John Ray, FTX kept its crypto in a

   common pool used to fund undisclosed and unreasonably risky investments:

             The FTX Group did not keep appropriate books and records, or security controls,
             with respect to its digital assets. Mr. Bankman-Fried and [Alameda co-founder
             Gary] Wang controlled access to digital assets of the main businesses in the FTX
             Group (with the exception of LedgerX, regulated by the CFTC, and certain other
             regulated and/or licensed subsidiaries). Unacceptable management practices
             included the use of an unsecured group email account as the root user to access
             confidential private keys and critically sensitive data for the FTX Group companies
             around the world, the absence of daily reconciliation of positions on the blockchain,
             the use of software to conceal the misuse of customer funds, the secret exemption
             of Alameda from certain aspects of FTX.com’s auto-liquidation protocol, and the
             absence of independent governance as between Alameda (owned 90% by Mr.
             Bankman-Fried and 10% by Mr. Wang) and the Dotcom Silo (in which third parties
             had invested).

             The Debtors have located and secured only a fraction of the digital assets of the
             FTX Group that they hope to recover in these Chapter 11 Cases. The Debtors have
             secured in new cold wallets approximately $740 million of cryptocurrency that the
             Debtors believe is attributable to either the WRS, Alameda and/or Dotcom Silos.
             The Debtors have not yet been able to determine how much of this cryptocurrency
             is allocable to each Silo, or even if such an allocation can be determined. These
             balances exclude cryptocurrency not currently under the Debtors’ control as a result
             of (a) at least $372 million of unauthorized transfers initiated on the Petition Date,
             during which time the Debtors immediately began moving cryptocurrency into cold
             storage to mitigate the risk to the remaining cryptocurrency that was accessible at
             the time, (b) the dilutive ‘minting’ of approximately $300 million in FTT tokens by
             an unauthorized source after the Petition Date and (c) the failure of the co-founders




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               and potentially others to identify additional wallets believed to contain Debtor
               assets. 119

               242.   In the declaration, Mr. Ray presents several rough balance sheets for the various

   FTX silos, while noting that he does not have confidence in them, and that “the information therein

   may not be correct as of the date stated.” 120 Most telling is a footnote that appears on the balance

   sheets for the exchange businesses: “Customer custodial fund assets are comprised of fiat customer

   deposit balances. Balances of customer crypto assets deposited are not presented.” 121 Ray notes

   that U.S. and overseas exchanges “may have significant liabilities” but that “such liabilities are

   not reflected in the financial statements prepared while these companies were under the control of

   Mr. Bankman-Fried.” 122

               243.   To further complicate matters, statements given by Sam Bankman-Fried to the Wall

   Street Journal (“WSJ”) last year suggest that about half of the balance owed by Alameda to FTX

   was from wire transfers that customers made to FTX via Alameda in the early days before FTX

   had a bank account. 123 This money was intended to fund customers’ accounts at FTX. Bankman-

   Fried claims some customers continued to use that route after FTX had a bank account and that

   “[o]ver time, FTX customers deposited more than $5 billion in those Alameda accounts . . . .”124


   119
      Declaration of John J. Ray III in Support of Chapter 11 Petitions and First Day Pleadings ¶¶ 65–
   66, In re FTX Trading LTD, No. 22-11068, (Bankr. D. Del. Nov. 17, 2022), ECF No. 24,
   https://pacer-documents.s3.amazonaws.com/33/188450/042020648197.pdf.
   120
         Id. ¶ 18.
   121
         Id. ¶ 19.
   122
         Id. ¶ 38.
   123
      Alexander Osipovich, FTX Founder Sam Bankman-Fried Says He Can’t Account for Billions
   Sent to Alameda, Wall St. J. (Dec. 3, 2022, 5:47 PM ET), https://www.wsj.com/articles/ftx-
   founder-sam-bankman-fried-says-he-cant-account-for-billions-sent-to-alameda-
   11670107659?st=g35ia0eu0bjwqzn&reflink=desktopwebshare_permalink.
   124
         Id.


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   The WSJ acknowledged that these funds “could have been recorded in two places—both as FTX

   customer funds and as part of Alameda’s trading positions”—and that “[s]uch double-counting

   would have created a huge hole in FTX’s and Alameda’s balance sheets, with assets that weren’t

   really there.” 125

               244.   The relationship between FTX and Alameda was critical to the exchange’s eventual

   collapse. After suffering large losses in the wake of several high profile crypto-firm failures in the

   spring and summer of 2022 (Alameda most likely was exposed to crypto hedge fund Three Arrows

   Capital), FTX.com lent out some of its customer assets that it did control to Alameda. 126

   Presumably, the exchange benefitted from the interest paid by Alameda for the loaned crypto

   asset—although some have suggested that the loans were made for free. 127 Alameda could then

   use the customer assets as cheap collateral for margined trades with other parties (obtaining

   collateral from other sources would have been much more expensive). 128

               245.   It appears that Alameda did post collateral to secure the loans of customer crypto

   assets that it received, but that collateral took the form of FTT tokens. FTT tokens were the so-

   called “native token” of the FTX exchange: FTX created FTT and issued it to both institutional




   125
         Id.
   126
      Molly White, The FTX Collapse: The Latest Revelations (Part Three): The FTX Files (Nov.
   18, 2022), https://newsletter.mollywhite.net/p/the-ftx-collapse-the-latest-revelations.
   127
      Paige Tortorelli & Kate Rooney, Sam Bankman-Fried’s Alameda Quietly Used FTX Customer
   Funds for Trading, Say Sources, CNBC, https://www.cnbc.com/2022/11/13/sam-bankman-frieds-
   alameda-quietly-used-ftx-customer-funds-without-raising-alarm-bells-say-sources.html (Nov. 14,
   2022, 8:08 AM EST).
   128
       For a more general discussion of the conflicts of interest inherent in these relationships, see
   Frances Coppola, The FTX-Alameda Nexus, Coppola Comment (Nov. 10, 2022),
   https://www.coppolacomment.com/2022/11/the-ftx-alameda-nexus.html.


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   and retail investors without registering with any regulator or undergoing any audit or other external

   due diligence. FTX could create unlimited amounts of FTT if it wished.

          246.    In short, there appear to have been two sets of leveraged transactions involved.

   First, Alameda borrowed assets from FTX’s customers, providing FTT tokens as collateral for

   those loans. Second, Alameda engaged in margin trading, essentially borrowing money to execute

   risky trading strategies: these trades were secured by the assets Alameda had borrowed from FTX

   customers’ accounts. Leverage makes trades potentially more lucrative, but also makes them more

   vulnerable to adverse market movements. In an Alameda balance sheet linked to CoinDesk in early

   November, Alameda’s largest asset holdings were listed as being FTT tokens. (It is possible that

   it received these in a kind of bailout from FTX.) Other assets listed on that balance sheet included

   SOL tokens (issued by the Solana blockchain, in which Sam Bankman-Fried was an early investor)

   and SRM tokens (issued by the Serum exchange that Sam Bankman-Fried co-founded). 129

   Alameda had few assets that hadn’t been created out of thin air by FTX or FTX-related entities.

   L.     FTX Aggressively and Deceptively Marketed its Platform

          247.    These valid concerns are one reason why crypto firms like FTX turn to celebrity

   endorsers. The FTX advertising campaign is particularly pernicious because it implicitly

   acknowledges cryptocurrency’s problems while holding FTX out as the “safe” place to invest in

   cryptocurrency. These statements were untrue, as FTX turned out to be a house of cards that

   misappropriated customer assets.




   129
       Ian Allison, Divisions in Sam Bankman-Fried’s Crypto Empire Blur on His Trading Titan
   Alameda’s Balance Sheet, CoinDesk, https://www.coindesk.com/business/2022/11/02/divisions-
   in-sam-bankman-frieds-crypto-empire-blur-on-his-trading-titan-alamedas-balance-sheet/ (Aug.
   16, 2023, 5:56 PM EDT).


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          248.    FTX’s paid endorser program was clearly designed to use the positive reputation

   associated with specific celebrities to convince consumers that FTX was a safe place to buy and

   sell cryptocurrency.

          249.    FTX’s brand ambassadors and ad campaigns that utilized those brand ambassadors

   had a critical role in portraying FTX as being ‘safe’ and ‘compliant.’ For example:

                  In Stephen Curry’s FTX commercial, FTX’s alleged safety is quite blatantly
              stated when he claims,

                  “With FTX, I have everything I need to buy, sell, and trade crypto safely”

              Kevin O’Leary, another FTX brand ambassador, stated,

                  “To find crypto investment opportunities that met my own rigorous
                  standards of compliance, I entered into this relationship with FTX. It has
                  some of the best crypto exchange offerings I’ve seen on the market. FTX
                  leverages best-in-class tech to provide a quality trading experience with low
                  fees for both professional and retail investors alike, while at the same time
                  providing the reporting platform that serves both internal and regulatory
                  compliance requirements”

                  Given that FTX continually misappropriated customer assets and didn’t
              have appropriate capital controls or reasonable compliance policies in place,
              these claims weren’t just unfounded; they were downright false.

                  Mr. O’Leary’s assertion that FTX was a compliant exchange is even more
              damaging than that of the typical celebrity, however. This is because Mr.
              O’Leary is known for being a Shark on the TV show Shark Tank whereby
              Sharks make investments in startups. With those investments comes due
              diligence. Mr. O’Leary’s endorsement of FTX certainly makes it seem that he
              did appropriate due diligence into FTX, when obviously, whatever due
              diligence that he did was grossly inadequate.

                 Mr. O’Leary appears to admit that his own due diligence was inadequate,
              and that he relied on the due diligence of others:

                  “I obviously know all the institutional investors in this deal. We all look like
                  idiots. Let’s put that on the table. We relied on each other’s due diligence,
                  but we also relied on another investment theme that I felt drove a lot of
                  interest in FTX[:] Sam Bankman-Fried is an American. His parents are


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                  American compliance lawyers. There were no other [large] American
                  exchanges to invest in if you wanted to invest in crypto as an infrastructure
                  play.” 130

                 Mr. O’Leary is also a strategic investor in Canada’s largest cryptocurrency
              exchange, ‘WonderFi.’ The name is derived from Mr. O’Leary’s nickname,
              ‘Mr. Wonderful.’ Mr. O’Leary’s involvement in WonderFi could naturally lead
              one to believe that he knew how to perform adequate due diligence on
              exchanges, and that he would do so on FTX before investing and acting as a
              brand ambassador.

          250.    Based upon the information that has been released by FTX’s new CEO John Ray

   as part of the company’s bankruptcy filings, it is clear that anyone who bothered to spend 20

   minutes reviewing FTX’s operations pre-collapse would have identified significant red flags. In

   his first day pleading in support of FTX’s chapter 11 petitions, Mr. Ray noted:

          “Never in my career have I seen such a complete failure of corporate controls and
          such a complete absence of trustworthy financial information as occurred here.
          From compromised systems integrity and faulty regulatory oversight abroad, to the
          concentration of control in the hands of a very small group of inexperienced,
          unsophisticated and potentially compromised individuals, this situation is
          unprecedented.” 131

          251.    Mr. Ray’s pleading contains a number of troubling findings, among them, (1) FTX

   did not have centralized control of its cash; (2) FTX had no dedicated human resources department,

   which has hindered Mr. Ray’s team from preparing a complete list of who worked for the FTX

   Group; (3) there was a lack of disbursement controls that resulted in employees submitting

   payment requests via on-line chat and these requests being approved by managers responding with

   personalized emojis; (4) corporate funds were used to purchase homes and personal items for


   130
      Kevin O’Leary Says FTX Collapse Makes Him and Other Investors in the Crypto Exchange
   ‘Look Like Idiots’, Daily Hodl (Dec. 9, 2022), https://dailyhodl.com/2022/12/09/kevin-oleary-
   says-ftx-collapse-makes-him-and-other-investors-in-the-crypto-exchange-look-like-idiots/.
   131
       Declaration of John J. Ray III in Support of Chapter 11 Petitions and First Day Pleadings ¶¶ 5,
   In re FTX Trading LTD, No. 22-11068, (Bankr. D. Del. Nov. 17, 2022), ECF No. 24, https://pacer-
   documents.s3.amazonaws.com/33/188450/042020648197.pdf.


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   employees, and; (5) there was a lack of books and records and an absence of lasting records of

   decision-making.

          252.    It is hard to imagine that anyone who did business with FTX, including paid

   endorsers, would not have personally witnessed one or more of the deficiencies identified by Mr.

   Ray. All FTX endorsers have extensive business dealings beyond FTX and surely would be able

   to identify business practices that are unusually problematic.

          253.    Furthermore, many customers were not opting to use FTX because of who their

   investors were. Instead, many customers relied on the testimonials of paid celebrity endorsers and

   these celebrities knew why they were being compensated. Indeed, the whole point behind paying

   celebrities to endorse a product is to increase sales.

          254.    Thus, celebrities like Mercedes F1 have a moral and legal obligation to know that

   what they are promoting is unlikely to cause physical or financial damage to customers.

          255.    In addition to the conduct of Sam Bankman-Fried, as described in this Complaint,

   some of the biggest names in sports and entertainment have either invested in FTX or been brand

   ambassadors for the company. A number of them hyped FTX to their social media fans, driving

   retail consumer adoption of the FTX Platform.

          256.    In March 2021, FTX became the first company in the crypto industry to name an

   arena. This helped lend credibility and recognition to the FTX brand and gave the massive fanbase

   of basketball exposure to the FTX Platform.

          257.    FTX’s explanation for using stars like Tom Brady and Gisele Bunchden and sports

   teams like Merecdes F1 was no secret. “We’re the newcomers to the scene,” said then-FTX.US

   President Brett Harrison, referring to the crypto services landscape in the U.S. “The company

   needs to familiarize consumers with its technology, customer service and offerings, while




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   competing with incumbents like Coinbase Global Inc. or Kraken . . . . We know that we had to

   embark on some kind of mass branding, advertising, sponsorship type work in order to be able to

   do that . . . .”132

           258.    In other words, the FTX Group needed celebrities and well known sports teams like

   Mercedes F1 to continue funneling investors into the FTX Ponzi scheme and to promote and

   substantially assist in the sale of unregistered securities, including the YBAs. Below are

   representative statements and advertisements Mercedes F1 made to drive the offers and/or sales of

   the YBAs, which Plaintiff and Class Members will supplement as the case progresses and

   discovery unfolds.

           259.    The promotions should not be viewed in isolation, but rather as a part of a wide-

   ranging conspiracy to promote and sell unregistered securities, including by all of the defendants

   in the FTX MDL, and to aid and abet the FTX Group’s fraud and conversion perpetrated on

   Plaintiffs and the Classes.




   132
      Megan Graham, Tom Brady and Gisele Bündchen to Star in $20 Million Campaign for Crypto
   Exchange, Wall St. J. (Sept. 8, 2021, 12:00 PM ET), https://www.wsj.com/articles/tom-brady-and-
   gisele-bundchen-to-star-in-20-million-campaign-for-crypto-exchange-
   11631116800?mod=article_inline.


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   M.    Mercedes F1’s Role in the Fraud




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          260.    Like each group of defendants in the FTX MDL, Mercedes F1 contributed both to

   the perpetration of the fraud and to the sale of unregistered securities in a vital way.

          261.    Formula One or F1 is the premier class for single-seater open-wheeled racing under

   the “formula” system of races governed by the Fédération Internationale de l'Automobile (“FIA”).

   It is administered by Formula 1 (owned by Liberty Media), which owns the commercial rights.

   Formula One is often labeled the “pinnacle” of motorsports due to the extreme speeds and

   engineering prowess on display. Teams spent as much as $442 million on the competition before

   budget caps were introduced, and teams still regularly spend upwards of $100 million not including

   driver salaries. Top drivers like Mercedes F1’s Lewis Hamilton have salaries of up to $30 million

   per year. Each year, hundreds of millions of people worldwide tune into broadcasts, and tens of

   millions or more follow Formula 1’s or competing teams’ social media accounts. 133

          262.    Mercedes F1 is one of the most successful teams in Formula One history, especially

   in the last decade, with seven consecutive double Drivers’ and Constructors’ World Championship

   titles from 2014 to 2020 followed by an eighth consecutive Constructors’ Championship title in




   133
       See, e.g., Ben Tippett, The Complete Guide to Understanding Formula 1, Defector (April 16,
   2021, 2:33 PM EDT), https://defector.com/the-complete-guide-to-understanding-formula-1;
   Formula 1 Announces TV, Race Attendance and Digital Audience Figures for 2021, Formula 1
   (Feb. 17, 2022), https://www.formula1.com/en/latest/article.formula-1-announces-tv-race-
   attendance-and-digital-audience-figures-for-2021.1YDpVJIOHGNuok907sWcKW.html;
   Drivers, teams, cars, circuits and more – Everything you need to know about Formula 1,
   Formula 1, https://www.formula1.com/en/latest/article.drivers-teams-cars-circuits-and-more-
   everything-you-need-to-know-about.7iQfL3Rivf1comzdqV5jwc.html; Sam Cooper, A
   Beginner’s Guide to Formula One, the Planet’s Fastest, Most Glamorous, and Most
   Exhilarating Motorsport, Business Insider (Aug. 27, 2021, 5:00 AM EDT),
   https://www.insider.com/how-does-formula-one-work-rules-races-grands-prix-explained-2021-8;
   Cleo Abram, Formula 1, Explained for Rookies, Youtube (June 16, 2022),
   https://www.youtube.com/watch?v=SSdsncLXLYs.


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   2021. Mercedes F1 driver Lewis Hamilton shares the driver record of seven World Championship

   titles and holds the record for the most individual race victories. 134

               a) Mercedes F1 Partnered with FTX to Promote Its Platform.

           263.    On September 23, 2021, Mercedes F1 announced via their website and multiple

   social media channels that they were entering into a “long-term partnership” with FTX to “span

   multiple race seasons.” Per the terms of this agreement, “the FTX logo [would be] featured

   prominently on both the cars and the drivers,” in addition to “the team’s fleet of Mercedes-Benz

   trucks, in the garage, and on all Partner logo displays in the trackside hospitality and

   communications facilities.” The agreement also included “access to Mercedes-AMG Petronas

   Formula One Team members, including drivers Lewis Hamilton and Valterri Bottas” (and later

   George Russell) and plans for future “strategic initiatives together such as the integration of FTX

   Pay, an NFT collection, and corporate social responsibility initiatives.” As part of the deal,

   Mercedes F1 also promoted FTX via social media, including Twitter (now “X”), Facebook, and

   other platforms. 135




   134
       See, e.g., Our Team, Mercedes F1 https://www.mercedesamgf1.com/team (last visited Nov.
   16, 2023); Drivers, teams, cars, circuits and more – Everything you need to know about Formula
   1, Formula 1, https://www.formula1.com/en/latest/article.drivers-teams-cars-circuits-and-more-
   everything-you-need-to-know-about.7iQfL3Rivf1comzdqV5jwc.html (last visited Nov. 16,
   2023).
   135
       Website Partnership Announcement, supra note 3; see also, e.g., Mercedes F1
   (@MercedesAMGF1), Twitter (Sept. 23, 2021, 10:00 AM),
   https://twitter.com/MercedesAMGF1/status/1441039827151978497; Mercedes F1
   (@MercedesAMGF1), Twitter (Sept. 23, 2021, 10:16 AM),
   https://twitter.com/MercedesAMGF1/status/1441043700239450114; Mercedes-AMG Petronas
   F1 Team, Facebook (Sept. 23, 2021, 10:00 AM),
   https://www.facebook.com/MercedesAMGF1/photos/a.270107047410/10158747026472411;
   Mercedes F1,
   https://web.archive.org/web/20210924000111/https://www.mercedesamgf1.com/en/ (large
   banner at top of home page).


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          264.    The goal of this partnership was “to further expand the reach of the FTX brand to

   Formula One’s global fan base through marketing initiatives.” 136

          265.    In an official statement accompanying the partnership announcement, Toto Wolff

   (Team Principal and CEO) called FTX “one of the world’s leading cryptocurrency exchanges,”

   whose “innovative spirit and creative energy in such a rapidly developing global industry make

   them a well-matched partner in our own relentless pursuit of performance.” Wolff further stated

   that the partnership would enable “new and exciting opportunities to engage with our fans.” 137

          266.    In exchange for those services, Mercedes F1 received substantial compensation.

   Mercedes F1 did not disclose the form or number of payments received under their agreement(s)

   to the public when promoting FTX.

          267.    By September 24, 2021, Mercedes F1 had listed FTX as a “partner” on their

   website, with a dedicated page promoting FTX and providing a link to download FTX. On this

   page, Mercedes F1 claimed that “[a]s the first-ever Cryptocurrency Exchange Partner of the

   Mercedes-AMG Petronas Formula One Team, FTX will be enabling motorsport fans to experience

   and leverage the power of crypto through a variety of forward thinking product offerings provided

   by FTX, such as: Trade crypto with ease through the FTX App[;] Buy, sell and create NFTs using

   the FTX NFT marketplace[;] Pay for everyday purchases with crypto through FTX Pay[;] Trade

   traditional stocks[.] FTX is much more than a crypto exchange at its core — it operates on the

   foundational pillars of continuous product development, advancement, transparency and




   136
       Website Partnership Announcement, supra note 3.
   137
       Website Partnership Announcement, supra note 3; see also, e.g., Mercedes F1
   (@MercedesAMGF1), Twitter (Sept. 23, 2021, 11:00 AM),
   https://twitter.com/MercedesAMGF1/status/1441054808723496964.


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   simplicity, all while striving to maximize the positive impact on our world. Mercedes AMG

   Petronas Formula 1 and FTX Crypto. You In?” 138

           268.    The “You In?” language at the end of this promotion marks it as part of FTX’s

   “You In?” campaign, wherein FTX recruited a variety of sports and entertainment figures to

   promote FTX by stating or implying that said figures were “in on,” i.e., investing in FTX, and so

   viewers should be too. 139

           269.    Throughout the course of its partnership with FTX, Mercedes F1 and associated

   individuals provided services in accordance with their agreements and their own financial interests.

   For example, they posted on social media, appeared in images and videos used to promote FTX,

   and made personal appearances at FTX events. Representative examples of their promotions of

   FTX are below. Due to the sheer amount of even publicly available material, only a small subset

   is provided; further examples may be found via the links and instructions in the following

   footnote. 140


   138
       FTX, Mercedes F1: Partners (Sept. 24, 2021),
   https://web.archive.org/web/20210924153811/https:/www.mercedesamgf1.com/en/partners/ftx/.
   139
       See In re: Cryptocurrency Exchange Collapse Litigation, No. 23-md-03076, ECF No. 179
   ¶¶ 8, 286, 301, 330, 377, 395, 415, 502, 526, 567, 610 (S.D. Fla. Aug. 11, 2023) (documenting
   various celebrities’ appearance in FTX’s “You In?” campaign).
   140
       For official Mercedes F1 tweets, go to X, https://twitter.com/explore on a web browser, input
   the following in the search bar at the top, and then search by “latest” just under the search bar:
   (from:MercedesAMGF1) (@FTX_Official OR FTX OR FTX's OR @FTX_Official's OR
   cryptocurrency OR crypto or cryptocurrency's OR crypto's). For official FTX tweets, use the
   following search terms: (@MercedesAMGF1 OR Mercedes OR F1 OR "formula one" OR
   "formula 1" OR racing OR racecar OR "race car" OR AMGF1) (from:FTX_Official). To find
   responsive posts on the official Mercedes F1 Facebook page, go to
   https://www.facebook.com/MercedesAMGF1/ on a web browser, log in to reveal the search
   button on the right side below the main account picture, and input the same keywords. Mercedes
   F1’s official TikTok account is @mercedesamgf1 https://www.tiktok.com/@mercedesamgf1,
   and FTX’s official account is @ftx-official, https://www.tiktok.com/@ftx_official. While
   TikTok does not feature similar search mechanisms, both FTX and Mercedes F1 posted videos
   relating to the partnership on TikTok. See, e.g., Mercedes F1 (@mercedesamgf1), Tiktok (May



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          270.    Throughout the course of Mercedes F1’s partnership with FTX, FTX made

   numerous posts across platforms promoting FTX by showcasing its logo on Mercedes F1 cars,

   team members’ clothing or other gear, merchandise, and elsewhere, often while tagging FTX.

          271.    In addition to Mercedes F1’s own posts that specifically set out to promote FTX,

   these logo placements would have been visible to those viewing Formula 1 races, Mercedes F1

   content, or even just fans wearing merchandise in public.

          272.    These promotions via logo placement and tagging implicitly promoted FTX (and

   by extension FTT and YBAs) as a mainstream, trustworthy brand and product.

          273.    For example, on September 24, 2021, Mercedes F1 tweeted three times showing

   the FTX logo on the cars in various positions, tagging FTX, and including emojis indicating

   approval. One of these posts included a short video of someone peeling protective plastic off one

   of the logo placements. 141



   7, 2022), https://www.tiktok.com/@mercedesamgf1/video/7095081070445579525; Mercedes F1
   (@mercedesamgf1), Tiktok (May 12, 2022),
   https://www.tiktok.com/@mercedesamgf1/video/7096824816451210502; FTX (@ftx_official),
   Tiktok (May 9, 2022), https://www.tiktok.com/@ftx_official/video/7095834464932334894;
   FTX (@ftx_official), Tiktok (May 6, 2022),
   https://www.tiktok.com/@ftx_official/video/7094639095237938474. The search functionality on
   Instagram is likewise limited, but both Mercedes F1 and FTX also posted relevant images and
   videos there. See, e.g., MercedesF1 (@mercedesamgf1), Instagram (Aug. 21, 2022),
   https://www.instagram.com/p/Chhx-muIayU/; FTX (@FTX_Official), Instagram (May 9, 2022),
   https://www.instagram.com/p/CdWbyspur5P/. The same goes for LinkedIn. See, e.g., Mercedes
   F1, George Reveals His Special FTX x MBSJQ Helmet, LinkedIn (2022),
   https://www.linkedin.com/posts/mercedes-amg-petronas-formula-one-team_george-reveals-his-
   special-ftx-x-mbsjq-helmet-activity-6948601495118393344-7El8/; FTX, LinkedIn (2022),
   https://www.linkedin.com/posts/ftx_2022-season-you-ready-we-are-mercedes-amg-activity-
   6900973105141968896-sH0i/. As far as counsel has been able to ascertain, Mercedes F1 posted
   content similar to their tweets across their social media channels.
   141
       Mercedes F1 (@MercedesAMGF1), Twitter (Sept. 24, 2021, 7:29 AM),
   https://twitter.com/MercedesAMGF1/status/1441364196218707972; Mercedes F1
   (@MercedesAMGF1), Twitter (Sept. 24, 2021, 4:35 AM),
   https://twitter.com/MercedesAMGF1/status/1441320476941316110; Mercedes F1



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   (@MercedesAMGF1), Twitter (Sept. 24, 2021, 3:11 PM),
   https://twitter.com/MercedesAMGF1/status/1441480311552892928.


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          274.    On May 6, 2022, Mercedes F1 tweeted a close-up of the FTX logo, below which

   was the word “forever,” on the rear wing of their car at FTX Off the Grid. The post tagged FTX

   and stated, “Yeah. This is slick. �” 142




   142
      Mercedes F1 (@MercedesAMGF1), Twitter (May 6, 2022, 2:22 PM),
   https://twitter.com/MercedesAMGF1/status/1522643011473227784.


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          275.    The logos on the cars and elsewhere were large and prominently placed (including

   on the nose, cockpit, and rear wing end plates) so that they would be visible in-person, in

   broadcasts, in news articles, and elsewhere. 143




   143
      E.g., Keith Collantine, Mercedes keep logos of crisis-hit crypto brand FTX on their F1 cars in
   Brazil, RaceFans (Nov. 10, 2022), https://www.racefans.net/2022/11/10/mercedes-keep-logos-
   of-crisis-hit-crypto-brand-ftx-on-their-f1-cars-in-brazil/; Mercedes F1 (@MercedesAMGF1),
   Twitter (Mar. 30, 2022, 7:46 AM),
   https://twitter.com/MercedesAMGF1/status/1509134995809619971; Mercedes F1
   (@MercedesAMGF1), Twitter (May 9, 2022, 12:05 PM),
   https://twitter.com/MercedesAMGF1/status/1523695713120624641.


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           276.   The logos on the front of the cockpit were positioned such that it would not only be

   highly visible from the outside, but would be front and center in any video showing the driver’s

   view. 144




   144
      Mercedes F1 (@MercedesAMGF1), Twitter (July 30, 2022, 2:48 PM),
   https://twitter.com/MercedesAMGF1/status/1553452493044162560; FTX (@FTX_Official),
   Twitter (July 30, 2022, 2:49 PM),
   https://twitter.com/FTX_Official/status/1553452825040257024; Mercedes F1
   (@MercedesAMGF1), Twitter (May 14, 2022, 7:58 AM),
   https://twitter.com/MercedesAMGF1/status/1525445345848827904; Mercedes F1
   (@MercedesAMGF1), Twitter (Sept. 23, 2021, 10:00 AM),
   https://twitter.com/MercedesAMGF1/status/1441039827151978497.


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          277.   As examples of FTX promotion through Mercedes F1 drivers’ apparel, on

   September 23, 2021; October 8, 2021; and October 9, 2021; Mercedes F1 tweeted images of Lewis

   Hamilton, Valtteri Bottas, and an unknown individual wearing or holding Mercedes F1 hats with



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   the FTX logo at camera angles that would draw the eye to the logo. The tweets tagged FTX, and

   those including the drivers’ faces also included captions or emojis indicating approval. 145




   145
      Mercedes F1 (@MercedesAMGF1), Twitter (Sept. 23, 2021, 11:59 AM),
   https://twitter.com/MercedesAMGF1/status/1441069691464822784; Mercedes F1
   (@MercedesAMGF1), Twitter (Oct. 8, 2021, 10:58 AM),
   https://twitter.com/MercedesAMGF1/status/1446490063794282517; Mercedes F1
   (@MercedesAMGF1), Twitter (Oct. 9, 2021, 7:42 AM),
   https://twitter.com/MercedesAMGF1/status/1446803263660204033.


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          278.    On merchandise sold to the public, the logo placement was so prevalent and

   noticeable that a recent news article compared the current scene at Formula One events to being

   among “the walking dead” or a “ghost,” stating, “[I]n the racing world, it sometimes appears as if

   the now-defunct crypto exchange [FTX] never went bust at all. . . . [I]ts branding decorated the

   shirts, hats and other merchandise that the racing team [Mercedes F1] sold throughout 2022. Fans



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   have continued to wear the accessories they bought a year ago. The longevity of brand marketing

   is a scary reality for those who took money from crypto sponsors when the market was at its height

   . . . .” 146

              279.   Numerous examples of the persistent use of the FTX logo can be seen on all of the

   social media feeds described above, in addition to outside sources.




   146
      Emily Nicolle, The Ghost of FTX Haunts Formula One, Bloomberg (Oct. 31, 2023, 5:01 PM
   EDT), https://www.bloomberg.com/news/newsletters/2023-10-31/ghost-of-ftx-dead-crypto-
   brands-haunt-formula-one-mlb-nba; see also, e.g., Rick CrossChain (@RickCrosschain), Twitter
   (Sept. 20, 2023, 12:40 PM), https://twitter.com/RickCrosschain/status/1704535912854462855.


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          280.   In turn, FTX, in addition to promoting joint products, regularly cheered on and

   congratulated Mercedes F1 and its associated drivers, creating a rapport and veneer of

   trustworthiness with Mercedes F1 fans by making it seem as if FTX shared Mercedes F1 fans’

   values. This ploy would not have been as effective were it not for Mercedes F1’s parallel

   promotions of FTX. These return promotions by FTX also directly benefited Mercedes F1 by

   leading FTX’s own followers to Mercedes F1 content. 147




   147
      E.g., FTX (@FTX_Official), Twitter (Dec. 12, 2021, 8:04 AM),
   https://twitter.com/FTX_Official/status/1470016621653938177; FTX (@FTX_Official), Twitter
   (Dec. 5, 2021, 2:46 PM), https://twitter.com/FTX_Official/status/1467581118337724420; FTX
   (@FTX_Official), Twitter (Apr. 10, 2022, 11:48 AM)
   https://twitter.com/FTX_Official/status/1513182181329358848.


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          281.   FTX further bolstered its reputation with Mercedes F1 fans by partnering with

   Mercedes F1 to periodically conduct giveaways of Mercedes F1 merchandise. Such merchandise

   generally included the FTX logo and was often signed by Mercedes F1 drivers.

          282.   For example, FTX tweeted about giveaways of hats signed by Lewis Hamilton,

   Valterri Bottas, and George Russell on October 24, 2021; November 15, 2021; December 6, 2021;

   March 25, 2022; and May 23, 2022. 148




   148
      FTX (@FTX_Official), Twitter (Oct. 24, 2021, 12:17 PM),
   https://twitter.com/FTX_Official/status/1452308274573979657; FTX (@FTX_Official), Twitter
   (Nov. 15, 2021, 10:31 AM), https://twitter.com/FTX_Official/status/1460269156369108998;
   FTX (@FTX_Official), Twitter (Dec. 6, 2021, 1:50 PM),
   https://twitter.com/FTX_Official/status/1467929520166551570; FTX (@FTX_Official), Twitter
   (Mar. 25, 2022, 11:13 AM), https://twitter.com/FTX_Official/status/1507375076890480643;
   FTX (@FTX_Official), Twitter (May 23, 2022, 1:49 PM),
   https://twitter.com/FTX_Official/status/1528795333811404800.


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          283.   As another example, in December 2021, FTX held an “FTXmas” sweepstakes

   promotion, whereby “Sam-ta Claus and his team of FTX Elves want to give you the chance to win



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   one of a number of exciting prizes” from FTX-sponsored groups and individuals, including

   Mercedes F1, the Miami Heat, Major League Baseball, the Golden State Warriors, TSM, Kevin

   O’Leary, and the Washington Wizards, among others. The Mercedes package was a “2022

   merchandise pack, including a signed Lewis Hamilton cap.” The sweepstakes was accompanied

   by a visual of Sam Bankman-Fried dressed as Santa Claus. 149




   149
      FTXmas Sweepstakes (Dec. 22, 2021),
   https://web.archive.org/web/20211222161343/https://sweepstakes.ftx.us/ftxmas; FTX
   (@FTX_Official), Twitter (Dec. 22, 2021, 11:07 AM),
   https://twitter.com/FTX_Official/status/1473686647481016320.


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           284.    On February 17, 2022, Mercedes F1 announced that fans could now use FTX Pay

   to buy merchandise on its website using money deposited in FTX, further bolstering FTX’s image

   as a credible place to store and trade assets. 150




   150
      Mercedes F1 (@MercedesAMGF1), Twitter (Feb. 16, 2022, 1:45 PM),
   https://twitter.com/MercedesAMGF1/status/1494020122436153359; see also FTX
   (@FTX_Official), Twitter (Mar. 18, 2022),
   https://twitter.com/FTX_Official/status/1504890130661888002.


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          285.    On or before February 27, 2022, Toto Wolff defended against criticisms about the

   unsustainability of cryptocurrency, stating, “[Y]ou can’t shut yourself down to modern technology.

   It is definitely an area that will grow. I think when we are looking back in 10 years time having

   made payments that take two days and can’t be done outside of week hours, it is something that is

   going to be a relic of the past and this is where cryptocurrency has come in. . . . [Crypto firms]

   have become a major player in the financial world and obviously seek exposure through Formula

   1. We all benefit from it . . . . For me, it was fascinating to understand crypto exchanges. FTX is a




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   crypto exchange handling billions of transactions every day so that is something that you can’t

   stop and you have to do it right. We are certainly a good sparring partner for them in terms of

   sustainability targets.” 151

           286.    On April 28, 2022, Mercedes F1 launched two exclusive NFT collections in

   partnership with FTX, the “Hyperprism” and “the MDJ Racing Garage” Mad Dog Jones Collection

   and the “ticket stub” Race Collection. The main website for this project was under Mercedes F1’s

   name. The Mad Dog Jones Collection was auctioned off while the “ticket stub” Race Collection

   was billed as “free.” Minting or even just bidding on F1 NFTs required users to sign up for FTX

   and deposit funds into their account necessary to cover their bid (if applicable) and any associated

   transaction costs. 152




   151
       Topher Smith, Wolff Responds to Criticism Over Cryptocurrency Deals, GP Fans (Mar. 3,
   2022), https://www.gpfans.com/en/f1-news/76843/wolff-responds-to-criticism-over-
   cryptocurrency-deals/; Dieter Rencken, How Crypto Has Become F1’s Latest Sponsorship
   Addiction, Racing News 365 (Feb. 27, 2022, 9:00 AM), https://racingnews365.com/how-crypto-
   has-become-f1s-latest-sponsorship-addiction.
   152
       See Mercedes AMG Petronas x NFTs (May 2, 2022),
   https://web.archive.org/web/20220502150438/https:/www.nftmercedesamgf1.com/; FTX and the
   Mercedes F1 Team Launch Innovative New Era of Fan Collectibles, Mercedes F1 (May 3,
   2022),
   https://web.archive.org/web/20220503134317/https:/www.mercedesamgf1.com/en/news/2022/0
   4/ftx-mercedes-amgpetronas-f1-team-launch-innovative-new-era-fan-collectibles/; Mercedes F1
   (@MercedesAMGF1), Twitter (Apr. 28, 2022, 12:09 PM),
   https://twitter.com/MercedesAMGF1/status/1519710478515286016; Mercedes F1
   (@MercedesAMGF1), Twitter (May 8, 2022, 9:38 AM),
   https://twitter.com/MercedesAMGF1/status/1523296352448430080.


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           287.    These were the first of many NFT collaborations with FTX. Mercedes F1 continued

   to release NFTs as part of the Mad Dog Jones Collection (at least eleven NFTs in total) and the

   Race Collection (at least twenty-one NFT designs in total, with new designs for each race and a

   thousand or more NFTs per design). 153 Mercedes F1 also launched the “Superhuman” MBSJQ

   Collection (at least three NFTs in total) starting July 1, 2022. 154




   153
       See Mercedes-AMG Petronas x NFTs (Nov. 9, 2022),
   https://web.archive.org/web/20221109182038/https:/www.nftmercedesamgf1.com/; Hyperprism
   (Nov. 9, 2022),
   https://web.archive.org/web/20220929141934/https://www.nftmercedesamgf1.com/hyperprism;
   The Race Collection (Nov. 9, 2022),
   https://web.archive.org/web/20221109181954/https://www.nftmercedesamgf1.com/the-race-
   collection.
   154
       See Super Human (Nov. 9, 2022),
   https://web.archive.org/web/20221109182015/https://www.nftmercedesamgf1.com/super-
   human; Mercedes F1 (@MercedesAMGF1), Twitter (July 1, 2022, 6:01 AM),
   https://twitter.com/MercedesAMGF1/status/1542810631551713281.


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          288.   The NFT collaborations continued until FTX declared bankruptcy, and were

   repeatedly promoted on social media, sometimes multiple times a day.




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          289.    For example, on July 1, 2022, alone, Mercedes F1 posted four separate times to

   promote its collaborative NFTs. 155




   155
      Mercedes F1 (@MercedesAMGF1), Twitter (July 1, 2022, 6:01 AM),
   https://twitter.com/MercedesAMGF1/status/1542810631551713281; Mercedes F1
   (@MercedesAMGF1), Twitter (July 1, 2022, 7:40 AM),
   https://twitter.com/MercedesAMGF1/status/1542835532174168065; Mercedes F1
   (@MercedesAMGF1), Twitter (July 1, 2022, 10:37 AM),
   https://twitter.com/MercedesAMGF1/status/1542879974096527360; Mercedes F1
   (@MercedesAMGF1), Twitter (July 1, 2022, 2:30 PM),
   https://twitter.com/MercedesAMGF1/status/1542938588605726726.


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          290.   Mercedes’ last collaborative NFT promotion took place only three days before FTX

   declared bankruptcy, on November, 8, 2022. 156


   156
      Mercedes F1 (@MercedesAMGF1), Twitter (Nov. 8, 2022, 8:01 AM),
   https://twitter.com/MercedesAMGF1/status/1589966347114627076.


                                                151
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          291.    Mercedes F1 encouraged buy-in for NFTs by promising various benefits, including

   “real world experiences, physical objects, digital art, and more,” noting that Mercedes F1 and FTX

   “are still discovering the unique ways NFTs can be used.” 157 For auctioned NFTs in particular,

   Mercedes F1 also encouraged buy-in by tying them to exclusive physical goods, including signed


   157
      See Mercedes AMG Petronas x NFTs (May 2, 2022),
   https://web.archive.org/web/20220502150438/https:/www.nftmercedesamgf1.com/ (FAQ:
   “What is an NFT?”; “What are NFTs used for?”).


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   racecar helmets, pieces of racecars, and limited edition life-size and 1:8 scale models of racecars;

   and by purporting to donate the proceeds to charity. 158




   158
     See FTX and the Mercedes F1 Team Launch Innovative New Era of Fan Collectibles,
   Mercedes F1 (May 3, 2022),



                                                   153
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   https://web.archive.org/web/20220503134317/https:/www.mercedesamgf1.com/en/news/2022/0
   4/ftx-mercedes-amgpetronas-f1-team-launch-innovative-new-era-fan-collectibles/; Mercedes-
   AMG Petronas x NFTs (Nov. 9, 2022),
   https://web.archive.org/web/20221109182038/https:/www.nftmercedesamgf1.com/ (listing the
   physical tie-ins and charities for each collection on their respective pages).


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          292.   At least one goal of the NFT collaborations was to increase traffic to and deposits

   in FTX and associated apps. In order to bid on or otherwise “mint” NFTs, users were required to




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   sign up for FTX and deposit money into their accounts sufficient to cover any bids or transaction

   fees. 159 Any money not actually used would stay in customers’ FTX accounts until withdrawn.

            293.   NFTs purchased or otherwise obtained through FTX themselves effectively

   remained in customers’ FTX wallets. The Mercedes F1 NFT website told users that “A crypto

   wallet is a secure place where your private key is stored. Think of it as your privately owned

   address on the internet. When you create an account with FTX.US, a digital wallet is created for

   you. NFTs are stored on the decentralized blockchain, and your private key acts as your address

   from which to send and receive NFTs and cryptocurrencies like Bitcoin and Ether.” 160

            294.   FTX’s crypto wallets were not in fact “secure” or “privately owned,” as detailed

   above.

            295.   Once users had signed up for FTX in order to buy or access the NFTs and associated

   benefits, they were more likely to invest in FTX, FTT, and/or YBAs for other purposes. Thus,

   Mercedes’ promotion of the collaborative NFTs inherently promoted FTX, FTT, and/or YBAs.

            296.   In relation to the launch of the NFTs, Richard Sanders, Commercial Director of

   Mercedes F1, stated, “Finding new and innovative ways to engage with our global fanbase is a key

   priority for the team. Alongside FTX, we are thrilled to launch our 2022 collection of NFTs created

   by some of the world’s most talented artists, starting with Mad Dog Jones. Collecting memorabilia

   has always been a huge part of following your favourite sports team and we’re excited to create




   159
       See Mercedes AMG Petronas x NFTs (May 2, 2022),
   https://web.archive.org/web/20220502150438/https:/www.nftmercedesamgf1.com/ (FAQ:
   “What should I do to prepare for the drop?; Can I connect my wallet to mint these NFTs?”)
   160
       See Mercedes AMG Petronas x NFTs (May 2, 2022),
   https://web.archive.org/web/20220502150438/https:/www.nftmercedesamgf1.com/ (FAQ:
   “What is a crypto wallet?”)


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   these genuinely cool digital collectibles that will also unlock new ways for fans to be closer to the

   Mercedes-AMG Petronas F1 team.” 161

          297.    Avi Dabir, Vice President of Business Development at FTX, added “The Mercedes-

   AMG Petronas F1 Team is known for innovating and pushing the limits in their sport and the

   upcoming NFT collections reflect that ethos. FTX is excited to collaborate with the team on this

   auction connecting unique NFT artwork with a key component of Lewis' and George's Miami cars

   in a first for the team and sport. We hope this exclusive collection along with all the exciting events

   we have planned in Miami for race week will be an amazing experience for NFT collectors and

   long time F1 fans who want to be a part of racing history.” 162

          298.    The NFT collections were reportedly conceived at a “casual conversation at dinner”

   between Mercedes F1 and FTX Officials at the Austin Grand Prix in October 2021. 163

          299.    On May 3, 2022, FTX hosted a “spaces” on Twitter with members of the Mercedes

   F1 team to discuss their NFT and real-life collaborations. 164 Twitter “spaces” allow celebrities to

   interact directly with fans via live audio conversations. This makes them a highly effective way to

   build rapport and make promotions appear more genuine. 165


   161
       FTX and the Mercedes F1 Team Launch Innovative New Era of Fan Collectibles, Mercedes
   F1 (May 3, 2022),
   https://web.archive.org/web/20220503134317/https:/www.mercedesamgf1.com/en/news/2022/0
   4/ftx-mercedes-amgpetronas-f1-team-launch-innovative-new-era-fan-collectibles/.
   162
       Id.
   163
       Lou Frangella, LinkedIn (2022), https://www.linkedin.com/posts/lfrangella_what-if-we-put-
   an-nft-on-the-mercedes-car-activity-6925537598073376770-kZu4/ (post by former FTX VP of
   Partnerships).
   164
       FTX (@FTX_Official), Twitter (May 13, 2022, 1:04 PM),
   https://twitter.com/FTX_Official/status/1525205288231501827.
   165
       Twitter Spaces, Spaces is here, let’s chat, Twitter Blog (May 3, 2021),
   https://blog.twitter.com/en_us/topics/product/2021/spaces-is-here (“Spaces encourages and
   unlocks real, open conversations on Twitter with the authenticity and nuance, depth and power
   only the human voice can bring.”).


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          300.    Starting in or before April 2022, Mercedes F1 and FTX paid for ads in the Miami

   International Airport encouraging fans to use FTX and describing it as “[t]he safe and easy way to

   trade NFTs and crypto.” 166




   166
      Mercedes (@MercedesAMGF1), Twitter (May 3, 2022, 7:11 PM),
   https://twitter.com/MercedesAMGF1/status/1521628441027751937; Red Racer Books
   (@RedRacerBooks), Twitter (Apr. 30, 2022, 6:26 PM),
   https://twitter.com/RedRacerBooks/status/1520530179822690305; 810 credit score (@laru_eth),
   Twitter (May 6, 2022, 6:24 AM), https://twitter.com/laru_eth/status/1522522796781453312.


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           301.    On May 6–8, 2022 (coinciding with the race weekend of the first-ever Miami Grand

   Prix), 167 Mercedes partnered with FTX, IWC Schaffhaussen, and the City of Miami Beach to put

   on an event labeled “FTX Off the Grid,” which was described as “an unparalleled three-day series

   of unique and immersive experiences at the intersection of crypto, culture, and cars[,]” with

   “165,000 Sq ft of interactive experiences and all-day entertainment . . . [,] a Mercedes-AMG

   Petronas F1 car cruise down Ocean Drive . . . [, a] stage show . . . [,] curated food and drinks. . . [,]

   FTX experiences, NFT gallery, gaming lounge, car displays, IWC Roadshow, merch store and



   167
       United States 2022: 06–08 May, F1, https://www.formula1.com/en/racing/2022/Miami.html
   (last visited Nov. 14, 2023); Our Story, Formula 1 Crypto.com Miami Grand Prix,
   https://f1miamigp.com/history/ (last visited Nov. 16, 2023.


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   more.” The “NFT Art Galleries & Creation Stations” were detailed as “[c]onnecting fans to the

   FTX and blockchain ecosystem [and giving] guests . . . unrivaled access to create, discover, and

   purchase NFTs all throughout the event. The event also features a collection of unique one-of-one

   NFTs for purchase by a local artist. Guests can also create their own NFTs, which can be minted

   and pressed onto swag on-site for an unforgettable takeaway.” 168




   168
       FTX, FTX Off the Grid Announces Upcoming Miami Beach Race Weekend Festival | May 6–
   8, 2022, PR Newswire (Apr. 12, 2022), https://www.prnewswire.com/news-releases/ftx-off-the-
   grid-announces-upcoming-miami-beach-race-weekend-festival-may-6-8-2022-301523457.html;
   FTX Off the Grid (May 6, 2022),
   https://web.archive.org/web/20220506075852/https:/ftxoffthegrid.com/; see also, e.g., Mercedes
   F1 (@MercedesAMGF1), Twitter (Apr. 29, 2022, 11:45 AM),
   https://twitter.com/MercedesAMGF1/status/1520066865996914689; Mercedes F1
   (@MercedesAMGF1), Twitter (May 7, 2022, 8:45 AM),
   https://twitter.com/MercedesAMGF1/status/1522920554235412483; Mercedes F1
   (@MercedesAMGF1), Twitter (May 6, 2022, 7:30 AM),
   https://twitter.com/MercedesAMGF1/status/1522539308271513601; Mercedes F1, Donuts and
   Burnouts on Ocean Drive in Miami (May 10, 2022);
   (https://www.youtube.com/watch?v=8L_lO-b514g).


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          302.   FTX Off the Grid also included a large-scale drone light show hyped as “taking

   over the skies above Miami Beach,” with images of cars, the FTX logo, and a QR code that let




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   guests claim an NFT, cementing the image of FTX as a reputable Mercedes partner that was the

   wave of the future. 169




   169
      Mercedes F1 (@MercedesAMGF1), Twitter (May 6, 2022, 8:27 PM),
   https://twitter.com/MercedesAMGF1/status/1522734770555432961 (“Taking over the skies
   above Miami Beach this Friday night. �� Watch the @FTX_Official Off the Grid Drone Show
   LIVE now �”); Mercedes F1 (@MercedesAMGF1), Twitter (May 8, 2022, 7:25 AM),
   https://twitter.com/MercedesAMGF1/status/1523262687563718657 (includes video clip of
   show); Lou Frangella, LinkedIn, https://www.linkedin.com/posts/lfrangella_ftx-off-the-grid-
   activity-6930905120851288064-MFhN/ (post by former VP of Partnerships at FTX).


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          303.   Lewis Hamilton made a special appearance at FTX Off the Grid, backlit by a giant

   neon FTX logo. 170 Counsel has not been able to recover his remarks but they may be available in

   discovery.




   170
       Mercedes F1 (@MercedesAMGF1), Twitter (May 8, 2022, 5:37 AM),
   https://twitter.com/MercedesAMGF1/status/1523235721913511937 (includes video clip); FTX
   (@FTX_Official), Twitter (May 9, 2022, 4:18 PM),
   https://twitter.com/FTX_Official/status/1523759421385756672.


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          304.   Sam Bankman-Fried expounded how FTX Off the Grid was born of a desire “to

   capitalize on the hype” surrounding “Formula 1 coming to Miami[, which] will signal the start of

   a US racing experience unlike any other. With Miami at the forefront of crypto and FTX leading

   the charge, it was the natural next step for FTX to . . . create something truly unique in Miami

   Beach.” 171 FTX Off the Grid thus furthered FTX’s façade as a reputable company by showcasing

   FTX’s ability to put on a massive event in close partnership with a major motorsports team.




   171
       FTX, FTX Off the Grid Announces Upcoming Miami Beach Race Weekend Festival | May 6–
   8, 2022, PR Newswire (Apr. 12, 2022), https://www.prnewswire.com/news-releases/ftx-off-the-
   grid-announces-upcoming-miami-beach-race-weekend-festival-may-6-8-2022-301523457.html.


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           305.    The event also more directly drove traffic to FTX. The event website included a

   link to download the FTX app and encouraged fans to do so in order to claim a “free NFT ticket”

   to get “fast track access, exclusive upgrades, gifts and the chance to win free concert tickets.” 172

   After the event, the website clarified that that the holders of the NFT tickets had the chance to win

   a cap signed by Lewis Hamilton. 173

           306.    Toto Wolff explained the team’s enthusiasm for the project: “We’re excited to be

   collaborating with FTX Off The Grid over the Miami weekend. As the sport continues to develop

   in the US, it's fantastic that FTX, with their inherent creativity and spirit of innovation, are seizing

   this opportunity to elevate the fan experience with their takeover of Miami Beach.” 174

           307.    On September 1, 2022, Mercedes F1 promoted FTX by responding “Hats off to

   you, @FTX_Official” to an FTX post about a giveaway of a signed Lewis Hamilton hat. Mercedes

   F1 did not clearly disclose its sponsorship relationship. 175




   172
       FTX Off the Grid (May 6, 2022),
   https://web.archive.org/web/20220506075852/https:/ftxoffthegrid.com/.
   173
       FTX Off the Grid (May 16, 2022),
   https://web.archive.org/web/20220516182133/https://ftxoffthegrid.com/.
   174
       FTX, FTX Off the Grid Announces Upcoming Miami Beach Race Weekend Festival | May 6–
   8, 2022, PR Newswire (Apr. 12, 2022), https://www.prnewswire.com/news-releases/ftx-off-the-
   grid-announces-upcoming-miami-beach-race-weekend-festival-may-6-8-2022-301523457.html.
   175
       See Mercedes F1 (@ MercedesAMGF1), Twitter (Sept. 1, 2022, 1:25 PM),
   https://twitter.com/MercedesAMGF1/status/1565390491784445958.


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          308.    Mercedes F1 and its officials continued friendly relations with FTX until its

   collapse.

          309.    For example, on October 23, 2022, FTX personnel joined for a photoshoot together

   in front of a piece of a Mercedes F1 car and/or Mercedes F1 personnel at the Austin Grand Prix. 176




   176
      Avi (@bringmedabir), Twitter (Oct. 23, 2022, 2:58 PM),
   https://twitter.com/bringmedabir/status/1584257933839241216 (posted by Avinash Dabir,
   FTX’s former Vice President of Business Development)


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          310.      A week later, on or around October 31, 2022 through November 1, 2022, Toto

   Wolff to the FTX Office, where he was warmly welcomed and given a “behind the scenes look

   into FTX.” 177




   177
      Veldez K. Russell (@vkrussell), Twitter (Oct. 31, 2022, 8:08 PM),
   https://twitter.com/vkrussell/status/1587235105180979200; Avi (@bringmedabir), Twitter (Oct.
   31, 2022, 10:48 PM), https://twitter.com/bringmedabir/status/1587275347413766145; Amy Wu
   (@amytongwu), Twitter (Nov. 1, 8:54 AM),
   https://twitter.com/amytongwu/status/1587427851233644545 (post by former head of FTX
   Ventures);.


                                                179
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          311.    On November 10, 2022, amid growing concerns about FTX’s financial soundness,

   Mercedes F1 reassured fans by stating it would keep branding on its cars at the San Paulo Grand

   Prix in Brazil, the penultimate race in the season, to be held on November 13. 178

          312.    A day later, on November 11, 2022, FTX declared bankruptcy. On the same date,

   Mercedes F1 abruptly reversed course and announced it was suspending its partnership with

   FTX. 179

          313.    Post-collapse, Toto Wolff claimed the company was surprised by the downturn,

   stating, “[T]his situation is very unfortunate . . . . We considered FTX because they were one of

   the most credible and solid, financially sound partners that were out there. And out of nowhere,

   you can see that a crypto company can basically be on its knees and gone in one week. That shows

   how vulnerable the sector still is. It’s unregulated, and I believe it needs to find its way into

   regulations because there are so many customers, investors, partners like us that have been left in

   utter disbelief at what has happened.” 180

          314.    On or shortly after November 11, 2022, Mercedes F1 deleted FTX’s “partner” page

   from their website. 181 Mercedes F1 later deleted additional FTX-related content from their




   178
       See, e.g., Mercedes F1 Team evaluating FTX Sponsorship, Branding Stays for Now, Reuters
   (Nov. 10, 2022, 6:15 PM EST), https://www.reuters.com/business/mercedes-f1-team-evaluating-
   ftx-sponsorship-branding-stays-now-2022-11-10/.
   179
       See, e.g., Reuters, Mercedes F1 Team Suspends Partnership with FTX, ESPN (Nov. 11, 2022,
   9:39 AM ET) https://www.espn.com/f1/story/_/id/35001911/mercedes-f1-team-suspends-
   partnership-ftx.
   180
       Jonathan Nobel & Luke Smith, Mercedes F1 team left in “disbelief” over FTX collapse,
   Autosport (Nov. 19, 2022, 9:46 PM), https://www.autosport.com/f1/news/mercedes-f1-team-left-
   in-disbelief-over-ftx-collapse/10400822/.
   181
       See FTX, Mercedes F1 (Nov. 17, 2022),
   https://web.archive.org/web/20221117154316/https://www.mercedesamgf1.com/en/partners/ftx/
   (“Please make a U-turn. The destination you are looking for no longer exists.”)


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   website. 182 While the official Mercedes F1 Twitter and Facebook accounts still contain many FTX

   promotions, Plaintiffs are uncertain whether individuals related to Mercedes F1 or FTX may have

   deleted relevant information, as other celebrity promoters of FTX have done. As a result, discovery

   is likely to uncover many additional, actionable statements.

          315.      Furthermore, certain FTX resources, like its podcast database, are no longer

   publicly accessible through traditional means. These may reveal further actionable statements

   once obtained.

          316.      The overarching objective of the partnership was for Mercedes F1, through a series

   of promotions and media campaigns, to help FTX successfully solicit or attempt to solicit investors

   in FTX’s crypto-related securities from Florida and nationwide.

          317.      As Mercedes F1 expected and understood when entering their partnerships with

   FTX, their promotions would be widely viewed across the world, including in the U.S. and in

   Florida, where they raced and held event(s), and where FTX had its domestic home office.

          318.      Mercedes F1 also knew and intended that their promotions would be disseminated

   to consumers in Florida and elsewhere, not just on their own and FTX’s social media outlets, but

   that said promotions would also be linked, published, and reposted across innumerable media

   outlets on the internet and elsewhere.




   182
     See Please Make a U-Turn, Mercedes F1, https://www.mercedesamgf1.com/news/ftx-and-
   mercedes-f1-team-announce-long-term-partnership (last visited Nov. 17, 2023).


                                                   183
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               b) Mercedes F1 Had Financial Incentives to Induce Class Members to Invest in
                  FTX and to Trust the Platform.

           319.    Mercedes F1 and FTX had a symbiotic relationship. As Toto Wolff explained,

   “Crypto firms have become a major financial player in the financial world and obviously seek

   exposure through Formula 1. We benefit from it . . . .” 183

           320.    Mercedes F1 had every incentive to be an effective promoter of FTX in order to

   continue the sponsorship relationship and continue receiving payment for its services. Given the

   huge expenses associated with running a race team, the standing of teams and drivers is highly

   dependent on not only skill, but their ability to attract and keep paying sponsors. 184 “As with

   tobacco, there are increasing legislative, regulatory and sustainability concerns [regarding

   cryptocurrency sponsors], but given that the combined value of these sponsorships is estimated

   [by some] at $500m, F1 is unlikely to voluntarily turn down what could soon total a billion bucks

   in backing[.]” 185



   183
       Topher Smith, Wolff Responds to Criticism Over Cryptocurrency Deals, GP Fans (Mar. 3,
   2022), https://www.gpfans.com/en/f1-news/76843/wolff-responds-to-criticism-over-
   cryptocurrency-deals/; Dieter Rencken, How Crypto Has Become F1’s Latest Sponsorship
   Addiction, Racing News 365 (Feb. 27, 2022, 9:00 AM), https://racingnews365.com/how-crypto-
   has-become-f1s-latest-sponsorship-addiction.
   184
       See, e.g., Ben Tippett, The Complete Guide to Understanding Formula 1, Defector (April 16,
   2021, 2:33 PM EDT), https://defector.com/the-complete-guide-to-understanding-formula-1
   (“[T]he sport thrives on money, and, since there are only 20 seats to fill, with only a few opening
   up each season, oftentimes it’s the drivers who can command sponsorship who find themselves
   in a seat.”); RacingLines, The Cost of F1 Revealed: How Much Teams Spent in 2018—Part Two,
   RaceFans (Dec. 26, 2018, 12:00), https://www.racefans.net/2018/12/26/the-cost-of-f1-revealed-
   how-much-teams-spent-in-2018-part-two/; George Howson, Do F1 Teams Make Money?, F1
   Chronicle (May 4, 2022), https://f1chronicle.com/do-f1-teams-make-money/, Cleo Abram,
   Formula 1, Explained for Rookies, Youtube, at 7:33–8:36 (June 16, 2022),
   https://www.youtube.com/watch?v=SSdsncLXLYs (explaining how F1 teams run surprisingly
   close to breaking even, but manufacturers invest in them as a form of brand advertisement).
   185
       How Crypto Has Become F1’s Latest Sponsorship Addiction, Racing News 365 (Feb. 27,
   2022, 9:00 AM), https://racingnews365.com/how-crypto-has-become-f1s-latest-sponsorship-
   addiction.


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          321.    FTX’s sponsorship was especially valuable for Mercedes F1 because the

   promotions went both ways, with each promoting the other. F1 teams and their sponsors form a

   symbiotic “ecosystem.” “F1 teams today are not only looking for brands that fit with their image

   and will pay a high sponsorship fee.” Instead, “[i]t’s important” for teams like Mercedes F1 to find

   partners like FTX that are “active in different markets” and “will spend money advertising their

   F1 partnership and activities[, because t]hat in turn promotes the team and all its other sponsors.”

   The more FTX grew and the more it promoted Mercedes F1 to its fans, “the more it br[ought

   Mercedes F1] and its ecosystem to life.” 186

          322.    In addition, Mercedes F1 directly received revenue from its joint NFT projects,

   which required participants to sign up for and put money into FTX.

          323.    The more people Mercedes F1 drove to use FTX generally, the more lucrative their

   NFT projects were likely to be, as people already invested in FTX and NFTs would be more likely

   to buy Mercedes F1-FTX NFTs.

              c) The Promotions Were Deceptive and Unlawful.

          324.    Mercedes F1’s promotions solicited or assisted FTX in soliciting investments in

   unregistered securities by encouraging viewers to invest in FTX, FTT, and/or YBAs.

          325.    Mercedes F1 did not disclose the form or amount of their compensation by FTX for

   promoting the sale of FTX securities.

          326.    Mercedes F1 and its agents made deceptive statements and/or allowed their name

   and likeness to be used in connection with FTX’s deceptive statements in promotions of FTX and

   its products, as detailed above. These deceptive statements included that FTX was “[t]he safe and


   186
      See F1 Sponsorship: Why It’s Easy for Careless Brands to Waste a Lot of Money, Motorsport
   (July 16, 2023), https://us.motorsport.com/f1/news/f1-sponsorship-why-its-easy-for-careless-
   brands-to-waste-a-lot-of-money/10491859/.


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   easy way to trade NFTs and crypto,” that FTX’s “innovative spirit and creative energy in such a

   rapidly developing global industry make them a well-matched partner in our own relentless pursuit

   of performance,” that FTX offered “forward thinking products,” that fans could “[t]rade crypto

   with ease through the FTX app,” that “FTX is much more than a crypto exchange at its core — it

   operates on the foundational pillars of continuous product development, advancement,

   transparency and simplicity, all while striving to maximize the positive impact on our world,” that

   “you can’t shut yourself down to modern technology. [Crypto] is definitely an area that will grow,”

   and that “you can’t stop” FTX. Mercedes F1’s deceptive statements and other promotions, along

   with the entire “You In?” campaign, conveyed the messages that everyone—regardless of

   socioeconomic status—would benefit from using FTX and that FTX was a safe place to invest and

   store assets.

               d) Mercedes F1 Knew or Should Have Known It Was Soliciting or Assisting
                  FTX to Solicit Investments in Unregistered Securities and/or that They Were
                  Aiding and Abetting FTX Group’s Fraud and/or Conversion.

           327.    Given Mercedes F1’s substantial investment experience and vast resources to

   obtain outside advisors, they knew or should have known of potential concerns about FTX selling

   unregistered crypto securities and/or that they were aiding and abetting FTX Group’s fraud and/or

   conversion, especially to millions of their followers. This is especially true in light of the rampant

   mismanagement and myriad red flags that the FTX Group’s regular business practices set off.

           328.    Other organizations and individuals, with presumably more to gain, did find red

   flags at FTX and turned down FTX and/or Sam Bankman-Fried’s money. The nonprofits Our

   World Data and MITRE declined offered gifts of $7.5 million and $485,000, respectively, from




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   the FTX Future Fund due to undisclosed red flags. 187 In addition, CME Group CEO Terry Duffy

   allegedly told SBF that he was “an absolute fraud” upon having an initial conversation with him.188

          329.    In fact, in his post-collapse statements, Toto Wolff acknowledged that the crypto

   sector was “unregulated.” As he, and by extension Mercedes F1, knew or should have known, an

   unregulated sector is inherently risky, such that “out of nowhere, . . . a crypto company can

   basically be on its knees and gone in one week.” 189

          330.    Likewise, Mercedes F1 Commercial Director Richard Sanders told Fast Company

   that he was skeptical of cryptocurrency, stating, “It’s funny, initially, I famously said, ‘We’re not

   going to do a deal with a crypto brand for at least 18 months to two years because we need to let

   things settle down . . . . There’s a lot of hype, and it’d be good to know when the winners are

   clear.’” However, ultimately the team pressed ahead because “if we’re conservative here we’re

   going to end up not having a good deal for Mercedes F1.” Per Fast Company, Sanders indicated

   that the team’s primary concern was “who was the responsible entity if things didn’t go as

   planned.” These comments were made during an interview for a February 7, 2022 article, but not

   specifically quoted until FTX’s collapse on November 11, 2022. 190


   187
       Laura Davison & Sophie Alexander, Sam Bankman-Fried’s Red Flags Were Seen in All
   Corners      of     His     Empire, Moneyweb     (Dec.   1,     2022,     6:39     AM),
   https://www.moneyweb.co.za/moneyweb-crypto/sam-bankman-frieds-red-flags-were-seen-in-
   all-corners-of-his-empire/.
   188
       Stephanie Landsman, CME Group CEO Calls Bankman-Fried ‘an Absolute Fraud,’ Says He
   Saw Trouble Months Before FTX collapse, CNBC (Nov. 22, 2022, 8:57 PM EST)
   https://www.cnbc.com/2022/11/23/absolute-fraud-cmes-terry-duffy-says-he-saw-trouble-before-
   ftx-collapse-.html.
   189
       Jonathan Nobel & Luke Smith, Mercedes F1 team left in “disbelief” over FTX collapse,
   Autosport (Nov. 19, 2022, 9:46 PM), https://www.autosport.com/f1/news/mercedes-f1-team-left-
   in-disbelief-over-ftx-collapse/10400822/.
   190
       Jeff Beer, Mercedes Formula One was skeptical of crypto sponsorships. Now it’s racing to
   drop FTX, Fast Company (November 11, 2022),



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          331.   Mercedes F1 fans had also repeatedly warned Mercedes F1, in comments on their

   FTX promotions, that FTX, cryptocurrency, and NFTs were risky “scams.” 191




   https://www.fastcompany.com/90810200/mercedes-formula-one-crypto-sponsorship-ftx-
   suspended.
   191
       See, e.g., the following posts and attached comments: Mercedes F1 (@MercedesAMGF1),
   Twitter (May 15, 2022, 9:10 AM),
   https://twitter.com/MercedesAMGF1/status/1525825855716577280; George Russell
   (@GeorgeRussell63), Twitter (May 2, 2022, 7:23 AM),
   https://twitter.com/GeorgeRussell63/status/1521088007645892608; Ian Jones (@Jonah_IJ),
   Twitter (August 31, 2022, 1:26 PM), https://twitter.com/Jonah_IJ/status/1565028262367137793;
   @mev202, Twitter (Oct. 26, 2022, 7:49 AM),
   https://twitter.com/mev202/status/1585237250002288640.


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              e) The Promotions Were Directed at Plaintiffs in Florida, and Customers
                 Nationwide.

          332.    Mercedes’s promotions were published on public social media accounts and their

   website, appeared at races and in airport(s), and aired on local and national television broadcasts,

   among other places. They were accessible to plaintiffs nationwide, including in Florida.

          333.    The partnership between FTX and Mercedes F1 specifically targeted Florida

   residents because they jointly put on an extremely large-scale FTX promotion extravaganza in

   Miami, FTX Off the Grid. FTX Off the Grid was timed to coincide with the Miami Grand Prix,

   which Mercedes F1 was racing in, maximizing the attendance of fans from around the United

   States and Florida in particular. Mercedes F1 and FTX also collaborated to put up large-scale

   banners promoting FTX in Miami International Airport, one of the busiest airports in the world

   and one Florida residents commonly frequent.




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   N.      Material Ties to Florida

           334.      The connections to Florida in this consolidated case are numerous.

           335.      As explained above, Mercedes F1 races in the Miami Grand Prix. Coinciding with

   the 2022 Miami Grand Prix, Mercedes F1 and FTX partnered to put on FTX Off the Grid, a multi-

   day extravaganza designed to drive traffic to FTX. Ahead of the event, Mercedes F1 and FTX also

   advertised FTX in the Miami International Airport.

           336.      In addition, according to the Declaration of Dan Friedberg, attached as Exhibit A,

   FTX maintained an office in Miami, Florida, since early 2021, long before FTX eventually

   announced the move of its Domestic headquarters to Brickell in late 2022. Id. ¶ 20. Since early

   2021, FTX’s Miami office was run by Mr. Avinash Dabir, FTX’s Vice President of Business

   Development. Id. Friedberg met with Mr. Dabir often and is very familiar with Mr. Dabir and his

   activities. Id.

           337.      Mr. Dabir, from the Miami office, focused on formulating and executing FTX’s

   important celebrity partnerships. Id. ¶ 21. Mr. Dabir was the senior FTX executive responsible for

   creating, consummating, and implementing deals between FTX and other Partners, such as Major

   League Baseball, the MLB Umpire’s Association, TSM, the Mercedes Formula 1 team, Tom

   Brady, Stephen Curry, the Golden State Warriors, Naomi Osaka, Larry David, and Shohei Ohtani.

   Id. ¶ 23.

           338.      It was Mr. Dabir’s idea to expend significant resources on FTX’s sports and

   celebrity-based partnerships. Id. ¶ 22. Mr. Dabir specifically started by suggesting FTX form a

   Partnership with the Miami Heat and acquire the naming rights to the Miami Arena. Id. FTX

   announced the Partnership in March 2021, which included FTX purchasing the naming rights of

   the Miami Heat stadium for 19 years in a deal worth approximately $135 million. Id.




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           339.    Mr. Dabir deserves much of the credit for the collaboration with Mr. David that

   resulted in the award-winning Super Bowl FTX commercial that aired with the Super Bowl in

   2022. Id. ¶ 24. Crucially, all FTX employees or agents who were involved in the Larry David

   Super Bowl commercial ultimately reported to Avi Dabir, who had final approval of all aspects of

   the commercial from his base of operations in Miami.

           340.    Released on March 31, 2022, Mr. Dabir appeared on the popular cryptocurrency

   podcast The Joe Pomp Show, where he was interviewed by Mr. Pompliano for over half an hour

   on specifically the efforts he undertook and oversaw from his FTX base of operations in Miami,

   Florida, to create, consummate, and implement, among other things, the FTX arena deal and the

   Larry David Superbowl commercial. A transcript of the podcast is attached as Exhibit B.

           341.    Mr. Dabir begins by introducing himself as “Vice President of Business

   Development at FTX, so I handle a lot of our sports partnerships as well as doing some of the

   interesting things in real estate as well.” Ex. B at 2. He then explains that “the end goal” is really

   how does FTX “acquire more users.” Id., at 9. After first acknowledging and agreeing with Mr.

   Pompliano that FTX was at that point the “leaders” in the sports partnership category and that “it

   started with Miami Heat Arena,” Mr. Dabir explained that he led the effort to obtain the FTX

   Arena deal because he “had previously worked at the NBA” and that he identified Miami because

   it had “a great market,” a “multicultural, great team,” and the “Crypto Buzz was like growing here

   in Miami.” Id. at 2–3.

           342.    Mr. Dabir also explained that it was crucial “to get approval from a local

   government, plus the Heat and the NBA who had their own diligence teams looking into” the FTX

   Arena deal because it “really sort of validated not only just FTX but the cryptocurrency industry

   in general.” Id. at 4.




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          343.    Mr. Dabir went into detail about his dealings with Tom Brady and Giselle

   Bündchen and how the individual FTX Brand Ambassador partnership deals worked. Id. at 9.

   Importantly, not only was Mr. Dabir directly involved in negotiating and consummating the

   individual FTX Brand Ambassador partnership deals from his base in Miami, he also explained

   that MDL Defendants Brady and Bündchen were instrumental in bringing other FTX Brand

   Ambassadors into the fold, such as MDL Defendant Curry. Id.

          344.    In addition to coordinating the promoter campaigns from Miami, Florida, FTX

   announced it was moving its official U.S. headquarters from Chicago to Miami in 2022. 192 This

   move happened before FTX declared bankruptcy.

          345.    The promotional campaigns came from the brain trust of FTX in Miami, but many

   of the promotions also took place in Florida as a cryptocurrency hub.

                                  CLASS ACTION ALLEGATIONS

          346.    As detailed below in the individual counts, Plaintiffs bring this lawsuit on behalf of

   themselves and all others similarly situated, pursuant to Rule 23(a), (b)(2), (b)(3), and/or (c)(4) of

   the Federal Rules of Civil Procedure.

   A.     Class Definitions

          347.    Plaintiffs Vozza, Rupprecht, Winter, and Kavuri seek to represent the following

   International Classes and Plaintiffs Orr, Cabo, Henderson, Livieratos, Chernyavsky, Podalsky,

   Shetty, Ezeokoli, Norris, Garrison, and Huang seek to represent the following Classes:




   192
       Cheyenne Ligon, Crypto Exchange FTX Is Moving Its US Headquarters From Chicago to
   Miami,        Coindesk       (May        11,       2023,       2:51       PM       EDT),
   https://www.coindesk.com/business/2022/09/27/crypto-exchange-ftx-is-moving-its-us-
   headquarters-from-chicago-to-miami/.


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                  (1) International Class: All persons or entities residing outside the

                      United States who, within the applicable limitations period,

                      purchased or held legal title to and/or beneficial interest in any

                      fiat or cryptocurrency deposited or invested through an FTX

                      Platform, purchased or enrolled in a YBA, or purchased FTT.

                  (2) Nationwide Class: All persons or entities in the United States

                      who, within the applicable limitations period, purchased or held

                      legal title to and/or beneficial interest in any fiat or

                      cryptocurrency deposited or invested through an FTX Platform,

                      purchased or enrolled in a YBA, or purchased FTT.

   Excluded from the Classes are Mercedes F1 and its officers, directors, affiliates, legal

   representatives, and employees; the MDL Defendants and their officers, directors, affiliates, legal

   representatives, and employees; the FTX Group and their officers, directors, affiliates, legal

   representatives, and employees; any governmental entities, any judge, justice, or judicial officers

   presiding over this matter and members of their immediate family and judicial staff.

          348.    Plaintiffs reserve the right to modify or amend the definition of the proposed

   Classes, or to include additional classes or subclasses, before or after the Court determines whether

   such certification is appropriate as discovery progresses. Plaintiffs seek certification of the Classes

   in part because all offers of the FTX Platform, YBAs and/or FTT to Plaintiffs and the Class

   Members (in which Mercedes F1 materially assisted, substantially participated, and/or personally

   participated) were made by FTX from their principal place of business in Miami, Florida, and thus

   every single offer to sell cryptocurrency, the FTX Platform, YBAs and/or FTT stems from a

   transactional occurrence that emanated from the State of Florida.




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   B.     Numerosity

          349.    The Classes are comprised of thousands, if not millions, of consumers globally to

   whom FTX offered and/or sold cryptocurrency, the FTX Platform, YBAs and/or FTT. Moreover,

   thousands, if not millions, of consumers worldwide have executed trades on the FTX Platform

   within the applicable limitations period. Membership in the Classes are thus so numerous that

   joinder of all members is impracticable. The precise number of class members is currently

   unknown to Plaintiffs but is easily identifiable through other means, such as through FTX’s

   corporate records or self-identification.

   C.     Commonality/Predominance

          350.    This action involves common questions of law and fact, which predominate over

   any questions affecting individual class members. These common legal and factual questions

   include, but are not limited to, the following:

              (a) whether Bankman-Fried, the FTX Insiders, and/or FTX committed fraud;

              (b) whether Mercedes F1 agreed with Bankman-Fried, the FTX Insiders, and/or FTX

                  to commit fraud;

              (c) whether Mercedes F1 had the requisite degree of knowledge of Bankman-Fried’s,

                  the FTX Insiders’, and/or FTX’s fraud;

              (d) whether the FTX Platform, YBAs and/or FTT were unregistered securities under

                  federal, Florida, California, or other law;

              (e) whether Mercedes F1’s participation and/or actions in FTX’s offerings and sales of

                  the FTX Platform, YBAs and/or FTT violated the provisions of applicable

                  securities law;

              (f) the type and measure of damages suffered by Plaintiffs and the Class;



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              (g) whether Mercedes F1’s practices violate the FDUTPA, the California Unfair

                  Competition Law, or other state consumer-protection statutes;

              (h) whether Plaintiffs and Class members have sustained monetary loss and the proper

                  measure of that loss;

              (i) whether Plaintiffs and Class members are entitled to injunctive relief;

              (j) whether Plaintiffs and Class members are entitled to declaratory relief; and

              (k) whether Plaintiffs and Class members are entitled to consequential damages,

                  punitive damages, statutory damages, disgorgement, and/or other appropriate legal

                  or equitable remedies as a result of Mercedes F1’s conduct.

   D.     Typicality

          351.    Plaintiffs’ claims are typical of the claims of the members of the Classes because

   all members were injured through the uniform misconduct described above, namely that Plaintiffs

   and all class members were offered and/or sold FTX’s FTX Platform, YBAs and/or FTT because

   of Mercedes F1’s actions and/or participation in the offering and sale of these unregistered

   securities, that Mercedes F1 aided and abetted the fraud and conversion perpetrated by Bankman-

   Fried, the FTX Insiders, and/or FTX, or that Mercedes F1 agreed with Bankman-Fried, the FTX

   Insiders, and/or FTX to commit fraud. Plaintiffs are advancing the same claims and legal theories

   on behalf of themselves and all such members. Further, there are no defenses available to Mercedes

   F1 that are unique to Plaintiffs.

   E.     Adequacy of Representation

          352.    Plaintiffs will fairly and adequately protect the interests of the members of the

   Class. Plaintiffs have retained counsel experienced in complex consumer and securities class

   action litigation, and Plaintiffs intend to prosecute this action vigorously. Plaintiffs have no adverse



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   or antagonistic interests to those of the Classes. Plaintiffs anticipate no difficulty in the

   management of this litigation as a class action. To prosecute this case, Plaintiffs have chosen the

   undersigned law firms, which have the financial and legal resources to meet the substantial costs

   and legal issues associated with this type of consumer class litigation.

   F.      Requirements of Fed. R. Civ. P. 23(b)(3)

           353.    The questions of law or fact common to Plaintiffs’ and each Class member’s claims

   predominate over any questions of law or fact affecting only individual members of the Classes.

   All claims by Plaintiffs and the unnamed members of the Classes are based on the common course

   of conduct by Mercedes F1 (1) in marketing, offering, and/or selling the FTX Platform, YBAs

   and/or FTT, which are unregistered securities, (2) in receiving secret undisclosed compensation

   for their promotion of the FTX Platform, (3) in aiding and abetting fraud and/or conversion by

   Bankman-Fried, FTX and the FTX Insiders, and/or (4) in agreeing with Bankman-Fried, the FTX

   Insiders, and/or FTX to commit fraud.

           354.    The common course of conduct by Mercedes F1 includes, but is not limited to their

   promotion, offer, sale, solicitation, material assistance, substantial participation in, and/or personal

   participation in the offer or sale of the FTX Platform, YBAs, and/or FTT, and/or their aiding and

   abetting of the FTX Group’s Ponzi scheme, fraud, and/or conversion of billions of dollars of

   customer assets.

           355.    Common issues predominate when, as here, liability can be determined on a class-

   wide basis, even when there will be some individualized damages determinations.

           356.    As a result, when determining whether common questions predominate, courts

   focus on the liability issue, and if the liability issue is common to the Classes as is in the case at

   bar, common questions will be held to predominate over individual questions.



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   G.     Superiority

          357.    A class action is superior to individual actions for the proposed Classes, in part

   because of the non-exhaustive factors listed below:

              (a) Joinder of all Class members would create extreme hardship and inconvenience for

                  the affected customers as they reside nationwide and throughout the state;

              (b) Individual claims by Class members are impracticable because the costs to pursue

                  individual claims exceed the value of what any one Class member has at stake. As

                  a result, individual Class members have no interest in prosecuting and controlling

                  separate actions;

              (c) There are no known individual Class members who are interested in individually

                  controlling the prosecution of separate actions;

              (d) The interests of justice will be well served by resolving the common disputes of

                  potential Class members in one forum;

              (e) Individual suits would not be cost effective or economically maintainable as

                  individual actions; and

              (f) The action is manageable as a class action.

   H.     Requirements of Fed. R. Civ. P. 23(b)(2)

          358.    Mercedes F1 has acted and refused to act on grounds generally applicable to the

   Classes by engaging in a common course of conduct of aiding and abetting the offering and/or

   selling of the FTX Platform, YBAs and/or FTT, which are unregistered securities, and violating

   state consumer-protection laws, thereby making appropriate final injunctive relief or declaratory

   relief with respect to the classes as a whole.




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          359.    Mercedes F1 has acted and refused to act on grounds generally applicable to the

   Classes by engaging in a common course of conduct of uniformly identical and uniform

   misrepresentations and/or omissions in receiving secret undisclosed compensation for their

   promotion of the FTX Platform, thereby making appropriate final injunctive relief or declaratory

   relief with respect to the classes as a whole.

   I.     Requirements of Fed. R. Civ. P. 23(c)(4)

          360.    As it is clear that one of the predominant issues regarding Mercedes F1’s liability

   is whether the FTX Platform, YBAs and/or FTT that FTX offered and/or sold are unregistered

   securities, utilizing Rule 23(c)(4) to certify the Class for a class wide adjudication on this issue

   would materially advance the disposition of the litigation as a whole.

          361.    As it is clear that another predominant issue regarding Mercedes F1’s liability is

   whether they have violated the consumer protection and securities laws of Florida in making

   identical and uniform misrepresentations and omissions regarding the functionality of the FTX

   Platform, and/or in receiving secret undisclosed compensation for their promotion of the FTX

   Platform, utilizing Rule 23(c)(4) to certify the Classes for a class wide adjudication on this issue

   would materially advance the disposition of the litigation as a whole.

   J.     Nature of Notice to the Proposed Class.

          362.    The names and addresses of all Class Members are contained in the business

   records maintained by FTX and are readily available to FTX. The Class Members are readily and

   objectively identifiable. Plaintiffs contemplate that notice will be provided to Class Members by

   e-mail, mail, and published notice.




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                                          CAUSES OF ACTION

                                               COUNT ONE

                            Violations of the Florida Statute Section 517.07,
                           The Florida Securities and Investor Protection Act
                          (Plaintiffs Individually and on behalf of the Classes)

           363.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–362 above,

   as if fully set forth herein.

           364.    Section 517.07(1), Fla. Stat., provides that it is unlawful and a violation for any

   person to sell or offer to sell a security within the State of Florida unless the security is exempt

   under Fla. Stat. § 517.051, is sold in a transaction exempt under Fla. Stat. § 517.061, is a federally

   covered security, or is registered pursuant to Ch. 517, Fla. Stat.

           365.    Section 517.211 extends liability to any “director, officer, partner, or agent of or

   for the seller, if the director, officer, partner, or agent has personally participated or aided in making

   the sale,” making them “jointly and severally liable to the purchaser in an action for rescission, if

   the purchaser still owns the security, or for damages, if the purchaser has sold the security.”

           366.    The FTX Platform, YBAs and/or FTT sold and offered for sale to Plaintiffs are

   each a security pursuant to Fla. Stat. § 517.021(22)(a).

           367.    The FTX Platform, YBAs and/or FTT sold and offered for sale to Plaintiffs were

   not:

           a.      exempt from registration under Fla. Stat. § 517.051;

           b.      a federal covered security;

           c.      registered with the Office of Financial Regulations (OFR); or

           d.      sold in a transaction exempt under Fla. Stat. § 517.061.

           146.    The FTX Entities sold and offered to sell the unregistered YBAs to Plaintiffs.




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           147.    Defendant is of the FTX Entities pursuant to Fla. Stat. § 517.211.

           368.    The FTX Entities, with the Defendant’s material assistance, offered and sold the

   unregistered YBAs to Plaintiffs and the members of the Class. As a result of this assistance, the

   Defendant violated Fla. Stat. § 517.07 et seq. and Plaintiffs and members of the Class sustained

   damages as herein described.

                                             COUNT TWO

                  For Violations of the Florida Deceptive and Unfair Trade Practices Act,
                                  § 501.201, Florida Statutes, et seq.
                        (Plaintiffs Individually and on behalf of the Classes)

           369.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–362 above,

   as if fully set forth herein.

           370.    This cause of action is brought pursuant to the Florida Deceptive and Unfair Trade

   Practices Act, Section 501.201, Fla. Stat., et seq. (“FDUTPA”). The stated purpose of the

   FDUTPA is to “protect the consuming public . . . from those who engage in unfair methods of

   competition, or unconscionable, deceptive, or unfair acts or practices in the conduct of any trade

   or commerce.” Fla. Stat. § 501.202(2).

           371.    Plaintiffs and Class members are consumers as defined by Florida Statutes

   Section 501.203. Defendant is engaged in trade or commerce within the meaning of the FDUTPA.

           372.    Florida Statutes Section 501.204(1) declares unlawful “[u]nfair methods of

   competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the

   conduct of any trade or commerce.”

           373.    The Defendant’s unfair and deceptive practices as described herein were consumer-

   oriented and are objectively materially likely to mislead—and have materially misled—consumers

   acting reasonably in the circumstances.




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             374.   The Defendant has violated the FDUTPA by engaging in the unfair and deceptive

   practices as described herein, which offend public policies and are immoral, unethical,

   unscrupulous and injurious to consumers.

             375.   Plaintiffs and consumers in the Classes have been aggrieved by the Defendant’s

   unfair and deceptive practices and acts of false advertising by paying into the Ponzi scheme that

   was the FTX Platform and in the amount of their lost investments.

             376.   The harm suffered by Plaintiffs and consumers in the Classes was directly and

   proximately caused by the deceptive and unfair practices of the Defendant, as more fully described

   herein.

             377.   Pursuant to Florida Statutes Sections 501.211(2) and 501.2105, Plaintiffs and

   consumers in the Classes make claims for actual damages, attorneys’ fees, and costs.

             378.   The Defendant still utilizes many of the deceptive acts and practices described

   above. Plaintiffs and the other members of the Classes have suffered and will continue to suffer

   irreparable harm if the Defendant continues to engage in such deceptive, unfair, and unreasonable

   practices. Section 501.211(1) entitles Plaintiffs and the Classes to obtain both declaratory and/or

   injunctive relief to put an end to the Defendant’s unfair and deceptive scheme.

                                            COUNT THREE

                                             Civil Conspiracy
                          (Plaintiffs Individually and on behalf of the Classes)

             379.   Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–362 above,

   as if fully set forth herein.

             380.   The FTX Entities and the Defendant made numerous misrepresentations and

   omissions to Plaintiffs and Class Members about the FTX Platform to promote false confidence in

   and to drive consumers to invest in what was ultimately a Ponzi scheme. This misled customers


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   with the false impression that any cryptocurrency assets held on the FTX Platform were safe and

   were not being invested in unregistered securities.

           381.    The FTX Entities entered into one or more agreements with the Defendant with the

   purpose of making these misrepresentations and/or omissions to induce Plaintiffs and consumers

   to invest in the YBAs and/or use the FTX Platform.

           382.    The Defendant engaged in unlawful acts with the FTX Entities, namely, the

   misrepresentations and omissions made to Plaintiffs and the Classes and the sale of unregistered

   securities.

           383.    The Defendant’s conspiracy substantially assisted or encouraged the wrongdoing

   conducted by the FTX Entities; further, the Defendant had knowledge of such fraud and/or

   wrongdoing, because of their experience and relationship with the FTX Entities, as described

   above and as such, knew that the representations made to Plaintiffs were deceitful and fraudulent.

           384.    The Defendant’s conspiracy with the FTX Entities to commit fraud caused damages

   to Plaintiffs and the Classes in the amount of their lost investments.

                                            COUNT FOUR

                                      Aiding and Abetting Fraud
             (Plaintiffs Individually and on behalf of the Global Classes, or in the alternative,
   Plaintiffs Garrison, Lindeen, Podalsky, Chernyavsky, and Piano Individually and on behalf
        of the Nationwide Classes, or in the alternative, Plaintiffs Podalsky, Lindeen, and
                          Chernyavsky on behalf of the Florida Subclasses)

           385.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–362 as if

   fully set forth herein.

           386.    The FTX Insiders and FTX Group made numerous misrepresentations and

   omissions to Plaintiffs and Class Members about the FTX Platform to induce confidence and to

   drive consumers to invest in cryptocurrency through the FTX Platform, and to deposit funds into



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   what was ultimately a fraudulent house of cards. Defendant actively joined these efforts by

   misleading customers and prospective customers with the false impression that cryptocurrency

   assets held on the FTX Platform were safe and with material omissions regarding how investor

   funds would be used. Bankman-Fried, the FTX Insiders, and the FTX Group knew these statements

   to be false.

           387.   Plaintiffs and the Class members reasonably relied upon Bankman-Fried, the FTX

   Insiders, and the FTX Group’s material misrepresentations and omissions to invest in

   cryptocurrency through the FTX Platform to their detriment.

           388.   Defendant participated in, substantially assisted, and facilitated Bankman-Fried’s,

   the FTX Insiders’, and the FTX Group’s fraudulent misconduct, with knowledge that such fraud

   was cheating investors. For example, while either knowing or consciously disregarding Bankman-

   Fried’s and the FTX Group’s and Insiders’ misconduct and red flags, Defendant still promoted

   and/or solicited the FTX Platform, YBAs, and/or FTT, to Plaintiffs and the Classes as described

   hereinabove, making the various misrepresentations and omissions as set forth hereinabove.

           389.   Defendant substantially benefitted from Bankman-Fried’s, the FTX Insiders’, and

   FTX Group’s scheme, as described herein.

           390.   Plaintiffs and the Class members suffered damages as a direct and proximate result

   of Defendant aiding and abetting the fraudulent scheme, in an amount to be determined at trial.

                                            COUNT FIVE

                                  Aiding and Abetting Conversion
             (Plaintiffs Individually and on behalf of the Global Classes, or in the alternative,
   Plaintiffs Garrison, Lindeen, Podalsky, Chernyavsky, and Piano Individually and on behalf
        of the Nationwide Classes, or in the alternative, Plaintiffs Podalsky, Lindeen, and
                           Chernyavsky on behalf of the Florida Subclasses)




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           391.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–362 as if

   fully set forth herein.

           392.    The funds deposited by Class Members into the FTX Platform were personal

   property of the Plaintiffs and Class Members. Bankman-Fried and FTX Group wrongfully

   interfered with Plaintiffs’ possessory interest in a specific, identifiable sum of money, the amount

   that each plaintiff had in their FTX account that they could not withdraw.

           393.    Plaintiffs’ funds were their own. They each had a possessory interest in the sum of

   money they invested in the FTX Platform.

           394.    Defendant, based on its knowledge of the FTX Group’s operations obtained

   through due diligence, ongoing monitoring, and partnership, acquired knowledge of FTX’s

   conversion of Plaintiffs’ funds.

           395.    Notwithstanding this knowledge, and by reason of the conduct described herein,

   Defendant substantially aided, abetted, and/or participated with FTX in the conversion of funds

   that belonged to Plaintiffs.

           396.    Defendant’s actions, in combination with the actions of FTX and MDL Defendants,

   are a proximate cause of actual damages to Plaintiffs and class members. Together with the MDL

   Defendants, Defendant is jointly and severally liable for participating in the conversion of

   Plaintiffs’ funds.

                                             COUNT SIX

                                         Declaratory Judgment
                                 (Federal Declaratory Judgment Act)
                         (Plaintiffs Individually and on behalf of the Classes)

           397.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–362 as if

   fully set forth herein.




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           398.       There is a bona fide, actual, present and practical need for the declaratory relief

   requested herein; the declaratory relief prayed for herein deals with a present, ascertained or

   ascertainable state of facts and a present controversy as to a state of facts; contractual and statutory

   duties and rights that are dependent upon the facts and the law applicable to the facts; the parties

   have an actual, present, adverse, and antagonistic interest in the subject matter; and the antagonistic

   and adverse interests are all before the Court by proper process for final resolution.

           399.       Plaintiffs and the members of the Classes have an obvious and significant interest

   in this lawsuit.

           400.       Plaintiffs and members of the Classes purchased YBAs, based in part on justifiable

   reliance on the Defendant’s misrepresentations and omissions regarding the FTX Platform as

   further described hereinabove.

           401.       If the true facts had been known, including but not limited to that the YBAs are

   unregistered securities, the FTX Platform does not work as represented, and Defendant was paid

   exorbitant sums of money to peddle FTX to the nation, Plaintiffs and the Classes would not have

   purchased YBAs in the first place.

           402.       Thus, there is a justiciable controversy over whether the YBAs were sold illegally,

   and whether the Defendant illegally solicited their purchases from Plaintiff and the Class.

           403.       Plaintiff and the Class seek an order declaring that the YBAs were securities, that

   the FTX Platform did not work as represented, and that Defendant was paid exorbitant sums of

   money to peddle FTX to the nation.




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            THE CALIFORNIA CLAIMS, AS AN ALTERNATIVE TO THE NATIONWIDE
                                    CLAIMS

                                            COUNT SEVEN

           For Violations of the Unfair Competition Law Business & Professions Code § 17200,
                                                et seq.
             (In the alternative, Plaintiff Piano Individually and on behalf of the California
                                              Subclasses)

           404.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–362 above,

   as if fully set forth herein.

           405.    California’s Unfair Competition Law, Business & Professions Code §§ 17200 et

   seq. (the “UCL”) prohibits acts of unlawful and unfair competition, including any “unlawful,

   unfair or fraudulent business act or practice,” any “unfair, deceptive, untrue or misleading

   advertising” and any act prohibited by Business & Profession Code § 17500.

           406.    Defendant has committed business acts and practices that violate the UCL by aiding

   and abetting the breaches of fiduciary duties, fraudulent and unfair conduct, and unlawful conduct.

   Defendant’s conduct as alleged above constitutes unlawful competition in that, for the reasons set

   forth above, said acts and practices violate the Corporations Code.

           407.    The conduct of Defendant as alleged above also constitutes unfair competition in

   that, for the reasons set forth above, the acts and practices offend public policy and are unethical,

   oppressive, and unscrupulous, and are substantially injurious to the public.

           408.    Defendant’s conduct was a proximate cause of the injuries to Plaintiffs and the

   California Class alleged herein, and it caused and continues to cause substantial injury to Plaintiffs

   and the members of the California Class. By reason of the foregoing, Defendant should be required

   to pay restitution to Plaintiffs and members of the California Class.




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                                             COUNT EIGHT

                                 Violations of the California Securities Law
                                       Cal. Corp. Code §§ 25110 et seq.
               (In the alternative, Plaintiff Piano individually and on behalf of the California
                                               Subclasses)

           409.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–362 above,

   as if fully set forth herein.

           410.    Section 25110 of the California Securities Law (“CSL”) prohibits the offer or sale

   by any person in California of securities that are not qualified through registration. CSL Section

   25503 affords a statutory cause of action to victimized investors for violations of Section 25110.

   Additionally, Section 25504.1 extends liability under Section 25503 to any person who materially

   assists in a violation of Section 25110 and makes them jointly and severally liable with any other

   person liable under Section 25503.

           411.    Defendant materially assisted and/or personally participated with the FTX Group

   in the offering and selling of the FTX Platform, the YBAs and/or FTT Tokens Securities in

   California without being properly registered or qualified for offer or sale either with any federal

   or California regulator in violation of Section 25503.52

           412.    Moreover, CSL Section 25210(b) provides: “No person shall, … on behalf of an

   issuer, effect any transaction in, or induce or attempt to induce the purchase or sale of, any security

   in this state unless [a licensed] broker-dealer and agent have complied with any rules as the

   commissioner may adopt for the qualification and employment of those agents.”


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           Plaintiffs contend that secondary liability for materially assisting a strict liability violation
   of the qualification requirements of a violation pursuant to Section 255030 does not require proof
   that Defendant intended “to deceive or defraud.” However, Plaintiffs in the alternative contend
   that even if so, Defendant’s knowledge of and participation in FTX Group’s non-compliance with
   the CSL establishes their intent to deceive investors regarding the FTX Platform, the YBAs and/or
   FTT Tokens.


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           413.    Defendant breached Section 25210(b) by encouraging the FTX Group to offer and

   sell the FTX Platform, YBAs and/or FTT Tokens securities despite the fact that such securities

   were not qualified under the CSL.

           414.    Additionally, CSL Section 25501.5 affords a statutory cause of action to victimized

   investors for violations of Section 25210(b).

           415.    Together with the MDL Defendants, Defendant is accordingly jointly and severally

   liable to Plaintiffs for recessionary damages under Section § 25504.1.

           416.    Plaintiffs hereby conditionally tender their FTX Group Securities in accordance

   with Section § 25503.

                                            COUNT NINE

                                       Aiding and Abetting Fraud
              (In the alternative, Plaintiff Piano Individually and on behalf of the California
                                              Subclasses)
           417.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–362 as if

   fully set forth herein.

           418.    The FTX Insiders and FTX Group made numerous misrepresentations and

   omissions to Plaintiffs and Class Members about the FTX Platform to induce confidence and to

   drive consumers to invest in cryptocurrency through the FTX Platform, and to deposit funds into

   what was ultimately a fraudulent house of cards. Defendant misled customers and prospective

   customers with the false impression that cryptocurrency assets held on the FTX Platform were safe

   and with material omissions regarding how investor funds would be used. Bankman-Fried, the

   FTX Insiders, and the FTX Group knew these statements to be false.




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           419.    Plaintiffs and the Class members reasonably relied upon Bankman-Fried, the FTX

   Insiders, and the FTX Group’s material misrepresentations and omissions to invest in

   cryptocurrency through the FTX Platform to their detriment.

           420.    Defendant participated in, substantially assisted, and facilitated Bankman-Fried’s,

   the FTX Insiders’, and the FTX Group’s fraudulent misconduct, with knowledge that such fraud

   was cheating investors. For example, while either knowing or consciously disregarding Bankman-

   Fried’s and the FTX Group’s and Insiders’ misconduct and red flags, Defendant still promoted

   and/or solicited the FTX Platform, YBAs, and/or FTT, to Plaintiffs and the Classes as described

   hereinabove, making the various misrepresentations and omissions as set forth hereinabove.

           421.    Defendant substantially benefitted from Bankman-Fried’s, the FTX Insiders’, and

   FTX Group’s scheme.

           422.    Plaintiffs and the Class members suffered damages as a direct and proximate result

   of Defendant’s aiding and abetting the fraudulent scheme, in an amount to be determined at trial.

                                             COUNT TEN

                                   Aiding and Abetting Conversion
              (In the alternative, Plaintiff Piano Individually and on behalf of the California
                                              Subclasses)

           423.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–362 as if

   fully set forth herein.

           424.    The funds deposited by Class Members into the FTX Platform were personal

   property of the Plaintiffs and Class Members. Bankman-Fried and FTX Group wrongfully

   interfered with Plaintiffs’ possessory interest in a specific, identifiable sum of money, the amount

   that each plaintiff had in their FTX account that they could not withdraw.




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           425.    Plaintiffs’ funds were their own. They each had a possessory interest in the sum of

   money they invested in the FTX Platform.

           426.    Defendant, based on its knowledge of the FTX Group’s operations obtained

   through due diligence, ongoing monitoring, and partnership, acquired knowledge of FTX’s

   conversion of Plaintiffs’ funds.

           427.    Notwithstanding this knowledge, and by reason of the conduct described herein,

   Defendant substantially aided, abetted, and/or participated with FTX in the conversion of funds

   that belonged to Plaintiffs.

           428.    Defendant’s actions, in combination with the actions of FTX, are a proximate cause

   of actual damages to Plaintiffs and class members. Together with the MDL Defendants, Defendant

   is jointly and severally liable for participating in the conversion of Plaintiffs’ funds.

                                            COUNT ELEVEN

                                            Civil Conspiracy
               (In the alternative, Plaintiff Piano Individually and on behalf of the California
                                               Subclasses)

           429.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–362 above,

   as if fully set forth herein.

           430.    The FTX Group and Defendant made numerous misrepresentations and omissions

   to Plaintiffs and Class Members about the FTX Platform in order to induce confidence and to drive

   consumers to invest in what was ultimately a Ponzi scheme, misleading customers and prospective

   customers with the false impression that any cryptocurrency assets held on the FTX Platform were

   safe and with material misrepresentations and/or omissions regarding how customer funds would

   be used. Defendant knew these statements to be false.




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           431.    The FTX Group entered into one or more agreements with Defendant with the

   purpose of making these misrepresentations and/or omissions to induce Plaintiff and consumers to

   invest in the YBAs, FTT and/or use the FTX Platform. Defendant stood to benefit financially from

   assisting with this fraud as each would receive the financial and other benefits described

   hereinabove.

           432.    Defendant engaged in unlawful acts with the FTX Group, namely, the

   misrepresentations and omissions made to Plaintiffs and the Classes and the sale of unregistered

   securities as further described hereinabove.

           433.    Defendant’s conspiracy substantially assisted or encouraged the wrongdoing

   conducted by the FTX Group; further, Defendant had knowledge of such fraud and/or wrongdoing,

   because of their experience and relationship with the FTX Group, as described above, and as such,

   knew that the representations made to Plaintiffs were deceitful and fraudulent. Accordingly,

   Defendant knew that the material misrepresentations and omissions relating to the safety of the

   FTX Platform would result in injury to FTX’s customers, including Plaintiffs and the Class

   members.

           434.    Defendant’s conspiracy with the FTX Group to commit fraud caused damages to

   Plaintiffs and the Classes in the amount of their lost investments.

                           IN THE ALTERNATIVE, THE OKLAHOMA CLAIMS

                                          COUNT TWELVE

                            Violations of the Oklahoma Consumer Protection Act
                                      Okla. Stat. Ann. tit. 15, § 751 et seq.
             (In the alternative, Plaintiff Garrison individually and on behalf of the Oklahoma
                                              Subclasses)

           435.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–362 above,

   as if fully set forth herein.


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             436.   This cause of action is brought pursuant to the Oklahoma Consumer Protection Act

   (“OCPA”), section 751 et seq.

             437.   The Oklahoma Consumer Protection Act provides that an “unfair trade practice” is

   “any practice which offends established public policy or if the practice is immoral, unethical,

   oppressive, unscrupulous or substantially injurious to consumers.” § 752(14). It declares unlawful

   any unfair or deceptive trade practice “as defined in section 752.” § 753(20).

             438.   Plaintiffs and Class members are persons as defined by section 752(1). Defendant

   is engaged in a “consumer transaction” as defined by section 752(2), and as described more fully

   herein.

             439.   Defendant has violated the OCPA by engaging in the unfair and deceptive practices

   as described herein, which offend public policies and are immoral, unethical, unscrupulous and

   injurious to consumers.

             440.   Plaintiffs and consumers in the Class have been aggrieved by Defendant’s unfair

   and deceptive practices in the amount of their lost investments.

             441.   The harm suffered by Plaintiffs and consumers in the Class was directly and

   proximately caused by the deceptive and unfair practices of Defendant’s, as more fully described

   herein.

             442.   Pursuant to section 761.1 of the OCPA, Plaintiffs and consumers in the Class make

   claims for actual damages, attorneys’ fees and costs.




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                                         COUNT THIRTEEN

                       Violations of the Oklahoma Uniform Securities Act of 1980
                                 Okla. Stat. Tit. 71, §§ 1-101 et seq.
        (In the alternative, Plaintiff Garrison individually and on behalf of the Oklahoma
                                             Subclasses)

           443.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–362 above,

   as if fully set forth herein.

           444.    71 Section 1-301 of the Oklahoma Securities Act (“OSA”) makes it unlawful to sell

   a security in Oklahoma unless the security is registered, exempted, or the security is a covered

   security as defined in the act.

           445.    The FTX Platform, YBAs and/or FTT Tokens are each a security pursuant to 71

   Okla. Stat. § 1-102(32), as described more fully herein.

           446.    As a result of these actions, Defendant violated section 1-102(32) and are liable to

   Plaintiffs pursuant to section 1-509 for both primary and secondary violations of Oklahoma

   securities law, as described more fully hereinabove.

                                         COUNT FOURTEEN

                                      Aiding and Abetting Fraud
             (In the alternative, Plaintiff Garrison individually and on behalf of the Oklahoma
                                              Subclasses)

           447.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–362 as if

   fully set forth herein.

           448.    The FTX Insiders and FTX Group made numerous misrepresentations and

   omissions to Plaintiffs and Class Members about the FTX Platform to induce confidence and to

   drive consumers to invest in cryptocurrency through the FTX Platform, and to deposit funds into

   what was ultimately a fraudulent house of cards. Defendant misled customers and prospective

   customers with the false impression that cryptocurrency assets held on the FTX Platform were safe


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   and with material omissions regarding how investor funds would be used. Bankman-Fried, the

   FTX Insiders, and the FTX Group knew these statements to be false.

            449.   Plaintiffs and the Class members reasonably relied upon Bankman-Fried, the FTX

   Insiders, and the FTX Group’s material misrepresentations and omissions to invest in

   cryptocurrency through the FTX Platform to their detriment.

            450.   Defendant participated in, substantially assisted, and facilitated Bankman-Fried’s,

   the FTX Insiders’, and the FTX Group’s fraudulent misconduct, with knowledge that such fraud

   was cheating investors. For example, while either knowing or consciously disregarding Bankman-

   Fried’s and the FTX Group’s and Insiders’ misconduct and red flags, Defendant still promoted

   and/or solicited the FTX Platform, YBAs, and/or FTT, to Plaintiffs and the Classes as described

   hereinabove, making the various misrepresentations and omissions as set forth hereinabove.

            451.   Defendant substantially benefitted from Bankman-Fried’s, the FTX Insiders’, and

   FTX Group’s scheme, as described herein.

            452.   Plaintiffs and the Class members suffered damages as a direct and proximate result

   of each of Defendant aiding and abetting the fraudulent scheme, in an amount to be determined at

   trial.

                                        PRAYER FOR RELIEF

   WHEREFORE, Plaintiffs pray for a judgment on behalf of themselves and the Classes:

       a) Certifying the Class as requested herein;

       b) Awarding actual, direct and compensatory damages;

       c) Awarding restitution and disgorgement of revenues;

       d) Awarding declaratory relief as permitted by law or equity, including declaring the

            Defendant’s practices as set forth herein to be unlawful;



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      e) Awarding injunctive relief as permitted by law or equity, including enjoining the Defendant

         from continuing those unlawful practices as set forth herein, and directing the Defendant

         to identify, with Court supervision, victims of their conduct and pay them all money

         they are required to pay;

      f) Awarding statutory, punitive, and multiple damages, as appropriate;

      g) Awarding attorneys’ fees and costs; and

      h) Providing such further relief as may be just and proper.

                                   DEMAND FOR JURY TRIAL

         Plaintiffs hereby demand a jury trial as to all claims so triable.




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   Dated: November 27, 2023                   Respectfully submitted,

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